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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________

ORLANDO RILEY

                         Plaintiff,

                         v.
                                                              C.A. 1:15-cv-14137-DJC
MASSACHUSETTS STATE POLICE

                         Defendant.

__________________________________________

           DEFENDANT MASSACHUSETTS STATE POLICE’S LOCAL RULE 56.1
          STATEMENT OF UNDISPUTED MATERIAL FACTS, AND RESPONSES TO
              PLAINTIFF’S STATEMENT OF MATERIAL FACTS IN DISPUTE

           Defendant Massachusetts State Police hereby submits, in consolidated format: (1)

beginning on Page 1, Defendant’s Statement of Material Facts, with Plaintiff’s Responses; and (2)

beginning on Page 47, Plaintiff’s Statement of Material Facts in Dispute, with Defendant’s

Responses:


I.         DEFENDANT’S STATEMENT OF MATERIAL FACTS, WITH PLAINTIFF’S
           RESPONSES


     1.      Plaintiff Orlando Riley (“Riley” or “Plaintiff”) is an African-American resident of
             Massachusetts. Ex. 1 at ¶ 2.

Undisputed.

     2.      Riley is currently employed as a police officer with the New Bedford Police
             Department (“NBPD”), a position that he has held since 2002. Ex. 1 at ¶ 2.

Undisputed.

Riley’s High Schools




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   3.     As a youth, Riley attended four different high schools: Muskegon High School
          (Michigan); Bishop Stang High School (Massachusetts); Dartmouth High School
          (Massachusetts); and New Bedford High School (Massachusetts). Ex. 43 at Response
          No. 26; Ex. 47 (Riley Dep.) at 14-21.

Undisputed.

   4.     Riley attended Bishop Stang High School as a sophomore (1993-1994). Bishop Stang
          High School is a private school located in Dartmouth, Massachusetts. Ex. 43 at
          Response No. 26; Ex. 47 (Riley Dep.) at 15-17.

Undisputed.

   5.     At Bishop Stang High School, Riley failed approximately 7 of his 11 courses. Riley
          made up for some, but not all, of these course failures through summer school and
          private tutoring. Ex. 2; Ex. 47 (Riley Dep.) at 41-44; Ex. 30 at MSP00075.

Undisputed.

   6.     Because of these course failures, Riley would not have been allowed to proceed on to
          his junior year at Bishop Stang High School without repeating the courses he had not
          yet made up. If he returned to Bishop Stang High School, Riley would have needed to
          repeat his sophomore year. Ex. 47 (Riley Dep.) at 41-44, 124-25; Ex. 30 at
          MSP00075

Disputed. Riley would have been permitted to return to Bishop Stang High School for his junior
year, since he made up most of his classes he had failed, and could make up the remaining
courses before graduation, one of which was a typing course. See Plaintiff’s Opposition to
Defendant’s Motion for Summary Judgment (“Opposition”), at §IIIB(3)(e). See also Plaintiff’s
Statement of Material Facts in Dispute (“Plf. Stmt.”), ¶¶P57, P59-P62.

   7.     Ultimately, Riley did not return to Bishop Stang High School. Ex. 43 at Response No.
          26.

Undisputed.

   8.     For three weeks during the start of his junior year (1994-1995), Riley attended
          Dartmouth High School. Dartmouth High School is a public school located in
          Dartmouth, Massachusetts. Ex. 43 at Response No. 26; Ex. 47 (Riley Dep.) at 16-17.

Disputed only to the extent that Riley’s tenure at Dartmouth High School is not a material fact
because it was not a basis for defendant’s rejection of Riley’s application. Ex. 51, at 10-11; Ex.
57 at ln. 59.




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   9.      Dartmouth High School had a “residency requirement” mandating that its students live
           in Dartmouth, Massachusetts. At the time, however, Riley was not living in
           Dartmouth; he was living in New Bedford. Ex. 47 (Riley Dep.) at 16, 19.

Disputed only to the extent that Riley’s tenure at Dartmouth High School is not a material fact
because it was not a basis for defendant’s rejection of Riley’s application. Ex. 51, at 10-11; Ex.
57 at ln. 59.

   10.     Riley was enrolled in Dartmouth High School using a false residency address—not his
           own, but that of an aunt who lived in Dartmouth. Riley knew at the time that he was
           enrolled in Dartmouth High School without meeting the school’s residency
           requirement. Ex. 43 at Response No. 26; Ex. 47 (Riley Dep.) at 16-20.

Disputed to the extent that Riley’s enrollment at Dartmouth High School was not a basis for
defendant’s rejection of Riley’s application. Disputed that Riley (age 15) made the decision to
enroll in Dartmouth High School. See ¶P62.

   11.     A few weeks into his junior year, Dartmouth High School discovered that Riley had
           been enrolled using a false residency address. As a result, Riley was required to leave
           Dartmouth High School. Ex. 47 (Riley Dep.) at 16-22.

Disputed to the extent that Riley’s enrollment at Dartmouth High School was not a basis for
defendant’s rejection of Riley’s application. Disputed that Riley (age 15) made the decision to
enroll in Dartmouth High School. See ¶P62.

   12.     Riley thereafter completed his junior and senior years at New Bedford High School in
           New Bedford, Massachusetts, graduating in May 1996. Ex. 43 at Response No. 26;
           Ex. 47 (Riley Dep.) at 15-16, 20-21.

Undisputed.

Riley’s Application to the Providence Police Department

   13.     In 1999, Riley applied to become a police officer with the Providence Police
           Department. Ex. 43 at Response No. 4. He filled out an application, passed a physical
           exam, participated in an oral interview, and took a written exam. Ex. 47 (Riley Dep.)
           at 70-73.

Disputed only to the extent that Riley’s application to the Providence Police Department is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59.

   14.     Riley received a “low score” on the written examination for the Providence Police
           Department, and was informed “that [he] did not score strong enough to become a
           candidate for their Department.” Ex. 29 at P0066.



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Disputed only to the extent that Riley’s application to the Providence Police Department is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59.

   15.     Because of his “low score” on the written examination, Riley never reached the point
           of having a background investigation performed by the Providence Police Department.
           Ex. 29 at P00066.

Disputed only to the extent that Riley’s application to the Providence Police Department is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59.

                 Riley’s Applications to the New Bedford Police Department

   16.     In 1999 and again in 2001, Riley applied to become a police officer with the New
           Bedford Police Department (“NBPD”). Ex. 3; Ex. 4; Ex. 47 (Riley Dep.) at 27-36.

Undisputed.

   17.     Question 26 on Riley’s NBPD applications—both in 1999 and 2001—requested a list
           of educational institutions that Riley had attended. Next to “High School,” Riley
           listed Muskegon High School, Bishop Stang High School, and New Bedford High
           School. In both applications, Riley omitted Dartmouth High School. Ex. 3; Ex. 4; Ex.
           47 (Riley Dep.) at 29-31, 38.

Disputed only to the extent that Riley’s application process regarding the New Bedford Police
Department are not material facts because they were not a basis for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   18.     The NBPD conducted background investigations of Riley related to both his 1999 and
           2001 applications. Ex. 47 (Riley Dep.) at 128.

Disputed only to the extent that Riley’s application process regarding the New Bedford Police
Department are not material facts because they were not a basis for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   19.     Riley’s 1999 application to NBPD was unsuccessful, and Riley was not hired by
           NBPD at that time. Ex. 47 (Riley Dep.) at 27-38.

Disputed only to the extent that Riley’s application process regarding the New Bedford Police
Department are not material facts because they were not a basis for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   20.     Riley’s 2001 application to NBPD was successful, and Riley became a NBPD police
           officer in 2002. Ex. 1 at ¶ 2; Ex. 47 (Riley Dep.) at 35-36, 53-56.



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Undisputed.

Riley’s Application to the Rhode Island State Police

   21.     In 2003, Riley applied to become a State Trooper with the Rhode Island State Police
           (“RISP”). Ex. 43 at Response No. 4.

Undisputed.

   22.     Section II on Riley’s RISP application asked, “Have you ever submitted an application
           with any other law enforcement agency in the U.S.? If yes, indicate the agency(s) and
           the date(s) of the application(s).” In response, Riley listed the New Bedford Police
           Department, but did not list that he had applied to the Providence Police Department
           in 1999. Ex. 5 at RISP0042; Ex. 47 (Riley Dep.) at 77-80.

Disputed only to the extent that the contents of and process regarding Riley’s 2003 application
to the RISP is not a material fact because it is not a basis for defendant’s rejection of Riley’s
application and the fact of Riley’s unsuccessful application did not make a difference to the
Review Board’s decision regarding Riley’s MSP application. Ex. 51, at 10-11; Ex. 57 at ln. 59;
¶186.

   23.     Section III on Riley’s RISP application also asked for Riley to list his “High
           School(s).” In response, Riley listed that he attended New Bedford High School, but
           did not list the other three high schools he attended. Ex. 5 at RISP0046; Ex. 47 (Riley
           Dep.) at 80-83.

Disputed only to the extent that the contents of and process regarding Riley’s 2003 application
to the RISP is not a material fact because it is not a basis for defendant’s rejection of Riley’s
application and the fact of Riley’s unsuccessful application did not make a difference to the
Review Board’s decision regarding Riley’s MSP application. Ex. 51, at 10-11; Ex. 57 at ln. 59;
¶186.
Response to ¶22.

   24.     In April 2004, Riley sat for an interview with a background investigator assigned by
           RISP. Ex. 6 at RISP0005, RISP00012.

Disputed only to the extent that the contents of and process regarding Riley’s 2003 application
to the RISP is not a material fact because it is not a basis for defendant’s rejection of Riley’s
application and the fact of Riley’s unsuccessful application did not make a difference to the
Review Board’s decision regarding Riley’s MSP application. Ex. 51, at 10-11; Ex. 57 at ln. 59;
¶186.
Response to ¶22.

   25.     The RISP background investigator subsequently completed a background
           investigation report concluding that Riley was “Not Recommended” for continuing in
           the RISP selection process. Ex. 6 at RISP0004-5.


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Undisputed.

   26.     The RISP background investigator wrote that his decision to not recommend Riley
           “[was] based on [Riley’s] lack of attention to detail, his lackadaisical attitude and his
           prior work performance as a New Bedford Police Officer. Other factors that were
           considered include [Riley’s] unsatisfactory credit history, as well as his poor
           performance in the Massachusetts Municipal Police Academy.” Ex. 6 at RISP0005.

Disputed only to the extent that the contents of and process regarding Riley’s 2003 application
to the RISP is not a material fact because it is not a basis for defendant’s rejection of Riley’s
application and the fact of Riley’s unsuccessful application did not make a difference to the
Review Board’s decision regarding Riley’s MSP application. Ex. 51, at 10-11; Ex. 57 at ln. 59;
¶186.

   27.     With respect to his conclusion that Riley “lack[ed] . . . attention to detail,” the RISP
           background investigator explained that Riley had failed in his RISP written application
           to indicate that he had previously applied to the Providence Police Department, and
           that Riley had made multiple mistakes and omissions on his written application. Ex. 6
           at RISP0005.

Disputed. Errors or omissions, including an omission of a reference to an application to the
Providence Police Department in an application completed eight years prior to Riley’s 2011
MSP application, have no tendency to prove or disprove any contested issue in this case because
Riley’s errors and omissions in his RISP application and omission of a reference to an
application to the Providence Police Department were not a basis for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further, see Response to ¶22.

   28.     As a result of the background investigator’s negative recommendation, Riley was not
           selected to proceed further in the RISP hiring process and was not hired by RISP. Ex.
           47 (Riley Dep.) at 99-104; Ex. 30 at MSP00076.

Undisputed.

The Soares Investigation

   29.     Just after midnight on November 30, 2009, Riley was on duty as an NBPD police
           officer and present in the booking room of the NBPD police station. At around that
           time, an individual named John Soares was arrested by the NBPD on charges related
           to throwing explosives. Soares was brought to the NBPD police station for booking.
           Ex. 10 at NBPD000177-78, 185-86, 195.

Undisputed.

   30.     While in NBPD’s booking room, Soares sat in Riley’s vicinity. Ex. 10 at
           NBPD000177-78, 185-86, 195.


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Disputed as misleading. Riley was responsible for his own prisoner, and Soares was under the
charge of another officer. See Response to ¶31.

   31.     While in NBPD’s booking room, Soares wriggled out of his handcuffs, stood up, and
           attempted to open a locked door that led outside. Riley noticed Soares standing next
           to the door and instructed him to sit down. Riley did not notice that Soares had
           wriggled out of his handcuffs. Ex. 10 at NBPD000179, 195-98, 261-62.

Disputed. This paragraph is misleading and incomplete. At the time referenced in ¶31, Riley
was in the NBPD booking room with his own prisoner, completing his prisoner’s booking
process. This included working on the computer to put his charges together, taking his picture
and offering him a phone call. He then left the booking room with his prisoner to take the
prisoner’s photograph. Because the prisoner transport officer was with Riley and his prisoner in
the photograph room, Riley briefly checked on Soares in the booking room, at which time he
observed that Soares had stood up and was by a locked door that led to the sallyport, which in
turn led outside. The locked door needed a passcode to unlock. Soares’s hands were behind his
back, so Riley did not observe that he had escaped his handcuffs. Riley instructed him to sit
back on the bench and Soares complied. Ex. 47 (Riley Dep.) at 162-169.

   32.     At around 12:37 A.M. that night, Riley and another officer began escorting Soares and
           a second prisoner outside to an awaiting transport van. When the group of four got
           outside the building, Soares took off running on foot. Riley and others searched for
           Soares but were not able to find him. Ex. 10 at NBPD000179-80, 185-86; Ex. 7.

Disputed as misleading. Riley was escorting his own prisoner and a second officer was
responsible for Soares. See Response to ¶31.

   33.     Soares was eventually apprehended two days later and over forty miles away in East
           Greenwich, Rhode Island. Ex. 7.

Disputed only to the extent that the date and place of Soares’s apprehension are not material
facts.

   34.     In or around December 2009, NBPD Deputy Chief David Provencher commenced a
           misconduct investigation against Riley by filing a complaint alleging that Riley had
           violated the rules and regulations of NBPD in connection with the Soares escape. The
           complaint was assigned to NBPD Sgt. Steven D. Blackburn for an internal
           investigation. Ex. 8; Ex. 9; Ex. 19; Ex. 10 at NBPD000177.

Disputed as incomplete and misleading in that the investigation was not exclusively or primarily
focused on Riley. Ex. 10 at NBPD000200, 262-63.

   35.     On January 5, 2010, Sgt. Blackburn sent a notice of interview to Riley, stating: “As
           you know I have been assigned a case involving the escape of an arrestee named John
           Soares from police custody during the early morning hours of November 30, 2009.


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           My case number is 1478. The complainant is Deputy Chief David Provencher. I have
           scheduled you for an interview on Tuesday January 26, 2010 at 7:00 a.m. in the New
           Bedford Police Department’s Division of Professional Standards Office.” Ex. 8.

Disputed as incomplete and misleading. Nothing in the notice stated that Riley was a subject of
the referenced investigation. Ex. 47 (Riley Dep.) at 189; Ex. 8.

   36.     Riley sat for the interview with Sgt. Blackburn on January 26, 2010. At the interview,
           Riley was accompanied by an attorney as well as the Chief Shop Steward of his union.
           Ex. 10 at NBPD000184.

Disputed as incomplete and misleading. Riley was not informed at this interview that he was a
subject of the Soares investigation. Ex. 8; Riley 188-189. Ex. 42 at Response No. 20; Ex. 47
(Riley Dep.) at 203, 208; Ex. 13; Supp. Exs. 84, 85, 86.

   37.     Before starting the January 26, 2010 interview, Riley signed a “PSU Form 3” stating:
           “You are hereby being ordered in accordance with Rule #516.4 to . . . provide
           information you may have regarding a complaint filed by Deputy Chief David
           Provencher. This complaint is numbered #1478 and the complainant alleges Violation
           of Department Rules & Regulations and Neglect of Duty in connection with the
           escape of John Soares . . . .” Ex. 9.

Disputed as incomplete and misleading. Nothing in the notice stated that Riley was a subject of
the referenced investigation. NBPD officers are asked to sign Form 3’s for all interviews, even if
they are the complaining party. Ex. 36, at P00782-83; Ex. 9. See also Plf. Stmt. ¶P45.

   38.     In Provencher’s view, the PSU Form 3 was intended to convey to Riley that he was a
           subject of the investigation. Ex. 35; Ex. 36 at P00783-84; Ex. 47 (Riley Dep.) at 394-
           95.

Disputed. Defendant has proffered no admissible evidence of Provencher’s “view,” but only
evidence of an out of cour statement by Provencher, offered for its truth (of what Form 3 means).
As such it is inadmissible hearsay. Fed. R. Evid. 801 et seq. Second, Provencher is not
competent to testify to the “intent” of Form 3, which speaks for itself.

   39.     Following the interview, Sgt. Blackburn issued an investigative report “sustain[ing]”
           the complaint against Riley, and finding that Riley violated NBPD rules and
           regulations pertaining to neglect of duty. Ex. 10 at NBPD000198-200, 261-62.

Undisputed.

   40.     Sgt. Blackburn concluded in his investigative report that it was “apparent that [Riley]
           paid little attention to Mr. Soares until the very end of their time together,” and “that
           the only reason . . . Officer Orlando Riley [was] not killed or seriously injured that
           night was because Mr. John Soares chose not to.” Ex. 10 at NBPD000197-98.



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Undisputed.

    41.     On June 18, 2010, NBPD Deputy Chief David Provencher wrote a memorandum to
            NBPD Chief Ronald Teachman recommending that Riley receive a written reprimand
            due to the sustained finding that Riley had violated NBPD’s rules and regulations
            (hereinafter, the “June 18, 2010 Memorandum”). Ex. 13.

Undisputed.

    42.     NBPD Chief Ronald Teachman did not act upon the recommendation that Riley
            receive a written reprimand. Teachman eventually retired in April or May 2011, still
            without having acted upon the recommendation in the June 18, 2010 Memorandum.
            Upon Teachman’s retirement, Deputy Chief David Provencher became Chief of the
            NBPD. Ex. 46 at 34-36, 53 1; Ex. 13; Ex. 68; Ex. 69.

Undisputed.

    43.     On May 24, 2011, Provencher (then in his new position as Chief) met in person with
            Riley to discuss the Soares investigation. Provencher told Riley that he was being
            issued a verbal warning and that the Soares investigation would be closed. Ex. 29; Ex.
            46 at 34-36; Ex. 13.

Disputed as incomplete and misleading. Provencher also met with a union representative and
agreed that Riley and the other officers involved, one of whom had been slated for harsher
punishment than Riley, would not be disciplined. Provencher told Riley that there was no
discipline involved and that nothing would be placed in his file. See Plf. Stmt. ¶P38; Ex. 13.

    44.     Provencher then made the following handwritten annotation on the June 18, 2010
            Memorandum: “OFFICERS M/WITH CHIEF & UNION – DISCUSSED &
            RESOLVED 5/24/11 FILE NO FURTHER ACTION. DAP 5/24/11.” Ex. 13.

Undisputed.

    45.     At the meeting of May 24, 2011, Riley asked Provencher “whether or not something
            would end up in [his] file” related to the Soares investigation. Riley asked the
            question because “[he] was a candidate in the process of being hired for the
            Massachusetts State Police.” In response, Provencher told Riley “that nothing was
            going in [his] file.” Ex. 32 at ¶ 3. See Ex. 46 at 33-35; Ex. 34 at MCAD00047.

Undisputed.



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 In August 2013, Riley filed an internal affairs complaint with MSP against Lima and, as a result, several
witnesses were subsequently interviewed by MSP internal investigators. Ex. 36. Thus, in addition to
deposition transcripts, transcriptions of certain internal affairs interviews are also included in the record.
See Exs. 46, 48, 51, 53.

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   46.     On June 1, 2011, Riley received an email stating in part: “The investigation into
           Complaint #1478, which was filed by Deputy Chief David Provencher alleging
           violations of department rules and regulations resulting in a prisoner escape is now
           complete. This complaint has been classified as SUSTAINED as there was sufficient
           evidence obtained to support the allegation.” Ex. 19.

Disputed as incomplete and misleading. The email also stated: “This complaint is being FILED
with no disciplinary action taken.” Ex. 19.

   47.     The final result of the Soares investigation was that Riley was found to have violated
           the following provisions of NBPD’s Rules & Regulations Manual: “Failure to perform
           according to the department rules and regulations”; “Improperly performing or
           neglecting to perform the duties assigned”; “Neglect of Duty.” Ex. 10 at
           NBPD000198-200, 261-62; Ex. 42 at Response No. 3.

Undisputed.

   48.     As a result of the sustained finding that Riley violated NBPD’s rules and regulations,
           Riley received a verbal warning at the meeting of May 24, 2011, and documents
           related to the Soares investigation were placed into Riley’s internal affairs file. Ex.
           29; Ex. 32 at ¶ 5.

Disputed. The fact that Riley received a verbal warning at the meeting of May 24, 2011 is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59. Moreover, this paragraph is incomplete and misleading. The verbal
warning is an informal description and not a form of discipline. Ex. 19; Ex. 46 at 35.

   49.     Provencher indicated that the sustained allegations against Riley in the Soares
           investigation could be used in determining an appropriate response to any potential
           future disciplinary matters involving Riley. Ex. 69.

Disputed. The fact that Provencher “indicated” that the allegations against Riley could be used
in determining future discipline is not a material fact because it is not a basis for defendant’s
rejection of Riley’s application and it was not used in any such circumstances. Ex. 51, at 10-11;
Ex. 57 at ln. 59.

   50.     Riley denies knowing that he was a subject of the Soares investigation at any point
           prior to May 24, 2011, the day he met with Provencher and received the verbal
           warning. Although Riley now acknowledges that he was a subject of the Soares
           investigation from its inception, Riley asserts that he was unaware of this fact until
           May 24, 2011. Ex. 1 at ¶ 18; Ex. 42 at Response Nos. 19-22; Ex. 9; Ex. 36; Ex. 46 at
           34-36.

Disputed as misleading. Riley did not in fact know that he was a subject of the Soares
investigation prior to May 24, 2011. See Plf. Stmt. ¶¶P39-P43, P45. Further, Riley’s
“acknowledgment” that he was a subject is not probative of any disputed issue in this case,


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inasmuch as the only genuine dispute of material fact at issue is whether he was aware that he
was a subject of the Soares investigation prior to May 24, 2011, and there is substantial evidence
of record that he was not. Id.

   51.     Riley asserts that he was never expressly told until May 24, 2011 that he was a subject
           of the Soares investigation; that he assumed at his January 26, 2010 interview that he
           was only a witness to the investigation; and that the “PSU Form 3” he signed at the
           interview did not expressly inform him that he was a subject of the investigation. Ex.
           35; Ex. 46 at 29-33; Ex. 47 (Riley Dep.) at 189-95.

Disputed in part. Riley had no reason to believe he was a subject of the investigation until May
24, 2011. The Form 3 was not informative on the subject. See Plf. Stmt. ¶¶P39-P43, P45.

   52.     Riley admits that starting on May 24, 2011 he understood that he had been a subject of
           the Soares investigation. Ex. 1 at ¶ 18; Ex. 42 at Response Nos. 21-22; Ex. 47 (Riley
           Dep.) at 202-03.

Undisputed that Riley learned on May 24, 2011 that he had been a subject of the Soares
Investigation.

   53.     Following the meeting of May 24, 2011, Riley “started thinking to [himself]” about
           how he would explain the Soares investigation to his MSP background investigator.
           Riley started thinking about this because the Soares investigation was “the one thing in
           [his] ten-year career that’s somewhat of a blemish” because of “this sustained
           complaint.” Ex. 46 at 34-36.

Undisputed.

   54.     Provencher passed away in December 2015 and so was not deposed in this case.
           However, Provencher did testify before the Massachusetts Commission Against
           Discrimination. Ex. 35; Ex. 36 at P00783-84; Ex. 68.

Disputed only to the extent that the fact that Provencher passed away in December 2015, was
not deposed, or testified at the Massachusetts Commission Against Discrimination are not
material facts, as they are not probative of any disputed issue in this case. Moreover, Provencher
did not “testify” at the MCAD.

The Stallings Investigation

   55.     During 2006, two private citizens named Shayne Stallings and Tina Marie Pena filed a
           complaint with NBPD against Riley and another officer alleging that the two officers
           engaged in misconduct in the course of an arrest of Stallings. The case was assigned
           within NBPD for an internal investigation (hereinafter, the “Stallings investigation”).
           Ex. 11; Ex. 43 at Response No. 23; Ex. 47 (Riley Dep.) at 236-40.




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Disputed on the basis that the fact that Riley was a subject of a complaint in 2006 is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59. Further, this paragraph is incomplete. The complaint made by Stallings
and Pena alleged misconduct at 48 Nelson Street in New Bedford. See Plf. Stmt., ¶P46.

   56.     Riley was a subject of the Stallings investigation. Ex. 47 (Riley Dep.) at 237-40.

Disputed on the basis that the fact that Riley was a subject of the Stallings Investigation is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59. Further, this paragraph is incomplete and misleading. Riley was not
informed at any time that he was a subject of the Stallings investigation, and believed only that
he was a witness given the grave misbehavior he had witnesses. Ex. 47 (Riley Dep.) at 244; Plf.
Stmt. ¶P46.

   57.     During 2007, Riley was interviewed by an NBPD internal affairs investigator as part
           of the Stallings Investigation. Before this interview, Riley was notified in writing that
           criminal proceedings could be instituted against him based on evidence obtained from
           other sources. Ex. 47 (Riley Dep.) at 239-45.

Disputed on the basis that the fact that Riley was a subject of the Stallings Investigation is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59. Further, this paragraph is incomplete and misleading. Riley was not
informed at any time that he was a subject of the Stallings investigation, and believed only that
he was a witness given the grave misbehavior he had witnesses. Ex. 47 (Riley Dep.) at 244; Plf.
Stmt. ¶P46. See Response to ¶56.

   58.     On May 10, 2010, Riley received an email stating that the “investigation into the
           complaint filed against you in September of 2006 . . . has been completed. There was
           inadequate or insufficient evidence to either prove or disprove the complaint,
           therefore, the case is classified as Not Sustained.” Ex. 12. See Ex. 47 (Riley Dep.) at
           237-58.

Disputed on the basis that the fact that Riley was a subject of the Stallings Investigation and the
fact of its findings are not material facts because they are not bases for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further, this paragraph is incomplete and
misleading. Riley was not informed in this email or at any other time that he was a subject of the
Stallings investigation – only that he was a witness. Plf. Stmt. ¶46.

MSP’s Application and Hiring Process

   59.     The application and hiring process for MSP’s 80th Recruit Training Troop (“RTT”)
           was a multi-phase process that proceeded over the course of several months in 2011.
           Ex. 45 at ¶ 2.

Undisputed.



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   60.     In the first phase of the process, individuals interested in becoming a Trooper were
           required to take a written Police Officer Examination (“Written Examination”)
           administered by the Commonwealth’s Human Resources Division (“HRD”). Ex. 45 at
           ¶ 3.

Undisputed.

   61.     Individuals taking the Written Examination could attain a maximum score of 102
           points. 100 raw points could be earned on the Written Examination. Qualifying
           military veterans who passed the Written Examination could have 2 points added to
           their raw score. Ex. 45 at ¶ 4.

Undisputed.

   62.     In early 2011, MSP began the hiring process for the 80th RTT by compiling eligibility
           lists of individuals who had attained a final score of no lower than 98 points on the
           Written Examination, or who were otherwise subject to statutory preference. Ex. 45 at
           ¶ 5.

Undisputed.

   63.     MSP thereafter sent letters to eligible individuals advising them that MSP was
           “beginning its preliminary screening process in anticipation of a future State Police
           Academy Class” and that, if interested in competing, the individual should: (a) return
           to MSP a “status form” indicating their interest in competing; and (b) complete MSP’s
           written “Application and Personal History Statement” (hereinafter, “Application”).
           Ex. 15. See Ex. 45 at ¶ 6.

Undisputed.

   64.     In total, MSP invited 1,394 individuals to compete for the 80th RTT. Approximately
           250 of these 1,394 individuals had final scores on the Written Examination of 100,
           101, or 102. Ex. 45 at ¶ 6.

Undisputed.

   65.     684 individuals accepted the invitation to compete by returning the “status form.” Ex.
           45 at ¶¶ 6-7.

Undisputed.

   66.     The 684 individuals who accepted the invitation to compete were then provided with a
           “conditional offer of employment” by MSP. The “conditional offer” advised that the
           “conditional offer [was] strictly contingent upon” available funding, available class
           space, sufficiently high scores, and the applicant’s successful completion of all phases
           of MSP’s selection process. Ex. 16. See Ex. 45 at ¶ 7.


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Undisputed.

   67.     Candidates who received the “conditional offer of employment” then faced five
           further phases in the hiring process: (1) an oral interview; (2) a physical fitness
           screening; (3) a psychological screening; (4) a medical screening; and (5) a
           background investigation. Ex. 16; Ex. 45 at ¶ 8.

Undisputed.

   68.     Candidates who failed one or more of the physical fitness, psychological screening,
           medical screening, or background investigation phases would be disqualified from the
           process. Ex. 45 at ¶ 9.

Undisputed.

   69.     Ultimately, 290 candidates successfully completed all phases of the process, and
           received appointments to the 80th RTT and invitations to the State Police Academy.
           250 of those candidates in fact reported to the State Police Academy in October 2011.
           208 of those candidates ultimately graduated from the State Police Academy and
           became Massachusetts State Troopers. Ex. 45 at ¶ 10.

Undisputed.

MSP’s Background Investigation Process

   70.     For the 80th RTT, the background investigation phase of MSP’s hiring process was
           organized and administered by MSP’s Certification Unit. Ex. 49 (Lima Dep.) at 68-
           69; Ex. 52 (Butler Dep.) at 23-24.

Undisputed.

   71.     Background investigations were conducted by individual MSP Troopers, each of
           whom was assigned 5-10 candidates. Ex. 53 at 3-6; Ex. 54 (Smith Dep.) at 28-31; Ex.
           52 (Butler Dep.) at 35-36, 45-46.

Disputed as incomplete. Some background investigations were conducted by full-time
Certification Unit staff. Ex. 54 (Smith Dep.) at 29; Ex. 52 (Butler Dep.) at 35-36. Many
background investigators, including Lima, were assigned background investigations in addition
to their regular duties, and were expected to complete the investigation responsibilities while
performing those regular job duties. The only criteria used to determine whether an individual
MSP Trooper outside the Certification Unit would be assigned background investigations were
his or her employment as an investigator in a detective unit or District Attorney’s office and
availability. Plf. Stmt. ¶P15.




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   72.     The background investigator’s role was as an “investigator[] and a “fact-gather[er].”
           Supp. Ex. 71 (Flynn Dep.) at 34, 44-47. See Ex. 48 at 5-8; Ex. 49 (Lima Dep.) at 45,
           62-63; Supp. Ex. 70 (Smith Dep.) at 61-64, 74-75.

Disputed. Investigators, including Lima, were also expected to, and did, offer subjective,
unsubstantiated evaluative opinions about information discovered during their investigation and
the positives and negatives of candidates they investigated. Supp. Ex. 75, at 17-19, 21; Ex. 27, at
MSP 1895, MSP 1899-1900; Ex. 30; Ex. 59 at MSP 4641; Ex. 64 at MSP 3660; Supp. Ex. 94 at
MSP 4232; Ex. 61, at MSP 3367

   73.     Background investigators were required to collect documentation related to the
           candidate; verify the information on a candidate’s Application; provide the candidate
           with a “Questionnaire” document and verify the information provided by the candidate
           in response; perform criminal background and driver’s history checks; conduct a
           neighborhood check; contact references; review the candidate’s credit history; conduct
           an in-person interview with the candidate; and, ultimately, complete a written
           background investigation report. Ex. 48 at 5-10; Ex. 49 (Lima Dep.) at 46-49, 56-62;
           Supp. Ex. 71 (Flynn Dep.) at 44-50.

Undisputed.

   74.     The written background investigation report was completed on a form template. Supp.
           Ex. 70 (Smith Dep.) at 50-51.

Disputed. Background investigators also report information regarding their background
investigations in memorandum form that does not conform to any template. Exh. 29.

   75.     The background investigator was not responsible for rendering a judgment on whether
           a candidate had passed or failed the background investigation. Supp. Ex. 71 (Flynn
           Dep.) at 34-35, 44-47; Ex. 49 (Lima Dep.) at 45, 62-63; Ex. 52 (Butler Dep.) at 21-23,
           26-27; Supp. Ex. 70 (Smith Dep.) at 61-64, 74-75.

Disputed. Investigators, including Lima, were also expected to, and did, offer subjective,
unsubstantiated evaluative opinions about information discovered during their investigation and
the positives and negatives of candidates they investigated. These conclusions were relied upon
by the Review Board. Moreover, the background investigator was the chief source of
information considered by the Review Board relative to a candidate’s application. The Review
Board did no independent investigation or fact checking of the background investigator’s
assertions in his report. See ¶72 Response; Plf. Stmt. ¶P83.

   76.     Instead, the function of the background investigator was to collect information for use
           by MSP’s Background Review Board (“Review Board”), which bore the responsibility
           for deciding whether a candidate had passed or failed the background investigation.
           Ex. 50 at ¶ 2; Ex. 49 (Lima Dep.) at 45, 62-63; Ex. 52 (Butler Dep.) at 21-23, 26-27;
           Supp. Ex. 70 (Smith Dep.) at 61-64; Supp. Ex. 71 (Flynn Dep.) at 34-35, 46-47, 55-56.



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Undisputed.

   77.     Once the background investigator’s work was complete, the investigator’s completed
           background investigation report and all the documentation collected by the
           background investigator would be transmitted to the Review Board. A candidate
           determined by the Review Board to have failed their background investigation would
           be disqualified from the hiring process. Ex. 52 (Butler Dep.) at 24-26, 35, 40-42, 57-
           58; Ex. 51 at 2-3; Ex. 50 at ¶ 2.

Disputed. This statement is not supported by the evidence. In Riley’s case, members of the
Review Board disagreed as to what information was provided to them. See Plf. Stmt. ¶P82.

   78.     The Review Board consisted of three high-ranking MSP officers who were appointed
           to the position. Major Kevin Butler, then the Deputy Commander of the Division of
           Standards and Training, served as the President of the Review Board and was present
           for every sitting of the Review Board. Ex. 52 (Butler Dep.) at 11-20, 27-32, 56-57;
           Ex. 50 at ¶ 4.

Undisputed.

   79.     If an appointed member of the Review Board was unavailable for a particular sitting
           of the Board, other MSP officers holding the rank of Captain or above would
           substitute in their place. Ex. 52 (Butler Dep.) at 27, 30-32.

Undisputed.

   80.     The three members of the Review Board each cast one vote, and decisions were made
           by a simple majority. Ex. 50 at ¶ 4.

Undisputed.

   81.     In deciding whether candidates passed or failed, the Review Board applied an internal
           set of guidelines known as the “Automatic and Discretionary Disqualifiers.” Ex. 14;
           Ex. 50 at ¶ 3; Supp. Ex. 71 (Flynn Dep.) at 21-22, 29-31, 38, 51-52.

Disputed in part. While the guidelines were available to the Review Board, the Review Board
authorized candidates who met the automatic disqualifiers and rejected those who did not. Supp.
Ex. 107 (Christiansen Dep.) at 35. See also Ex. 52 (Butler Dep.) at 38.

   82.     In deciding whether candidates passed or failed, the Review Board also applied its
           own independent judgment and common sense on what made for candidates with good
           character, work ethic, and sound decision making skills. Ex. 50 at ¶ 3; Supp. Ex. 71
           (Flynn Dep.) at 21-22, 29-31, 38, 51-52; Ex. 52 (Butler Dep.) at 37-38, 41-43; Ex. 14
           at MSP00012.




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Disputed. The Review Board had little information beyond that provided by the background
investigator and did as the background investigator suggested. In Riley’s case, the Review
Board was heavily influenced by Lima’s reasoning, even as it reportedly changed. See Plf.
Stmt., at ¶¶P83, P89-P92.

   83.     The “Automatic and Discretionary Disqualifiers” guidelines specified that a candidate
           would be automatically disqualified—that is, that they would be automatically
           determined to have failed their background investigation—if they: (1) they
           “knowingly misrepresented or falsified information submitted on the Application
           and/or Personal History Statement, resumes or any other documents filed in
           conjunction with the hiring process for the Massachusetts State Police”; or (2)
           “knowingly made false statements to the background investigator.” Ex. 14 at
           MSP0009-11. See Ex. 50 at ¶¶ 7-9.

Undisputed.

   84.     The guidelines further specified that a candidate could be disqualified as a
           discretionary matter: (1) if he or she “could be impeached in reference to his/her
           character for truthfulness”; or (2) based on “any other issues which would be relevant
           to a candidate’s eligibility to enter the State Police Academy.” Ex. 14 at MSP00012,
           14.

Undisputed.

   85.     After the Review Board made a decision about a candidate, Butler would record the
           Board’s determination on a spreadsheet which he maintained. Ex. 50 at ¶ 10; Sealed
           Ex. 57.

Undisputed.

   86.     If a candidate failed, Butler would record the most important reasons for the failure in
           the spreadsheet. Ex. 50 at ¶ 10.

Disputed. The spreadsheet, Ex. 57, reflected all of the reasons for the candidate’s failure. Ex.
51, at 10-11.

   87.     If a candidate failed, Jack Flynn—then MSP’s Chief Administrative Officer—would
           send a letter to the candidate advising them of the Review Board’s decision. Ex. 28;
           Ex. 67; Ex. 52 (Butler Dep.) at 26-27.

Undisputed.

Riley’s Application to MSP

   88.     In April 2009, Riley sat for the Written Examination and achieved a raw score of 100.
           Ex. 1 at ¶¶ 9-10.


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Undisputed.

   89.     In February 2011, Riley received a letter from MSP inviting him to compete for the
           80th RTT. Riley returned his “status form” to indicate his interest in competing. Ex. 1
           at ¶ 11; Ex. 15.

Undisputed.

   90.     On or around April 4, 2011, Riley received his “conditional offer of employment”
           from MSP. Ex. 16; Ex. 1 at ¶ 12.

Undisputed.

   91.     On or around May 2, 2011, Riley completed his Application to MSP, which he then
           submitted to MSP the next day. Ex. 1 at ¶ 13; Ex. 17 (Riley’s original application).

Undisputed.

   92.     Riley typed his Application answers on a computer and signed by hand. Ex. 47 (Riley
           Dep.) at 113-14; Ex. 17.

Undisputed.

   93.     The Application contained a Signature page, which required Riley to certify as
           follows: “I have read each question asked of me and understand each question. My
           statements on this form and any attachments to this form are true and correct to the
           best of my knowledge and belief and are made in good faith.” Riley signed and dated
           the Signature page. Ex. 17 at MSP00096.

Undisputed.

   94.     Along with the Application, Riley was also required to submit a notarized Agreement.
           Paragraph 3 of the Agreement required Riley to certify as follows: “I understand that
           false or misleading information given herein or during interview(s) will result in my
           being disqualified from further consideration and/or terminated from employment with
           the Department of State Police.” Riley signed the Agreement in the presence of a
           notary on May 2, 2011, and submitted it along with his Application. Ex. 18.

Undisputed.

   95.     Riley agrees that accuracy and truthfulness are important parts of being a police
           officer. Ex. 47 (Riley Dep.) at 411.




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Undisputed. Riley’s agreement, or not, regarding important parts of being a police officer is not
a material fact, in that it is Lima’s and defendant’s motive and state of mind that are at issue in
this case.

Riley’s Answers on the Application

   96.     Question No. 8 on the Application stated: “Provide information about schools you are
           attending or, have attended, beyond Junior High School, beginning with the most
           recent . . . and working backward.” Space for description of four schools was
           provided on the Application along with a note to “use continuation space or additional
           pages if necessary.” Ex. 17 at MSP00078.

Undisputed.

   97.     In response to Question No. 8, Riley listed all of the colleges he ever attended. Ex. 17
           at MSP00078; Ex. 47 (Riley Dep.) at 22-25.

Undisputed.

   98.     In response to Question No. 8, Riley did not list all of the high schools he attended.
           Riley listed only one high school (New Bedford High School), leaving out three others
           (Muskegon High School, Bishop Stang High School, and Dartmouth High School).
           Ex. 17 at MSP00078; Ex. 47 (Riley Dep.) at 120-22.

Disputed only in that Riley’s omission of some of the high schools he attended is not a material
fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at 10-11;
Ex. 57 at ln. 59.

   99.     Question No. 20.A. on the Application stated: “To the best of your knowledge, has the
           Commonwealth of Massachusetts, the United States Government or any other police
           or law enforcement agency ever investigated your background for purposes of
           employment,” and then required the applicant to check a box for “YES” or “NO.”
           Question No. 20 then continued, “If yes, list ALL of the departments you have applied
           to and the YEAR you applied.” Ex. 17 at MSP00086 (capitalization in original).

Undisputed.

   100. In response to Question No. 20.A., Riley checked the box for “YES,” but did not list
        all police departments he had ever applied to. Ex. 17 at MSP00086; Ex. 29.

Disputed only in that Riley’s omission of all of the police departments he ever applied to is not a
material fact, because it is not the basis for defendant’s rejection of his application. Ex. 51, at
10-11; Ex. 57 at ln. 59. See also Plf. Stmt., ¶P92.

   101. Specifically, in response to Question No. 20.A., Riley listed that he had applied to the
        NBPD in 2001 and the Rhode Island State Police in 2004, but did not disclose his


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          unsuccessful application to the Providence Police Department in 1999. Ex. 17 at
          MSP00086; Ex. 29.

Disputed only in that Riley’s omission of all of the police departments he ever applied to is not a
material fact, because it is not the basis for defendant’s rejection of his application. Ex. 51, at
10-11; Ex. 57 at ln. 59. See also Plf. Stmt., ¶P92.

   102. In response to Question No. 20.A., Riley also did not disclose his unsuccessful
        application to NBPD in 1999. Ex. 17 at MSP00086; Ex. 47 (Riley Dep.) at 27-38.

Disputed only in that Riley’s omission of all of the police departments he ever applied to is not a
material fact, because it is not the basis for defendant’s rejection of his application. Ex. 51, at
10-11; Ex. 57 at ln. 59. See also Plf. Stmt., ¶P92.
See Response to ¶100.

   103. Question No. 20.E. on the Application stated: “If you are a current or former police
        officer . . . . Have you ever been the subject of an internal investigation or citizens
        complaint,” and then required the applicant to check a box for “YES” or “NO.” The
        Application further instructed that any “YES” answer should be “fully explain[ed].”
        Ex. 17 at MSP00087.

Undisputed.

   104. In response to Question No. 20.E., Riley checked the box for “NO.” Below his
        answer, Riley added: “I have never been the subject of an internal investigation within
        my police department. The only time I was interviewed by my internal affairs unit
        was as a witness.” Ex. 17 at MSP00087.

Undisputed.

   105. Riley’s answer to Question No. 20.E. was not accurate because Riley had been a
        subject of the Soares investigation. Ex. 1 at ¶ 18; Ex. 42 at Response Nos. 13-14, 21-
        22; Ex. 25 at MSP000111 (reflecting Riley’s later change to his answer to Question
        20.E.).

Disputed. Riley’s answer to Question No. 20E was accurate to the extent he was aware at the
time he completed and submitted his application on May 3, 2011. He did not learn to the
contrary until May 24, 2011. Plf. Stmt. ¶¶P39-P43, P45.

   106. Riley’s statement that “[t]he only time [he] was interviewed by my internal affairs unit
        was as a witness” was not accurate because Riley had been a subject of the Soares
        investigation. Ex. 1 at ¶ 18; Ex. 42 at Response Nos. 13-14, 21-22; Ex. 25 at
        MSP000111.

Disputed. See Response to ¶105.



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   107. Riley’s answer and statement in response to Question 20.E. were also not accurate
        because Riley had been a subject of the Stallings investigation and had been
        interviewed as part of the Stallings investigation. Supra SMF ¶¶ 55-58 (and sources
        cited).

Disputed on the basis that the fact that Riley was a subject of the Stallings Investigation and the
fact of its findings are not material facts because they are not bases for defendant’s rejection of
Riley’s application. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further, Riley was not informed at any
time prior to his completion of his application that he was a subject of the Stallings investigation
– only that he was a witness. Plf. Stmt., ¶P46.

Lima is Assigned to Riley’s Background Investigation, and Lima and Riley begin
Communicating

   108. In or around early July 2011, Trooper Robert Lima was assigned to conduct Riley’s
        background investigation. Ex. 48 at 8; Ex. 20.

Undisputed.

   109. Lima has been employed by MSP as a Trooper since 2006. Lima has never held a
        rank at MSP above the rank of Trooper. Ex. 49 (Lima Dep.) at 22-33.

Undisputed.

   110. During 2011, Lima’s regular assignment within MSP was to the Bristol County
        District Attorney’s Office as a homicide investigator. Ex. 49 (Lima Dep.) at 31, 38.

Undisputed.

   111. Lima, like other background investigators for the 80th RTT, was asked to conduct
        background investigations as a temporary, part-time assignment. Ex. 53 at 3-4; Ex. 49
        (Lima Dep.) at Tr. 68-69; Ex. 52 (Butler Dep.) at Tr. 36.

Disputed as incomplete and misleading. Lima’s assignment as a background investigator was in
addition to his regular duties. See Response to ¶71.

   112. Major Kevin Butler—the President of the Review Board—considered Lima “one of
        the more effective background investigators” for MSP. Ex. 51 at 5-6; Ex. 50 at ¶ 1.

Disputed. Butler’s opinion of Lima as an investigator has no probative value with respect to any
contested issue in this case. Butler was not Lima’s supervisor and did not assess his work. Ex.
49 (Lima Dep.) at 35; Supp. Ex. 93. He had never been trained in the conduct of background
investigations; the last background investigation he had conducted had been performed 11 years
previously, and not on behalf of the MSP. Plf. Stmt., ¶P13.




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   113. Detective Lieutenant George Smith—the head of MSP’s Certification Unit—
        considered Lima “based upon his work, to be an extremely thorough, hardworking
        investigator and very meticulous in all of his work,” and described Lima’s reports as
        “[e]xcellent in every way.” Ex. 53 at 2-5, 19.

Disputed. Smith’s opinion about Lima is not a material fact, as it has no probative value as to
any contested issue in this case. Smith did not provide input into the decision to reject Riley’s
application or his request for reconsideration of that decision. Ex. 52 (Butler Dep.) at 24-25.
Further, even were Smith’s opinion relevant, it has little probative value, inasmuch he has no
objective basis for evaluating Lima’s skills as a background investigator. He has not had any
formal training in principles of employee selection or selection testing, has never designed
personnel selection programs, including background investigation programs, and has not trained
any others in how to design and/or conduct background investigations. Plf. Stmt., ¶P12.

   114. Lima is a member of the Massachusetts National Guard, holding the position of
        Deputy Inspector General. Lima is presently deployed to Guantanamo Bay in that
        role. Ex. 49 (Lima Dep.) at Tr. 17-22, 36-38.

Disputed. Lima’s membership, rank or deployment in the National Guard is not a material fact,
as it has no relevance to any contested issue in this case.

   115. Lima is white. Ex. 1 at ¶ 14.

Undisputed.

   116. On July 7, 2011, Lima reached out to Riley by telephone to have an initial
        conversation. Lima told Riley during this call that “if [he] had any question about the
        material to contact him.” Ex. 47 (Riley Dep.) at Tr. 317; Ex. 49 (Lima Dep.) at Tr.
        244.

Undisputed.

   117. Riley did not ask any questions on the July 7, 2011 call about how to update his
        application materials. Ex. 47 (Riley Dep.) at 317-20; Ex. 49 (Lima Dep.) at 244-45.

Disputed as incomplete and misleading. Riley had decided that he would wait to discuss the
Soares investigation with Lima in person at his background investigation interview. Ex. 47
(Riley Dep.) at 342. Nothing in the application form Riley completed set forth a process by
which errors discovered after its completion could be corrected, Ex. 17, and Riley was not
provided such instruction in any other written communication he received from the MSP. See,
e.g., Ex. 16; Ex. 20; Ex. 23. Nothing in any communication Riley received instructed him, or
suggested, that if he waited until his interview with the background investigator to make
corrections, this would be taken as evidence of untruthfulness. Id. Further, Lima provided no
indication during this conversation that there was any opportunity for Riley to correct his
application, that he was required to do so prior to his interview with Lima, or that Riley’s



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decision to discuss the issue regarding the Soares investigation at his interview would be taken as
evidence of “untruthfulness.” Ex. 47 (Riley Dep.) at 317; Ex. 49 (Lima Dep.) at 244.

   118. Riley did not tell Lima on the July 7, 2011 call that he had learned that he was a
        subject of the Soares investigation, and that his answer to Application Question 20.E.
        therefore needed to be corrected. Ex. 47 (Riley Dep.) at 318-20; Ex. 49 (Lima Dep.)
        at 244-45.

Disputed. See Response to ¶117.

   119. On July 8, 2011, Lima sent Riley an email providing the “Questionnaire” document to
        be completed by Riley, a “To Do” list for Riley (which instructed Riley to obtain
        certain documentation including, inter alia, “diploma(s)” and “sealed transcripts”) and
        asking Riley to reach out with any questions. Ex. 20.

Disputed as misleading. The email did not instruct Riley that this was an opportunity, or that he
was required, to take advantage of the communication to correct his application. Nor did the
email suggest that if Riley did not take advantage of such an opportunity, it would be taken as
evidence of untruthfulness. Ex. 20.

   120. On July 20, 2011, Riley emailed Lima: “This email is to inform you that I have
        obtained all documentation that is required. My school transcripts should arrive to
        you via mail soon. If there is any further information that is needed please contact
        me.” Ex. 21.

Undisputed. Further, there is no evidence that Lima responded to this email with an instruction
to correct any errors in his application, and that if he did not do so, it would be taken as evidence
of untruthfulness.

   121. While Riley had requested transcripts from all of the colleges he ever attended, he had
        not requested transcripts from all of his high schools. Specifically, Riley had
        requested a transcript from New Bedford High School, but not from Muskegeon High
        School, Bishop Stang High School, or Dartmouth High School. Ex. 46 at 14-17, 61-
        62; Ex. 47 (Riley Dep.) at 339.

Disputed only that Riley’s failure to request transcripts from all of his high schools is not a
material fact because it is not the basis for defendant’s rejection of his application. Ex. 51, at 10-
11; Ex. 57 at ln. 59.

   122. Riley did not indicate in his July 20, 2011 email that he had learned that he was a
        subject of the Soares investigation, and that his answer to Application Question 20.E.
        therefore needed to be corrected. Ex. 21; Ex. 49 (Lima Dep.) at 245.

Disputed as in complete and misleading for the reasons set forth in plaintiff’s
Response to ¶117.



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   123. On August 17, 2011, Riley emailed Lima: “There has been some changes to my
        references on my application,” and then provided updated contact information for
        some of Riley’s references. Ex. 22. Riley thought these references could help his
        candidacy with MSP. Ex. 47 (Riley Dep.) at 340-41.

Undisputed.

   124. As of August 17, 2011—nearly three months after his May 24, 2011 meeting with
        Provencher—Riley undisputedly knew that he had been a subject of the Soares
        investigation. Supra SMF ¶¶ 50-52 (and sources cited).

Undisputed.

   125. Riley did not indicate in his August 17, 2011 email that he needed to make any other
        changes to his Application. Riley did not indicate in his August 17, 2011 email that he
        had learned that he was a subject of the Soares investigation, and that his answer to
        Application Question 20.E. therefore needed to be changed and corrected. Ex. 22; Ex.
        47 (Riley Dep.) at 340-43; Ex. 49 (Lima Dep.) at 245-46.

Disputed as incomplete and misleading. See Response to ¶117.

   126. During August 2011, and around August 22, 2011, Riley personally went to view his
        NBPD personnel file. Riley did so because he wanted “to go over everything in [the]
        personnel file, any negatives that could be pointed out against you or anything like
        that.” Riley was worried that MSP might consider the Soares investigation to be a
        “negative.” Ex. 47 (Riley Dep.) at 343-51. See Ex. 32 at ¶ 4.

Disputed. Riley’s review of his NBPD personnel file is not a material fact, because it is not a
basis for defendant’s rejection of his application. Ex. 57. Further, ¶126 is incomplete. When
Riley reviewed his personnel file, he wished to confirm that no disciplinary information had been
placed in it as he had been assured would be the case. Ex. 47 (Riley Dep.) at 343-51.

   127. On August 22, 2011, Riley emailed Lima to provide the name of his RISP background
        investigator. Ex. 23.

Undisputed.

   128. Riley did not indicate in his August 22, 2011 email that he had learned that he was a
        subject of the Soares investigation, and that his answer to Application Question 20.E.
        therefore needed to be corrected. Ex. 23.

Disputed as incomplete and misleading. See Response to ¶117.

Riley’s Answers on the Questionnaire




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   129. At some point prior to the start of his interview on September 1, 2011, Riley
        completed the Questionnaire document that had been provided to him by Lima on July
        8, 2011. Ex. 47 (Riley Dep.) at 320-324; Ex. 20.

Undisputed.

   130. In general, the Questionnaire required candidates to answer questions about their
        motor vehicle history, employment history, military service, financial history, criminal
        history, education, and drug use. The Questionnaire also asked candidates if
        “everything [was] accurate and complete on [their] application.” Ex. 24; Supp. Ex. 71
        (Flynn Dep.) at 47-50.

Undisputed.

   131. The first page of the Questionnaire stated: “The purpose of this
        questionnaire/interview is to get truthful answers. The fact that you tell the truth will
        receive more consideration for this position than any good impression you may try to
        make with untruthful answer.” Riley signed his initials next to that statement. Ex. 24
        at MSP000689.

Disputed only in that Riley’s answers on the Questionnaire are not material facts, because they
are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   132. The Questionnaire also required Riley to “certify that all statements made in this
        questionnaire/interview are true and complete. I understand that false, incomplete or
        misleading information given herein may be sufficient cause for disqualification from
        further consideration and/or termination from employment with the Department of
        State Police.” Riley so certified by signing his initials next to that statement. Ex. 24
        at MSP000689; Ex. 47 (Riley Dep.) at 324-25.

Disputed only in that Riley’s answers on the Questionnaire are not material facts, because they
are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   133. On the final page of the Questionnaire, Riley was asked “Is everything accurate and
        complete on you[r] application?” In response, Riley answered “Yes.” Ex. 24 at
        MSP000693; Ex. 47 (Riley Dep.) at 330-31.

Disputed only in that Riley’s answers on the Questionnaire are not material facts, because they
are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

   134. Riley’s certification that “everything [was] accurate and complete on [his]
        application” was not accurate. At the time he completed the Questionnaire, Riley
        knew that he had been a subject of the Soares investigation, and that his answer to
        Question 20.E. on the Application was incorrect. Ex. 1 at ¶ 18; Ex. 42 at Response
        Nos. 13-14, 21-22; Ex. 52 (Butler Dep.) at 133-35. See SMF ¶¶ 50-52.



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Disputed in that Riley’s answers on the Questionnaire are not material facts, because they are
not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59.
Further, Riley’s certification was not knowingly inaccurate, Riley understood it to refer to the
Questionnaire only. See Response to ¶136.

   135. Riley testified at his deposition that he provided the answer of “Yes” on the final page
        of the Questionnaire because he interpreted the word “application” on the
        Questionnaire as referring to the Questionnaire, and not to his actual Application. Ex.
        47 (Riley Dep.) at 330-35.

Disputed on the basis that Riley’s answers on the Questionnaire are not material facts, because
they are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln.
59. Further, ¶135 is incomplete. Riley misinterpreted the word “application” to be referring to
the Questionnaire because it did not seem reasonable to him that a questionnaire with hundreds
of questions that he had just completed would be referring to an entirely different document that
he had completed four months previously. Ex. 47 (Riley Dep.), at 333-335.

   136. The Questionnaire is nowhere described on the document as an “application.” Ex. 24.

Disputed. See Response to ¶135.

   137. Riley himself had previously used the word “application” to refer to his written
        Application when providing Lima with the changes to his references. Ex. 22.

Disputed. See Response to ¶135.

   138. On the third page of the Questionnaire, Riley was asked “Have you broken any
        company rule”? In response, Riley answered “No.” Ex. 24 at MSP000691.

Disputed on the basis that Riley’s answers on the Questionnaire are not material facts, because
they are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln.
59.

   139. Riley’s representation that he had not “broken any company rule” was not accurate.
        At the time he completed the Questionnaire, Riley knew that he had been found in
        violation of NBPD’s rules and regulations in connection with the Soares investigation.
        Ex. 19; Ex. 42 at Response No. 22; supra SMF ¶¶ 46, 48-49 (and sources cited).

Disputed on the basis that Riley’s answers on the Questionnaire are not material facts, because
they are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln.
59. Further, Riley had not broken any company rule. He understood that he had handled the
situation appropriately. Ex. 47 (Riley Dep.), at 158-180.

   140. On the fifth page of the Questionnaire, Riley was asked, “Is your name in a case report
        file with any police department or law enforcement agency that you are aware of?” In
        response, Riley answered “No.” Ex. 24 at MSP000692.


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Disputed only on the basis that Riley’s answers on the Questionnaire are not material facts,
because they are not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex.
57 at ln. 59.

   141. Riley’s representation that his name was not in any “case report file with any police
        department” was not accurate. At the time he completed the Questionnaire, Riley
        knew that he had been found in violation of NBPD’s rules and regulations in the
        Soares investigation, and that the complaint was “being FILED with no disciplinary
        action taken.” Ex. 19. See Ex. 52 (Butler Dep.) at 134-36.

Disputed. Riley’s answers on the Questionnaire are not material facts, because they are not the
basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further,
Riley’s answer was accurate. The term “case report file” is not defined in the questionnaire, Ex.
24, and the question appears under the “Criminal History” section of the questionnaire. Riley
therefore understood the term to mean a file regarding a criminal case investigation. Ex. 47
(Riley Dep.), at 328-330. Riley’s answer is fully consistent with the questionnaire’s
characterization of the question.


Riley’s Interview with Lima

   142. On September 1, 2011, Lima visited the NBPD where he reviewed Riley’s personnel
        and internal affairs files pursuant to a written release signed by Riley. Ex. 48 at 32-34;
        Ex. 34 at MCAD00047.

Undisputed.

   143. In reviewing Riley’s internal affairs file, Lima discovered the June 18, 2010
        Memorandum, with Provencher’s further handwritten annotations from May 24, 2011.
        Lima was permitted to make a photocopy of the June 18, 2010 Memorandum, and he
        took that photocopy with him. Ex. 18; Ex. 48 at 33-35; Ex. 49 (Lima Dep.) at 110-13,
        174; Ex. 13.

Undisputed.

   144. Prior to reviewing Riley’s internal affairs file, Lima had no knowledge of Riley’s
        status as a subject of the Soares investigation. Ex. 48 at 33-35.

Undisputed.

   145. Based on the June 18, 2010 Memorandum, Lima believed at the time that Riley had in
        fact received a written reprimand based on the results of the Soares investigation. Ex.
        49 (Lima Dep.) at 146-54, 246-47; Ex. 27 at MSP00068, 71; Ex. 13.




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Disputed. The plain language of the June 18, 2011 Memorandum states that it is a
recommendation for a reprimand. Lima knew that the document was a recommendation for a
reprimand and that it did not say that Riley had been reprimanded. Lima also knew that a
recommendation for a reprimand is not the same as a reprimand, and he admits that he did not
actually know whether Riley had been reprimanded or not until he spoke to Chief Provencher
after the completion of his First Report of Investigation. ¶P36.

   146. Later that same day, on September 1, 2011, Riley met with Lima for his in-person
        background investigation interview. The interview took place at MSP’s Dartmouth
        State Police barracks and lasted approximately three hours. Ex. 47 (Riley Dep.) at
        116, 352-53.

Undisputed.

   147. Portions of the interview were dedicated to reviewing Riley’s Application and
        correcting mistakes. Ex. 46 at 11-13, 19-28, 73; Ex. 47 (Riley Dep.) at 353-55; Ex. 48
        at 23-27; Ex. 49 (Lima Dep.) at 118-25.

Disputed. Riley’s claimed mistakes on his Application are not material facts, because they are
not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59.

Further disputed as an inaccurate, incomplete and misleading account of what occurred during
Riley’s interview. Lima was suspicious, hostile and condescending, spent excessive time
repeating the same questions on the same subjects, including challenging Riley’s answer that he
did not gamble, denigrated Riley’s neighborhood, insinuated that Riley forged documents,
claimed he made mistakes that were not mistakes and repeatedly insisted over Riley’s denials
that Riley had been reprimanded. ¶¶P32.

   148. Riley made multiple handwritten corrections to the Application, and initialed those
        corrections. In total, Riley made and initialed thirteen corrections to the Application.
        Ex. 25 (Riley’s Application with handwritten changes). See Ex. 47 (Riley Dep.) at
        116-32, 141-45; Ex. 48 at 13-14; Ex. 42 at Response No. 14.

Disputed. See Response to ¶147.

   149. With respect to Riley’s corrections, Riley had placed numerous answers in the wrong
        locations; indicated that he was no longer employed by the NBPD (he was); indicated
        that he had not been involved in a car accident in the past seven years (he had);
        indicated that he was not registered for Selective Service (he was); and indicated that
        he did not currently own a motor vehicle (he did). Ex. 25 (Riley’s Application with
        handwritten changes).

Disputed. Riley’s claimed mistakes on his Application are not material facts, because they are
not the basis for defendant’s rejection of his application. Ex. 51, at 10-11; Ex. 57 at ln. 59. The
application form did not contain instruction, ¶P65, and the software used to create the form
caused errors where information added in the correct location was placed by the software at an

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incorrect location. ¶P66. Riley entered information for his car and it never registered in the
document. Supp. Ex. 110 (Riley Aff.), ¶7. Riley did not indicate that he was no longer
employed by the NBPD. Rather, when he completed his application at the beginning of May
2011, he indicated that he had been employed at the NBPD through April 2011, which was as of
the current date. Ex. 17; Ex. 47 (Riley Dep.) at 117-18; Supp. Ex. 110 (Riley Aff.), ¶3. Riley
listed the minor car accident with which he was involved, but did not think he needed to list it on
the form twice. ¶P68. He did make a mistake answering the Selective Service question, but it
was a common mistake. ¶P67.

   150. With respect to the mistakes on his application, Riley stated to Lima, “Well, it is what
        it is,” or words to that effect. Lima took Riley’s statement to reflect an acceptance of
        mediocrity. Ex. 49 (Lima Dep.) at 203-05.

Disputed. Riley did not say this. ¶P79.

   151. At no point in the interview did Riley affirmatively volunteer to Lima that he had
        learned that he had been a subject of the Soares investigation, and that his answer to
        Question 20.E. on the Application was therefore not accurate. Ex. 33 at P0937; Ex. 34
        at MCAD00047; Ex. 27 at MSP00071; Ex. 48 at 33-38.

Disputed. Riley discussed the subject at the appropriate point in the conversation, when they
had reached the topic of investigations and Riley offered that he had learned that he was a
subject of the Soares Investigation on May 24, 2011, after he completed his application. ¶¶P38,
P39.

   152. According to Riley, Lima at some point asked, “[I]s there anything else about you in
        regards to internal affairs that you want to discuss?” At that point, Riley stated for the
        first time that he had learned on May 24, 2011 that he was a subject of the Soares
        investigation. Riley stated that he had previously believed that he was just a witness
        and that he had “assumed” the investigation “was concluded.” Ex. 33 at P0937.

Undisputed..

   153. According to Riley, Lima then asked, “How come you did not call me and tell me
        about this?” Riley replied, “because there was no discipline involved and I would
        rather discuss this issue with you during my interview so I could tell you in detail
        about the incident and there wouldn’t be any misunderstandings.” Ex. 33 at P0937.

Undisputed.

   154. In fact, Riley had been issued a verbal warning by Provencher for his conduct related
        to the Soares investigation. Additionally, Provencher had recommended that Riley
        receive a written reprimand. Ex. 29; Ex. 13.




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Disputed. Riley was not “issued” a verbal warning or any other form of discipline. He was
informally warned that he should be more careful in future, and there were to be no further
consequences. Provencher had received a written recommendation, but decided against it. ¶P38.

   155. According to Riley, Lima then further asked, “How come you didn’t discuss this
        incident on your application.” Riley replied, “because my application was completed
        on May 3, 2011” and “[m]y chief did not make a decision on this matter until May 24,
        2011. I didn’t know this investigation was still pending because it was so long in
        between the time when I first spoke to internal affairs until the time my chief closed
        the investigations.” Ex. 33 at P0937.

Undisputed..

   156. Lima then showed Riley the June 18, 2010 Memorandum, as Lima had photocopied
        earlier that day. Ex. 48 at 34-36; Ex. 49 (Lima Dep.) at 110-12, 247-48; Ex. 29; Ex.
        32 at ¶ 5; Ex. 34 at MCAD00048; Ex. 33 at P00940-41.

Disputed that Lima “showed” Riley the June 18, 2010 Memorandum. Lima brandished it in
Riley’s face and insisted that it was a “reprimand.” ¶P39. Riley did not have a chance to
actually read the document. ¶P39.

   157. Riley immediately responded, “that’s not supposed to be in my file.” Ex. 47 (Riley
        Dep.) at 221; Ex. 48 at 35-37 (Lima recalling: “the first thing that came out of his
        mouth, I remember vividly and as if it was just a second ago, that’s not supposed to be
        in my file”).

Disputed as inaccurate and incomplete. Lima reported that Riley said: “[h]e told me that this
letter should not be in his file because he was not disciplined” or “something to that effect.”
¶P39.

   158. Lima asked Riley to explain the document, and Riley again reiterated that the
        document was not supposed to be in his file. Ex. 48 at 35-37; Ex. 47 (Riley Dep.) at
        221.

Disputed. Riley informed Lima that he had not been reprimanded, that he had only learned that
he was a subject of a disciplinary investigation on May 24, 2011, and that he had been told that
he was not going to be disciplined and nothing would be going into his file. ¶¶P38, P39.

   159. Riley then stated to Lima that he had never seen the document before, but that he had
        been assured by Provencher “that there was no discipline involved in [the] incident
        and the incident was not going in [his] file.” Ex. 33 at P00937. See Ex. 47 (Riley
        Dep.) at 221.

Undisputed.




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   160. Lima and Riley spent a substantial amount of time talking about the Soares
        investigation. Lima regarded the Soares investigation as a “major issue” for several
        reasons, namely: (1) it involved “an internal investigation on a prisoner escaping”; (2)
        Lima perceived Riley as attempting to give the Soares investigation “the appearance . .
        . [of] something minor”; and (3) Lima thought it “blatantly clear” that Riley had been
        untruthful in regards to the extent of his involvement in the Soares investigation. Ex.
        48 at 37-38; Ex. 49 (Lima Dep.) at 190-91, 248-49.

Disputed. There is no evidence that Lima was concerned about the nature of the Soares
investigation – that topic is not mentioned in his First or Second Reports nor in any other
contemporaneous evidence. Ex. 27; Ex. 30. Further, Riley gave no “appearance” of attempting
to make the investigation “minor.” He explained that he had only learned that he was a subject
of a disciplinary investigation on May 24, 2011, and that he had been told that he was not going
to be disciplined and nothing would be going into his file. ¶¶P38, P39. Riley further disputes
that Lima thought it “blatantly clear” that Riley had been untruthful regarding the Soares
Investigation. He knew at the time that Riley was being truthful. See ¶145 Resp.

   161. Riley changed his answer to Question 20.E. on the Application from “NO” to “YES”
        and initialed the change. Ex. 25 at MSP000111; Ex. 47 (Riley Dep.) at 150-53.

Undisputed.

   162. At some point in the interview, Riley and Lima discussed Question 20.A., pertaining
        to other law enforcement agencies that Riley had previously applied to. Ex. 47 (Riley
        Dep.) at 128-33; Ex. 48 at 28-32.

Undisputed.

   163. Riley did not disclose then, or at any other point during the interview, that he had also
        applied unsuccessfully to the Providence Police Department, which was not disclosed
        on the Application. Riley asserts that Lima never specifically asked whether he had
        applied to police forces other than those he listed on the Application. Ex. 46 at 28-29;
        Ex. 47 (Riley Dep.) at 131.

Disputed to the extent that Riley’s non-disclosure of his application to the Providence Police
Department is not a material fact because it is not the basis for defendant’s rejection of his
application. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further, this statement is incomplete and
misleading in that it suggests that that the sole reason Riley did not disclose the application to
Lima was because Lima did not ask. Riley neither disclosed it to Lima nor reported it on his
application because he reasonably misunderstood the poorly worded Question 20A as only
requiring information regarding those applications for which background investigations had been
conducted, given the structure of virtually every other similar question in the application. ¶P70.

   164. At some point in the interview, Riley and Lima discussed the fact that Riley had
        attended other high schools in addition to the single one listed on the Application



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          (New Bedford High School). Riley told Lima that he left one of his high schools due
          to a residency requirement. Ex. 27 at MSP00071; Ex. 46 at 23-24; Ex. 25.

Disputed as incomplete and misleading. Riley informed Lima that his mother had enrolled him
in Dartmouth High School using his aunt’s address as his residence, but that the high school
discovered this and required that his mother remove him due to lack of residency after only a few
weeks. ¶¶P56, P57.

   165. Riley asserts that he told Lima that he left Dartmouth High School due to a residency
        requirement, and that he left Bishop Stang High school for financial reasons because
        his family could no longer afford the tuition at a private school. Ex. 46 at 23-24; Ex.
        33 at P00939.

Disputed only on the basis that Riley’s tenure at Dartmouth High School is not a material fact
because it was not a basis for defendant’s rejection of Riley’s application.

   166. Lima asserts that Riley told him that he left Bishop High School [sic] due to a
        residency requirement, and that Riley never mentioned having attended Dartmouth
        High School at all. Ex. 48 at 16-21; Ex. 49 (Lima Dep.) at 133-42; Ex. 30 at
        MSP00075.

Disputed. Riley informed Lima that he left Dartmouth High School for residency reasons and
that he left Bishop High School for financial reasons. Moreover, Lima’s account of this
conversation is not credible for multiple reasons set forth in ¶¶P56-P64. Further, Lima did
acknowledge that Riley told him that he left Bishop Stang for financial reasons. ¶P59.

   167. Whatever may actually have been said, Lima left the interview with the impression
        that Riley had left Bishop High School due to a residency requirement. Ex. 48 at 16-
        20; Ex. 49 (Lima Dep.) at 133-42; Ex. 27 at MSP00071; Ex. 30 at MSP00075-76.

Disputed that Lima left the interview with the “impression” that Riley had left Bishop Stang
High School due to a residency requirement. Riley told him that he had left Dartmouth High
School for those reasons, Lima later claimed to have “discovered” that Riley really left Bishop
Stang for academic reasons from a telephone call from a Bishop Stang staff member that she
denies making. After visiting Bishop Stang and confirming that Riley had not, in fact, left for
academic reasons, Lima failed to acknowledge in his Second Report that Riley had not been
untruthful for failing to disclose the non-fact. Lima then conceded in his Second Report that
Riley indeed left Bishop Stang for financial reasons. ¶¶P57-P62

   168. Riley acknowledges that he did not tell Lima that he had failed multiple courses at
        Bishop Stang High School and would have needed to make up those courses or repeat
        sophomore year if he returned to Bishop Stang High School. Ex. 47 (Riley Dep.) at
        124-25.

Disputed as incomplete and misleading. Riley would not have told Lima the referenced
information because it had nothing to do with his reasons for leaving Bishop Stang High School,


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and would be misleading, since he had already made up some of the courses he had failed. He
did, however, tell Lima that he did not do well academically and had academic problems. ¶P56.

   169. Riley made two more handwritten changes to the Application to note that he had
        attended Muskegon High School and Bishop Stang High School. Riley did not add
        Dartmouth High School to the Application. Ex. 25 at MSP00019; Ex. 47 (Riley Dep.)
        at 121-24.

Disputed as incomplete. Riley did not add Dartmouth High School on Lima’s instruction. ¶P57.

   170. Lima asked Riley to procure transcripts for his high schools other than New Bedford
        High School, and Riley agreed that he would. Ex. 46 at 14-17, 61-62; Ex. 49 (Lima
        Dep.) at 127-28, 166-67.

Undisputed.

Lima Conducts Follow-Up and Writes His Background Investigation Report

   171. On September 2, 2011, a NBPD union representative acted—at Riley’s request—to
        contact Lima by telephone to discuss the Soares investigation. The representative
        stated to Lima “that Officer Riley was in fact being truthful in any statement he
        provided as to not being the subject of an internal affairs investigation and as to not
        having been informed of any discipline as a result.” Ex. 26; Ex. 33 at P00940.

Undisputed.

   172. The union representative’s representation that Riley was “not . . . the subject of an
        internal affairs investigation” was not accurate. Riley had been a subject of “internal
        affairs investigation[s].” Ex. 26; supra SMF ¶¶ 29-58 (and sources cited).

Disputed. Defendant distorts the content and meaning of this communication. Sgt. Ledo’s
complete statement says that “Officer Riley was in fact being truthful in any statement he
provided as to not being the subject of an internal affairs investigation and as to not having been
informed of any discipline as a result.” Sgt. Ledo did not say that Riley had not been the subject
of an internal affairs investigation. Sgt. Ledo’s focus was on Riley’s truthfulness in believing he
was not the subject of an internal affairs investigation. The writer also said that Riley had not
been disciplined for the incident at issue. Ex. 26.

   173. Following the interview, Lima reached out to Bishop Stang High School to attempt to
        determine why Riley had left the school. Lima had understood Riley to say that he
        had left Bishop Stang “due to the fact that there was a residency requirement,” but
        Lima knew “that the high school was a private one, [so] the answer that [Riley] gave .
        . . did not appear plausible.” Doubting Riley’s explanation, Lima decided to reach out
        to Bishop Stang for further clarification. Ex. 27 at MSP00071; Ex. 49 (Lima Dep.) at
        134-39.



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Disputed for the reasons set forth in Response to ¶167.

    174. Lima thereafter spoke to an official from Bishop Stang named Nancy Wood or Nancy
         Ward “who informed [him] that [Riley] did attend the high school for a year but did
         not return the following year based on academic performance.” Ex. 27 at MSP00071. 2

Disputed for the reasons set forth in Response to ¶167.

    175. Also following the interview, Lima conducted the requisite neighborhood check and
         visited Riley’s home. Riley was not present at the time, but his fiancée was. At the
         time, Riley lived with his fiancée on the third-floor of an apartment building in New
         Bedford. Ex. 27 at MSP00063, 72; Ex. 56 (Riley Fiancée Dep.) at 22.

Undisputed.

    176. When Lima arrived, the entrance to the apartment building was unlocked. Lima
         proceeded to Riley’s apartment, where Riley’s fiancée answered the door. Riley’s
         fiancée was “surprised” and asked Lima “how did he get to the third floor” because
         the door “is usually locked.” Ex. 56 (Riley Fiancée Dep.) at 17-27.

Undisputed.

    177. According to Riley’s fiancée, Lima looked around the house and then stated, “You
         might want to get that door checked because you don't live in the greatest
         neighborhood.” Ex. 56 (C. Riley Dep.) at 20.

Undisputed.

    178. Lima completed his background investigation report on Riley on September 7, 2011.
         In the “Applicant Interview” section of the report, Lima described his conclusion that

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   Counsel for Riley has since procured two affidavits from Nancy Wood/Ward stating that she does “not
recall having any conversations with Trooper Lima about Mr. Riley,” but also offering that she has generally
not “offered opinions or conclusions to prospective employers about the reason(s) that former students did
or did not return to Bishop Stang High School.” Ex. 40. These affidavits do not create a genuine dispute
of fact. See Charles v. Stop & Shop Supermarket Co., LLC, No. CIV.A. 0-10726-DJC, 2012 WL 2402790,
at *2 (D. Mass. June 25, 2012) (citing I.V. Servs. of Am., Inc. v. Inn Dev. & Mgmt., Inc., 182 F.3d 51, 55
(1st Cir. 1999)) (“A lack of recollection . . . is insufficient to raise a legitimate dispute of material fact.”).
Disputed. Further, the affidavits are not from “Nancy Wood/Ward,” they are from Nancy Wood. Further,
defendant’s quote of the Wood affidavit is incomplete. Wood said in relevant part: “During 2011, I did not
know the reason(s) that Mr. Riley did or did not return to Bishop Stang High School, and I do not recall
having any conversation with Trooper Lima about Mr. Riley or why he did or did not return to Bishop
Stang High School after the 1993-1994 school year. . . . During my tenure at Bishop Stang High School as
Administrative Assistant in the Guidance Department, I have not been authorized, nor have I offered
opinions or conclusions to prospective employers about the reason(s) that former students did or did not
return to Bishop Stang High School” (emphasis added). The underscored statement directly contradicts
Lima’s allegation that Wood told him “the reason(s)” that Riley “did not return to Bishop Stang High
School.”

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          Riley had received a written reprimand as part of the Soares investigation, and
          described Riley’s reaction to being confronted with the Soares investigation at the
          interview. Ex. 27 (Completed Background Investigation Report) at MSP00063, 71.

Disputed that Lima reached a conclusion that Riley had received a reprimand. He knew the
opposite to be the case. ¶¶P36-P40. Further, Riley disputes that Lima accurately describes his
reaction. Rather, he described a part of Riley’s reaction. He failed to state in full what Riley had
said, which was that: “this letter should not be in [my] file because [I] was not disciplined [or
something to that effect].” ¶P39.

   179. In his background investigation report, Lima also described his skepticism that Riley
        had left Bishop Stang for residency reasons, and documented his follow-up with
        Nancy Ward, who stated that Riley did not return to the school based on his academic
        performance. Ex. 27 (Completed Background Investigation Report) at MSP00071.

Disputed that Lima ever actually believed that Riley had said that he left Bishop Stang for
residency or academic reasons. or that Nancy Wood told Lima that Riley did not return to Bishop
Stang based on academic performance. See Response to ¶167.

   180. On the final page of the report, Lima recorded that Riley’s “negative employment
        aspects” included being “[u]ntruthful about disciplinary action,” being “[n]ot
        completely forthright on disclosing disciplinary action,” and demonstrating a “[l]ack
        of attention to detail,” “[l]ack of understanding,” and “[a]cceptance of mediocrity” in
        connection with his completion of the Application. Ex. 27 (Completed Background
        Investigation Report) at MSP00073. See Ex. 48 at 42-43, 56-57; Ex. 52 (Butler Dep.)
        at 43-44.

Undisputed.

The Background Review Board Disqualifies Riley

   181. On September 7, 2011, a Review Board consisting of Major Kevin Butler, Major
        William Christiansen, and Captain Frank McGinn met and considered the applications
        of a number of candidates, including Riley. Ex. 50 at ¶ 5; Ex. 52 (Butler Dep.) at Tr.
        118-19.

Undisputed.

   182. The Review Board voted unanimously to disqualify Riley. Ex. 50 at ¶ 7.

Undisputed.

   183. In reaching its decision, the Review Board reviewed and considered Riley’s completed
        Application, Riley’s completed Questionnaire, and Lima’s completed background
        investigation report on Riley. Ex. 50 at ¶ 6.



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Disputed. Members of the Review Board disagreed as to what information was provided to
them. See Plf. Stmt. ¶P82. Further, the Review Board had little information beyond that
provided by the background investigator and routinely conformed to the background
investigator’s lead. In Riley’s case, the Review Board was heavily influenced by Lima’s
reasoning, even as it repeatedly changed. See Plf. Stmt., at ¶¶P83, P89-P92.

   184. The Review Board concluded that Riley had knowingly made false statements in his
        Application, in his Questionnaire and to Lima during the interview, and that Riley’s
        making of false statements constituted an automatic disqualifier under the “Automatic
        and Discretionary Disqualifiers” guidelines. Ex. 50 at ¶ 7.

Disputed to the extent that the Review Board concluded that Riley’s answers on his
Questionnaire formed a basis for his disqualification. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further,
plaintiff disputes that it actually reached the conclusions described independently. Rather, the
Review Board was heavily influenced by Lima, relying entirely on Lima’s assertions and doing
no independent investigation or fact checking. ¶P83, P89-02.

   185. Specifically, the Review Board concluded that Riley had been intentionally untruthful
        with respect to: (1) his role as a subject of the Soares investigation; (2) whether he
        received a written reprimand as a result of the Soares investigation; (3) his answers on
        the Questionnaire regarding the Soares investigation; and (4) the circumstances of his
        not returning to Bishop Stang High School. Ex. 50 at ¶ 7.

Disputed to the extent that the Review Board concluded that Riley’s answers on his
Questionnaire formed a basis for his disqualification. Ex. 51, at 10-11; Ex. 57 at ln. 59. Further,
plaintiff disputes that it actually reached the conclusions described independently. Rather, the
Review Board was heavily influenced by Lima, relying entirely on Lima’s assertions and doing
no independent investigation or fact checking. ¶P83, P89-02.

   186. In reaching its decision, the Review Board also considered that Riley had failed his
        RISP background investigation, that Riley’s Application had an abnormally large
        numbers of mistakes, and the quality of Riley’s references. The Review Board
        believed that these factors supported its decision, but these factors did not amount to
        automatic disqualifiers and therefore did not make a difference to the Review Board’s
        decision. Ex. 50 at ¶¶ 8-9.

Disputed in that Riley’s claimed mistakes, RISP application or quality of his references could
not be material if they “did not make a difference” to the decision at issue in this case. Further,
Riley disputes that his application had “abnormally large numbers of mistakes.” Many of the
putative “mistakes” were the result of shoddy application software, poorly designed and
misleading questions, lack of adequate information or explanation of terms, or simply differences
of opinion about the meaning of terms, for example the question of whether a union is a
“professional trade organization” or a credit card is a “loan.” ¶¶P32, P53, P65-P70. What
remained, such as mistakenly providing an incomplete list of high schools, was trivial. ¶P55.
Further, white applicants’ similar mistakes were not treated as harshly. E.g. ¶P54, ¶P75.
Moreover, the “quality” of Riley’s references was artificially diminished because of Lima’s


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misrepresentations and failure to interview employer references, no doubt furthering the negative
impression Lima had created. ¶P48-50. Moreover, a jury would be entitled to believe that an
unbiased decisionmaker would not have considered it to be significant that Riley’s application to
RISP was denied in 2004, based in significant part on his prior work performance as a police
officer in New Bedford. Ex. 47 (Riley Dep.) at 100, 102-103. The decision was based only on
evaluations in Riley’s NBPD files from late 2002, which described the ways in which Riley
needed more development as an officer and the last of which noted some improvement. Ex. 6, at
RISP 0007-8. According to his Chief, Riley’s evaluations “depict[] a journey of improvement
through his probationary period and ends with the completion of that period with satisfactory
reviews.” Supp. Ex. 98 at P2028. Riley received no further written evaluations between 2002
and 2011. Supp. Ex. 97 at P2029-35. Further, Riley’s errors on his application are also not
material facts because they were not the basis for defendant’s decision to reject his application.
Ex. 57, ln. 59

   187. Riley’s credit and financial issues played no role in the Review Board’s decision. Ex.
        52 (Butler Dep.) at 110.

Disputed. Lima’s misrepresentation regarding Riley’s purported failure to document his
mortgage fraud dispute, and failure to correct the misrepresentation, likely contributed to the
negative impression Butler claimed to have formed that Riley had engaged in a “pattern of
deception.” See ¶210.

   188. In its notes of decision for Riley, the Review Board recorded: “Made false statements
        on application re New Bedford PD IA invest. Lied to investigator concerning reasons
        for dismissal from Bishop Stang High School. Rejected by RISP 2004.” Sealed Ex.
        57 at Row 59; Ex. 50 at ¶ 10.

Undisputed.

   189. By letter dated September 15, 2011, Jack Flynn informed Riley that the Review Board
        had disqualified him from the hiring process because the Review Board had
        determined that he “was untruthful on his application” and “untruthful to his
        background investigator.” Ex. 28.

Undisputed.

Riley “Appeals” the Review Board’s Decision

   190. After completing his initial report, Lima spoke to a representative of RISP and learned
        that Riley had unsuccessfully applied to the Providence Police Department, which
        Riley had not disclosed on the Application and which Lima previously did not know.
        Sealed Ex. 60; Ex. 30 at MSP00076; Ex. 48 at 28-32; Ex. 25 at MSP000110.

Disputed only to the extent that Riley’s application to the Providence Police Department is not a
material fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at
10-11; Ex. 57 at ln. 59.


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   191. On or around September 17 or 18, 2011, Riley received Flynn’s rejection letter and
        called Lima by telephone. Riley stated that he wanted to know how Lima considered
        him to be untruthful. Lima stated that Riley had received a written reprimand arising
        from the Soares investigation and that Riley had left Bishop Stang due to academic
        performance issues. Lima also stated that Riley had failed to disclose his application
        to the Providence Police Department. Riley stated to Lima that his conclusions were
        inaccurate and that Lima should “reinvestigate.” Ex. 47 (Riley Dep.) at 356-60; Ex.
        29; Ex. 30 at MSP00074.

Undisputed.

   192. Lima perceived Riley as “berating” him, and Riley acknowledges that he was “mad”
        during the phone call. Lima told Riley that “berating [him] was unprofessional.” Ex.
        49 (Lima Dep.) at 217-20; Ex. 48 at 17-19; Ex. 47 (Riley Dep.) at 358-59.

Disputed. Riley did not raise his voice or berate Lima or give rise to a “perception” of berating.
¶P85.

   193. After discussing the matter with a superior in the Certification Unit, Lima called Riley
        back and told him that he should contact MSP Human Resources. Riley did so and
        was told to write a letter to Chief Administrative Officer Jack Flynn. Ex. 47 (Riley
        Dep.) at 360-62; Ex. 48 at 53-54; Ex. 49 (Lima Dep.) at 220; Ex. 30 at MSP00074-75.

Undisputed.

   194. On September 22, 2011, Riley wrote to Jack Flynn asking for a “second look” at his
        candidacy and arguing that he had not been untruthful with respect to the Soares
        investigation, Bishop Stang High School, or the Providence Police Department.
        Riley’s letter did not assert or allege that Lima had acted with racial bias. Ex. 29.

Undisputed.

Lima Conducts a Supplemental Investigation

   195. Separately, and on his own initiative, Lima contacted the head of the Certification Unit
        and asked to review his background investigation report on Riley for completeness.
        Lima stated that he wanted to conduct follow-up and “make sure that [he] had not
        missed anything” because he “was, essentially . . . accused [by Riley] of getting the
        report wrong.” Lima was authorized to proceed. Ex. 49 (Lima Dep.) at 209-10, 218-
        22, 250-51; Ex. 48 at 22, 52-53.

Undisputed.

   196. On September 21, 2011, Lima met with NBPD Chief Provencher, who confirmed that
        Riley was a subject of the Soares investigation, but who also told Lima that the


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           recommendation for reprimand “was initiated but . . . never acted on.” Ex. 30 at
           MSP00075. See Ex. 49 (Lima Dep.) at 169-74.

Undisputed.

    197. On September 22, 2011, Lima traveled to Bishop Stang High School in an effort to
         further investigate the reasons for Riley’s leaving that school. There, Lima met with
         Assistant Principal Kathleen Ruginis. Ruginis reviewed Riley’s transcript and told
         Lima that Riley would not have been allowed to “return and stay” at Bishop Stang
         unless he made up “three . . . failed courses.” 3 Ex. 30 at MSP00075-76. See Ex. 49
         (Lima Dep.) at 225-27.

Disputed that the information received from Ruginis is material. Riley in fact made up four
courses over the summer following his sophomore year and was not expelled. ¶P61. Further, a
jury is entitled to disbelieve that Lima had concerns about whether Riley had left for academic
reasons, for the reasons set forth in Riley’s Response to ¶167.

    198. Also on September 22, 2011, Lima traveled to New Bedford High School and saw
         records reflecting that Riley had attended Dartmouth High School. Lima had not
         previously realized that Riley had attended Dartmouth High School. Consequently,
         Lima traveled to Dartmouth High School on September 26, 2011. At Dartmouth High
         School, Lima sought to determine whether Dartmouth High School had a residency
         requirement, and thus whether Riley’s “residency issue was really with the Dartmouth
         High School and not Bishop Stang.” Ex. 30 at MSP00075-76.

Disputed that Lima had not previously realized that Riley had attended Dartmouth High School.
Riley had told him. Further disputed that Riley had not previously told Lima that Riley had left
Dartmouth due to aforesaid issue. ¶P57.

    199. On September 28, 2011, Lima sent a memorandum to Major Kevin Butler (the
         President of the Review Board) and Det. Lt. George Smith (the commander of the
         Certification Unit) covering the findings of his supplemental investigation. Ex. 30
         (Lima Supplemental Memorandum of September 28, 2011); Ex. 50 at ¶ 1; Ex. 53 at 2-
         3.

Disputed that the contents of Lima’s Second Report were truly “findings” and not false
statements. See ¶¶P23-P80.

The Review Board Again Votes to Disqualify Riley

3
 As with Nancy Wood, Riley’s counsel has also procured an affidavit from Kathleen Ruginis stating that
she does “not recall the specific details of [her] conversation” with Lima. Ex. 41. As with Wood, this
affidavit is also insufficient to create a genuine dispute of fact. See Stop & Shop Supermarket Co., 2012
WL 2402790, at *2. Disputed. This is not a material fact but legal argument. Further, defendant’s
characterization of her affidavit is incomplete and misleading. Ms. Ruginis also said that she had no
knowledge of the reasons Riley left Bishop Stang High School, which contradicts Lima, who claims she
advised him of those reasons. Ex. 41.

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   200. On September 26, 2011, a Review Board consisting of Butler, Christiansen, and
        Detective Captain Frank Hart met to reconsider its decision to disqualify Riley in light
        of Riley’s letter of September 22, 2011. Ex. 50 at ¶ 11.

Undisputed.

   201. In considering such “appeals,” the Review Board followed the same process as in in
        the original review by reviewing the candidate’s file and considering any additional
        information. Ex. 52 (Butler Dep.) at 98, 123-24; Ex. 67; Ex. 50 at ¶ 11.

Disputed that the Review Board formed an independent judgment regarding Riley. Rather, it
relied almost entirely on Riley and the information he provided to determine their decisions.
¶P83, P89-P91.

   202. For Riley’s “appeal,” the Review Board once again considered Riley’s completed
        Application, completed Questionnaire, and Lima’s background investigation report.
        The Review Board also reviewed and considered Riley’s letter of September 22, 2011.
        Ex. 50 at ¶ 11.

Disputed. There is no evidence that any members of the Review Board that considered Riley’s
“appeal” (the “Appeal Board”) other than Butler considered Riley’s September 22, 2011 letter or
accompanying materials. ¶P89, or formed an independent judgment regarding Riley. Rather, the
relied almost entirely on Lima and the information he provided to determine their decisions.
¶P83, P89-P91.

   203. The Review Board did not consider Lima’s supplemental memorandum. Prior to the
        meeting, however, Lima relayed some of the same information to Butler via telephone
        including, at least, the fact that Riley had not received the recommended reprimand.
        Ex. 52 (Butler Dep.) at 76-81, 131-32; Ex. 50 at ¶ 11; Ex. 30.

Disputed that Butler received any information from Lima other than the fact that Riley had not
received a reprimand and the purported “fact” that Riley had failed to disclose that he was a
subject of the Soares Investigation. ¶P88.

   204. The Review Board also considered the new information that Riley had unsuccessfully
        applied to the Providence Police Department which it learned from, at least, Riley’s
        letter of September 22, 2011. Ex. 29; Ex. 50 at ¶ 12.

Disputed. The Appeal Board was unaware of Riley’s unsuccessful application to the Providence
Police Department until after its September 26, 2011 decision to deny Riley’s appeal. It first
learned of this issue when it received Lima’s September 28, 2011 Second Investigation Report.
¶P92. Further, there is no evidence that any member of the Appeal Board other than Butler
received Riley’s September 22, 2011 letter or accompanying materials. ¶P89. Moreover, the
fact that Riley had unsuccessfully applied to the Providence Police Department is not a material



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fact because it is not a basis for defendant’s rejection of Riley’s application. Ex. 51, at 10-11;
Ex. 57 at ln. 59.

   205. On September 26, 2011, the Review Board voted unanimously that Riley would
        remain disqualified. Ex. 50 at ¶ 12.

Undisputed.

   206. The Review Board determined that it remained the case that Riley had made
        knowingly false statements in his Application, in his Questionnaire and to Lima, and
        that Riley’s making of false statements continued to constitute an automatic
        disqualifier under the “Automatic and Discretionary Disqualifiers” guidelines. Ex. 50
        at ¶ 12.

Disputed. The Appeal Board did not determine that Riley’s responses to the Questionnaire were
a basis for his disqualification. Ex. 51, at 10-11; Ex. 57 at ln. 59. Riley further disputes that it
formed an independent judgment regarding Riley. Rather, it relied almost entirely on Riley and
the information he provided to determine their decisions. ¶P83, P89-P91.

   207. In particular, the Review Board continued to believe that Riley had made false
        statements about his role as a subject of the Soares investigation, and that it did not
        make a difference whether Riley had actually received the written reprimand. Ex. 50
        at ¶ 12; Ex. 52 (Butler Dep.) at 78-81.

Disputed that the Appeal Board formed an independent judgment regarding Riley. Rather, it
relied almost entirely on Riley and the information he provided to determine their decisions.
¶P83, P89-P91. Disputed that the Appeal Board “continued to believe” that Riley had made
false statements about his role as a subject of the Soares investigation. The issue of whether
Riley had been untruthful regarding his role as a subject did not arise when the Review Board
originally denied Riley’s application. ¶¶P81-P83.

   208. The Review Board also continued to believe that Riley had made knowingly false
        statements about his reasons for not returning to Bishop Stang High School. Ex. 50 at
        ¶ 12.

Disputed that it formed an independent judgment regarding Riley. Rather, it relied almost
entirely on Riley and the information he provided to determine their decisions. ¶P83, P89-P91.

   209. The Review Board also determined that Riley had falsely answered Question 20.A. by
        failing to disclose his unsuccessful application to the Providence Police Department.
        The Review Board considered Riley’s explanation (that he misunderstood the
        question) to be not credible in light of “the overwhelming number of other indications
        that Riley was an untruthful individual who had attempted to conceal various
        embarrassing aspects of his past from MSP.” Ex. 50 at ¶ 12.




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Disputed. This assertion is unsupported by admissible evidence in that it relies on an affidavit
that contradicts the affiant’s deposition testimony and which should not be considered. In fact,
the affiant, Butler, testified at deposition that he was unaware of Riley’s application to the
Providence Police Department until he received Lima’s Second Investigation Report dated
September 28, 2011. Ex. 52 (Butler Dep.) at 76. The Appeal Board made its decision on
September 26, 2011. ¶P92.

   210. Major Butler, the President of the Review Board, described Riley as having engaged
        in “pattern of deception that goes on and on.” Ex. 52 (Butler Dep.) at 94, 117-18; Ex.
        50 at ¶¶ 1, 12.

Undisputed.

   211. By letter dated September 28, 2011, Riley was informed that “[a]fter reconsidering the
        information presented in the first instance as well as the representations advanced in
        your letter [of September 22, 2011], the Review [Board] has affirmed its original
        decision to remove you from the process.” Ex. 67.

Undisputed.

Other Candidates Assigned to Lima for Background Investigations for the 80th RTT

   212. For the 80th RTT, Lima was assigned background investigations for seven candidates
        in total, including Riley. Ex. 45 at ¶ 11.

Undisputed.

   213. Of the six candidates other than Riley assigned to Lima, one failed his psychological
        assessment and did not make it to the point of a background investigation
        determination, and a second voluntarily withdrew from the process before the point of
        a background investigation determination. Lima did not complete a background
        investigation report for either one of these candidates. Ex. 45 at ¶ 12.

Undisputed.

   214. Lima completed his background investigations on the four remaining candidates, who
        had the initials: (1) A.G.; (2) A.P.; (3) J.W.; and (4) J.H. All four of these candidates
        were white. Ex. 45 at ¶ 13. See Sealed Ex. 58 (A.G. investigation report); Sealed Ex.
        61 (A.P. investigation report); Sealed Ex. 65 (J.H. investigation report); Sealed Ex. 64
        (J.H. investigation report).

Undisputed.

   215. Candidate A.G. was assigned candidate number 100-0059. Candidate A.P. was
        assigned candidate number 098-0481. Candidate J.W. was assigned candidate number
        100-0184. Candidate J.H. was assigned candidate number 100-0070. Ex. 45 at ¶ 14.


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Undisputed.

   216. Like Riley, Candidates A.G., A.P., and J.W. were all found by MSP’s Review Board
        to have failed their background investigation, and were disqualified from the hiring
        process on that basis. Ex. 45 at ¶ 14; Sealed Ex. 57 at Rows 58, 60, and 350; Sealed
        Ex. 59 (A.G. Review Board letter); Sealed Ex. 62 (A.P. Review Board letter); Sealed
        Ex. 66 (J.W. Review Board letter).

Undisputed, except that the stated reasons for the candidates’ disqualifications for AG, AP and
JW are set forth in Sealed Ex. 57 at rows 58, 360 and 60, respectively.

   217. Candidate A.G. failed his background investigation and was disqualified due to, inter
        alia, being untruthful on his application about history of drug use. Sealed Ex. 57 at
        Row 58; Sealed Ex. 59; Ex. 45 at ¶ 14.

Disputed as incomplete and misleading. AG was also disqualified because a report from the
State Police confirmed a motor vehicle stop where marijuana was destroyed and also because of
an extensive driving history dating to 2003 including multiple license suspensions, and marginal
employment references. Candidate AG had 21 incidents listed in his background report,
including speeding, no inspection sticker and license suspensions. AG also failed to fully
disclose his drug use and medical issues until forced to do so by Lima during his interview with
AG. ¶P72.

   218. Candidate A.P. failed his background investigation and was disqualified due to, inter
        alia, providing incomplete and inaccurate information on his Application about his
        prior employment history, and a poor prior employment history. Sealed Ex. 57 at Row
        360; Sealed Ex. 62; Ex. 45 at ¶ 14.

Disputed as incomplete and misleading. AP was disqualified because of performance warnings,
reprimands and written warnings from former employer Poland Springs, poor reference
interviews, failure to disclose a failed mental health test in an application to the Department of
Correction, failure to disclose a termination from a former employer, and an incomplete and
inaccurate application. He also had a criminal history, but this is neither mentioned in Lima’s
summary of “negative employment aspects,” nor is mentioned in the Review Board’s summary
of its reasons for rejecting his application, nor is it identified by defendant as a basis for
rejection. ¶P73.

   219. Candidate J.W. failed his background investigation due to, inter alia, non-payment of
        taxes and an extensive driver’s history. Ex. 45 at ¶ 14; Sealed Ex. 57 at Row 60;
        Sealed Ex. 66.

Disputed as incomplete. JW was disqualified for non-payment of taxes in 2010, an extensive
driving history and an OUI in 2007 for which he never completed the required safety program.
JW had 18 incidents on his driving record, including speeding, no inspection sticker and multiple
license suspensions. He failed to disclose one of his two terminations in his application until his


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interview with Lima, yet was not accused of untruthfulness by Lima in his evaluation of JW’s
application, and his two terminations are not remarked upon by Lima. Neither JW’s omission
nor his two terminations were mentioned in the Review Board’s summary of its reasons for
rejecting his application and they are not identified by defendant as reasons for his
disqualification. JW had a criminal history, which was also not remarked upon in Lima’s
investigation report, nor was it mentioned in the Review Board’s summary of its reasons for
rejecting his application and it is not identified by defendant as a reason for his disqualification.
¶P74-P76.

   220. Lima completed his background investigation report on Candidate J.H. on September
        2, 2011. Lima noted a number of “Positive Employment Aspects” for Candidate J.H.,
        including “[h]onesty,” particularly in acknowledging past use of marijuana, and
        “trustworth[iness].” For “Negative Employment Aspects,” Lima wrote: “[N]othing to
        report/Nothing found during background investigation.” Sealed Ex. 64.

Undisputed.

   221. At the time of his interview, J.H. made three written changes to his application: adding
        his one high school, correcting his cell phone number, and correcting his email
        information. Sealed Ex. 63; Sealed Ex. 64 at MSP003658.

Undisputed.

   222. Candidate J.H. was subsequently reviewed by the Review Board, and the Review
        Board determined that J.H. had passed his background investigation. Sealed Ex. 57 at
        Row 110; Ex. 45 at ¶ 14;

Undisputed.

   223. Other than Riley’s allegations related to this case, Lima has never before been the
        subject of a complaint of racial bias or discrimination, and has never before been the
        subject of a complaint about his conducting of background investigations. Ex. 49
        (Lima Dep.) at 66-67.

Disputed as misleading. Lima has only performed seven background investigations, five in
2011 (¶¶213-214) and two more for the 81st RTT (Supp. Ex. 88 at 3).

Other Candidates to the 80th RTT Disqualified due to Untruthfulness

   224. In addition to Riley, at least twenty-two other candidates failed their background
        investigations for the 80th RTT due, at least in part, to issues of perceived
        untruthfulness. Sealed Ex. 57 at Candidates 100-0123 (Row 32), 100-0059 (Row 58),
        099-0407 (Row 75), 098-0635 (Row 104); 098-0498 (Row 105); 099-0010 (Row
        130), 099-0053 (Row 131), 0098-141 (Row 135), 099-0294 (Row 162), 099-0247
        (Row 164), 099-0309 (Row 166), 096-0477 (Row 168), 098-0373 (Row 216), 102
        (Row 217), 102-0005 (Row 248), 098-0275 (Row 250), 099-0112 (Row 251), 100-


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          0071 (Row 264), 100-0112 (Row 296), Unnumbered (Row 334), Unnumbered (Row
          336), Unnumbered (Row 337), 098-0481 (Row 360).

Disputed as incomplete and misleading in the absence of data as to whether the claimed
“perception” of untruthfulness was genuine, and was skewed along racial lines in those cases as
it was in Lima’s case.

Riley’s MCAD Charge Against NBPD

   225. On September 15, 2011, Riley went to NBPD Chief David Provencher and asked him
        to explain the document Lima had shown Riley at the interview. Provencher stated:
        “[B]ecause of your waiver we allowed access to your internal affairs file and in your
        file was a recommendation for a written reprimand.” Riley then asked Provencher,
        “why [he] was never informed about any recommendation for a written reprimand”
        and stated that he “thought [Provencher] said none of this was going in my file.”
        Provencher replied, “I meant your personnel files [and] your internal affairs file is
        different.” Ex. 34 at MCAD00048.

Undisputed.

   226. On June 19, 2012, Riley filed an MCAD charge against NBPD and David Provencher,
        alleging that both had discriminated against him on the basis of race. Ex. 32.

Disputed only on the basis that Riley’s filing of an MCAD charge against NBPD and David
Provencher is not a material fact. It has no probative value as to whether defendant denied Riley
admission to the 80th RTT for discriminatory reasons.

   227. Riley alleged as follows:

“On or about May of 2011, the Respondent, David Provencher, Chief of Police, informed all
officers including myself involved in an incident from 2009 that there would be no discipline. I
specifically inquired as to whether or not something
would end up in my file as I was a candidate in process of being hired for the Massachusetts
State Police and Chief Provencher insured me that nothing was going in my file. On or about
August of 2011, I requested my personnel file and it was clear from reprimand. On or about
September of 2011, I met with Robert Lima, Massachusetts State Police, and informed him that I
had no written reprimand during my interview process. Mr. Lima eliminated me from the State
Police hiring process for being untruthful after he discovered a recommendation for reprimand
placed in my internal affairs file by Mr. Provencher. I had no knowledge of this
recommendation for reprimand being in my internal affairs file and I do not have access to my
internal affairs file . . . .”

Ex. 32.




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Disputed only on the basis that Riley’s filing of an MCAD charge against NBPD and David
Provencher, and his allegations therein, are not material facts. They have no probative value as
to whether defendant denied Riley admission to the 80th RTT for discriminatory reasons.

   228. Riley filed the charge against NBPD and Provencher because he believed that they
        intentionally misrepresented him to MSP by acting, without Riley’s knowledge, to
        place the June 18, 2010 Memorandum into his internal affairs file. Ex. 34 at
        MCAD00047; Ex. 47 (Riley Dep.) at 392-93.

Disputed only on the basis that Riley’s filing of an MCAD charge against NBPD and David
Provencher and the basis for his beliefs regarding it are not material facts. They have no
probative value as to whether defendant denied Riley admission to the 80th RTT for
discriminatory reasons.

   229. On January 16, 2015, the MCAD dismissed Riley’s charge against NBPD for lack of
        probable cause. Ex. 38.

Disputed only on the basis that Riley’s filing of an MCAD charge against NBPD and David
Provencher or its dismissal are not material facts. They have no probative value as to whether
defendant denied Riley admission to the 80th RTT for discriminatory reasons.

Riley’s MCAD Charge Against MSP

   230. On April 26, 2012, Riley filed an MCAD charge against MSP and Lima individually
        alleging discrimination on the basis of race. Ex. 31; Ex. 37.

Disputed only on the basis that Riley’s filing of an MCAD charge is not a material fact. It has
no probative value as to whether defendant denied Riley’s application was for discriminatory
reasons.

   231. On December 18, 2014, the MCAD dismissed Riley’s charge against MSP and Lima
        for lack of probable cause. The MCAD ruled:

“[MSP] had a legitimate, nondiscriminatory reason for not hiring Complainant, as
Complainant was untruthful during the application and background investigation process
. . . . While he may not have understood the entirety of records that [MSP] had access to,
including the recommendation for a written reprimand, Complainant had a responsibility
to be truthful when asked whether he had been subjected to an internal investigation . . . .
Moreover, Complainant does not provide sufficient evidence of discriminatory pretext.
The five other candidates Mr. Lima interviewed were white. However, only one
candidate was accepted by [MSP]. Four, including Complainant, were disqualified, and
one withdrew. Complainant’s two comparators . . . are not appropriate comparators, as
they were not interviewed by Mr. Lima, which Complainant admitted. Moreover, [MSP]
reviewed its original decision to eliminate Complainant from the application process,
even though it did not have a formal appeals process.”



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Ex. 37.

Disputed only to the extent that it is not material to a jury determination in the instant case.

      232. Riley thereafter appealed the MCAD’s findings. Following a hearing, and on June 9,
           2015, an MCAD Investigating Commissioner affirmed the lack of probable cause
           finding. Ex. 39.

Disputed. only on the basis that Riley’s filing of an MCAD charge is not a material fact. It has
no probative value as to whether defendant denied Riley’s application was for discriminatory
reasons.



II.     PLAINTIFF’S STATEMENT OF MATERIAL FACTS IN DISPUTE, WITH
         DEFENDANT’S RESPONSES

                          Defendant’s Background Investigation Process

P1. Defendant’s selection process for determining successful candidates to recruit training

      academy consists of the following steps: a candidate takes an initial qualifying exam. Upon

      receiving a minimum score, candidates are extended an offer of acceptance, Ex. 16,

      conditional on their successful completion of physical and mental exams, a medical

      screening, a written application, a questionnaire and a background investigation process. Ex.

      14, at 15-16; Ex. 52 (Butler Dep.) at 56; Supp. Ex. 70 (Smith Dep.) at 47-48; Supp. Ex. 71

      (Flynn Dep.) at 33-34; Ex. 45, at ¶¶3-5, 7, 8.

RESPONSE: Denied. Ex. 45 at ¶¶ 2-10; Def. SMF ¶¶ 59-68.



P2. The background investigation process consists of two stages: the investigation itself,

      followed by an evaluation and approval decision made by a Review Board consisting of three

      commissioned officers. Ex. 14, at 15-16; Supp. Ex. 71 (Flynn Dep.) at 34-35. Completion of

      the background investigation is the final step; candidates who pass it are offered

      appointment. Supp. Ex. 71 (Flynn Dep.) at 34-35; Ex. 52, (Butler Dep.) at 21-23.


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RESPONSE: Admitted that the background investigation process consists of two stages.

Denied that the “[c]ompletion of the background investigation [was] the final step,” as this was

often not true. Supp. Ex. 71 (Flynn Dep.) at 33-34; Ex. 44 at n.2.



P3. At the beginning of the background investigation phase, the commanding officer of the

   Certification Unit responsible for conducting background investigations is to meet with all

   background investigators to review the investigation procedure and disqualification criteria.

   Ex. 14, at 15-16.

RESPONSE: Admitted that designees of Commanding Officer of the Certification Unit would

meet with background investigators for these purposes. Supp. Ex. 70 (Smith Dep.) at 45, 48-49



P4. If the candidate being investigated is a police officer, then the investigator is required to

   contact all references. Ex. 52 (Butler Dep.) at 44-45.

RESPONSE. Denied. Infra P19 (“There was no formal requirement to interview any particular

number of references.”); Supp. Ex. 70 (Smith Dep.) at 64; Supp. Ex. 71 (Flynn Dep.) at 48.



P5. If, during an investigation, an automatic disqualifier is discovered, then the investigator is to

   suspend the investigation, notify a supervisor and write up a summary of what was found.

   Ex. 14; Supp. Ex. 70 (Smith Dep.) at 55-56, 58. The summary is to be transmitted to the

   Review Board, which is to determine whether the investigation should be continued. Ex. 14;

   Supp. Ex. 70 (Smith Dep.) at 55-56, 58. If the investigation is completed, the background

   investigator is to complete an investigation report that recites the facts discovered during the

   investigation. Supp. Ex. 71 (Flynn Dep.) at 34-35. The conclusion of the report is to contain



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   the investigator’s summary of positive and negative factors discovered. This summary

   should be based on facts rather than opinions. Supp. Ex. 71 (Flynn Dep.) at 54.

RESPONSE: First and Second Sentences: Denied. Supp. Ex. 70 (Smith Dep.) at 56. Third and

Fourth Sentences: Admitted. Fifth Sentence: Denied as unsupported by the record citation

provided. See also Supp. Ex. 71 (Flynn Dep.) at 53-54; Supp. Ex. 70 (Smith Dep.) at 76-77.



P6. The investigation report is then to be provided to the Review Board, together with supporting

   documents (criminal record, motor vehicle violation record, copies of diplomas and grades,

   credit reports, military records, driving records, and copies of license and license to carry),

   plus the application and questionnaire). Ex. 52 (Butler Dep.) at 24-26; Ex. 14. The Review

   Board is then to conduct an evaluation of the facts reported by the investigator, and approve

   or disapprove the candidate for admission to training. Supp. Ex. 71 (Flynn Dep.) at 34-35,

   Ex. 14. In the event that an applicant is rejected, she or he is to be provided the reasons for

   rejection. Ex. 14. All applicants are subject to the same review board process. Ex. 14; Supp.

   Ex. 70 (Smith Dep.) at 28-30, 33-34, 47-48; Supp. Ex. (Flynn Dep.) at 33-35.

RESPONSE: First Sentence: Admitted. Second Sentence: Admitted that the Review Board

would conduct an evaluation of the facts reported by the investigator. Denied that the Review

Board would “approve or disapprove the candidate for admission to training.” The Review

Board would decide whether a candidate had passed or failed the background investigation,

which was only one requirement for admission to the Academy. Ex. 45 at ¶¶ 2-10; Ex. 50 at ¶ 2.

Third Sentence: Admitted that a rejected applicant is provided with a summary of the reasons

for rejection. Ex. 28; Ex. 50 at ¶ 10. Fourth Sentence: Admitted.




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P7. If the rejected candidate requests to be heard regarding the circumstances affecting the

   rejection, the Review Board is to afford the candidate a personal hearing. Ex. 14.

RESPONSE: Denied. While the guidelines do state this, no such hearings were ever actually

held, Ex. 52 (Butler Dep.) at 125, and the Superior Court affirmed (in prior litigation brought by

Riley) that MSP indeed has no obligation to provide a hearing to candidates who are disqualified

from the application process. Ex. 120.



P8. There is no evidence that defendant ever conducted a job analysis of the background

   investigation process. Supp. Ex. 71 (Flynn Dep.) at 17, 22-25; Supp. Ex. 70 (Smith Dep.) at

   22.

RESPONSE: Denied as unsupported by the record citations provided. In addition, Plaintiff’s

attempt to take discovery on this subject was disallowed as irrelevant by the Magistrate Judge.

See [Doc. 84]. Plaintiff’s attempt to draw inferences from a lack of evidence is thus unfounded

and misleading. There is no evidence on this subject because the Magistrate Judge found the

subject irrelevant and precluded Riley’s attempted discovery. See [Doc. 84]. Riley declined to

object to the Magistrate Judge’s order in this regard. See Templeman v. Chris Craft Corp., 770

F.2d 245, 247 (1st Cir. 1985) (“Absent objection by the plaintiffs, the district court had a right to

assume that plaintiffs agreed to the magistrate’s recommendation.”).



P9. The only explanation available to background investigators or the Review Board that sets

   forth the knowledge, skills and abilities required for a successful candidate (other than the

   automatic and discretionary disqualifiers) is a general statement in an MSP regulation that

   states that candidates should be of “good moral character, sound work ethic, decision making



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    consistent with the Oath of Office, and otherwise suitable” 4. Supp. Ex. 71 (Flynn Dep.) at

    30-32; Supp. Ex. 72; Ex. 14. Nothing in those documents explain what criteria should be

    used to determine whether candidates in fact have the good moral character, sound work

    ethic, and good decision-making skills to be a successful recruit. Supp. Ex. 71 (Flynn Dep.)

    at 51-52. Two of the three members of the Review Board that considered Riley’s application

    had limited or no familiarity with Exhibit 14. Supp. Ex. 107 (Christiansen Dep.) at 27-29;

    McGinn 26-31.

RESPONSE: Denied. None of the statements are supported by the record citations provided.

In addition, the requirements for State Troopers, concerning good moral character and otherwise,

are extensively set forth not only in the Automatic and Discretionary Disqualifiers and Article

10, but also elsewhere in other Articles of MSP’s Rules and Regulations and in the General

Laws. Ex. 118; G. L. c. 22C, §§ 10, 14, 15.



P10.    Defendant did not establish any criteria for the Review Board to determine the weight or

    importance of any particular factor employed to evaluate candidates – the Review Board was

    just instructed to determine whether candidates suffered from any of the enumerated

    disqualifiers. Ex. 52 (Butler Dep.) at 37-38; Supp. Ex. 107 (Christiansen Dep.) at 36; Supp.

    Ex. 70 (Smith Dep.) at 66-67. Nor was the Review Board given standards as to how to

    weigh or evaluate particular information discovered during the investigation in light of the

    required knowledge, skills and abilities. Rather, Review Board members relied on “common

    sense.” Ex. 52 (Butler Dep.) at 42-43; Supp. Ex. 107 (Christiansen Dep.) at 37-38.




4
  This statement is contained in a 2013 version of “Article 10” of MSP regulations. Defendant’s witnesses claim
that a cognate regulation existed in 2011. Butler 54-55.

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RESPONSE: Denied. None of the statements are supported by the record citations provided.

See also Ex. 14 (providing specific guidance on how the Review Board was to weigh or evaluate

particular information discovered).



P11.   The same factor (current alcohol or substance abuse) was identified on Exhibit 14, as

   both an “automatic disqualifier” requiring immediate suspension of the investigation and

   review by the Review Board (see ¶P5) and a “discretionary” disqualifier which did not, with

   no explanation as to how to determine whether the same factor should be treated as one or

   the other. This was not viewed by defendant as problematic. Supp. Ex. 70 (Smith Dep.) at

   61-63. “Trust” was the only means employed by defendant to ensure that the Review Board

   evaluated applicants consistent with defendant’s knowledge, skill and ability criteria. Supp.

   Ex. 71 (Flynn Dep.) at 55-56.

RESPONSE: First and Second Sentences: Denied. “Currently abusing” drugs or alcohol was

an automatic disqualifier; other issues regarding drugs or alcohol could be a discretionary

disqualifier. Ex. 14. Third Sentence: Denied as unsupported by the record citation provided.

Moreover, Plaintiff’s attempt to take discovery on this subject was disallowed by the Magistrate

Judge. See [Doc. 84]; Response to P8.



P12.   Neither of the individuals with primary responsibility for administering the background

   investigation process applied to Riley, specifically the Chief Administrative Officer of

   defendant’s Division of Administrative Services, which is charged with administering the

   background investigation process, and the Commanding Officer of defendant’s Certification

   Unit, which directly supervised the investigations, had any formal training in principles of



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   employee selection or selection testing. Supp. Ex. 71 (Flynn Dep.) at 13-15, 22; Supp. Ex.

   70 (Smith Dep.) 10-11, 20-22. Neither had any experience designing personnel selection

   programs, including background investigation programs. Supp. Ex. 71 (Flynn Dep.) at 13-

   15; Supp. Ex. 70 (Smith Dep.) at 22-24. Neither had trained any others in how to design

   and/or conduct background investigations. Supp. Ex. 71 (Flynn Dep.) at 18; Supp. Ex. 70

   (Smith Dep.) at 26.

RESPONSE: Denied that these individuals had “primary responsibility for administering the

background investigation” for Riley; the individuals responsible for Riley were Trooper Lima

and the Review Board. Def. SMF ¶¶ 76, 108. The remainder of the statement is Admitted but

subject to the Magistrate Judge’s conclusion that all such topics are irrelevant. See [Doc. 84];

Response to P8.



P13.   None of the individuals who served on the Review Board that evaluated Riley’s

   application had ever served on a Review Board prior to their service for the 80th RTT to

   which Riley applied. Ex. 52 (Butler Dep.) at 17-19; Supp. Ex. 107 (Christiansen Dep.) at 22;

   Supp. Ex. 108 (McGinn Dep.) at 15. None were trained regarding their responsibilities as

   board members, Ex. 52 (Butler Dep.) at 21, 33; Supp. Ex. 107 (Christiansen Dep.) at 25;

   Supp. Ex. 108 (McGinn Dep.) at 21. Most had no memory of being told what their

   responsibilities were to be. Ex. 52 (Butler Dep.) at 20; Supp. Ex. 107 (Christiansen Dep.) at

   25. Nor had any of the Review Board members been trained in the conduct of background

   investigations. Ex. 52 (Butler Dep.) at 14; Supp. Ex. 107 (Christiansen Dep.) at 25; Supp.

   Ex. 108 (McGinn Dep.) at 16. Two of the three had never conducted a background

   investigation, Supp. Ex. 107 (Christiansen Dep.) at 31-32; Supp. Ex. 108 (McGinn Dep.) at



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   15, and the third had never conducted a background investigation for the MSP. The last

   background investigation he had completed had been 11 years previously. Ex. 52 (Butler

   Dep.) at 11, 13-14. One of the Review Board members, Christiansen, stated that he had no

   opinion as to what was or was not a good background investigation and no understanding of

   what methodology a background investigator should use. Supp. Ex. 107 (Christiansen Dep.)

   at 32, 62-63. Qualification for participation on the Review Board was possession of the

   requisite rank and availability. Ex. 52 (Butler Dep.) at 20, 27-29, 31; Supp. Ex. 107

   (Christiansen) at 23-24; Supp. Ex. 108 (McGinn Dep.) at 19-20; Ex. 14.

RESPONSE: First, Second, Third, Fourth and Fifth Sentences: Denied. Ex. 50 at ¶ 11

(Detective Captain Frank Hart, who Plaintiff did not depose, also sat on Review Board for

Riley); Ex. 52 (Butler Dep.) at 11-15, 21-22; Supp. Ex. 108 (McGinn Dep.) at 15-16. Sixth

Sentence: Admitted that Kevin Butler had not performed a background investigation in 11

years. Seventh and Eighth Sentences: Denied as unsupported by the record citations provided.

See also Supp. Ex. 107 (Christiansen Dep.) at 34-37, 39-40, 43-44, 58-59; Ex. 52 (Butler Dep.)

at 18-20; 27-29; Ex. 50 at ¶ 1.



P14.   Defendant acknowledges that the purpose of a background investigation for employment

   is different than that of criminal investigations, Supp. Ex. 70 (Smith Dep.) at 37-38, and that

   the two are not identical, Ex. 52 (Butler Dep.) at 45-48. However, trainers of background

   investigators were not required to have any experience in background investigation training.

   Supp. Ex. 70 (Smith Dep.) at 44.

RESPONSE: Denied. None of the statements are supported by the record citations provided.

See also Supp. Ex. 70 (Smith Dep.) at 30-31, 37-38; Ex. 52 (Butler Dep.) at 45-49.



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P15.   There were no written selection criteria for background investigators themselves, Supp.

   Ex. 70 (Smith Dep.) at 32, and there is no evidence that prior experience as a background

   investigator was required. Supp. Ex. 70 (Smith Dep.) at 38. The only selection criterion

   defendant seemed to use was that background investigators be employed as an investigator in

   a detective unit or District Attorney’s office, Supp. Ex. 70 (Smith Dep.) at 29-32, and were

   available. Ex. 52 (Butler Dep.) at 20; Supp. Ex. 107 (Christiansen Dep.) at 23-24. Many

   background investigators, including Lima, were assigned background investigations in

   addition to their regular duties, and were expected to complete the investigation

   responsibilities while performing those regular job duties. Ex. 53 at 3-4; Ex. 49 (Lima Dep.)

   at 69; Ex. 52 (Butler Dep.) at 36.

RESPONSE: First and Second Sentences: Denied as unsupported by the record citations

provided. Third Sentence: Admitted.



P16.   Contrary to MSP’s stated procedure, see ¶P3, the Commanding Officer of the

   Certification Unit did not meet with the background investigators for the 80th RTT in order to

   review the background investigation process and the disqualification factors. Supp. Ex. 70

   (Smith Dep.) at 48-49.

RESPONSE: Denied. The Commanding Officer’s designees conducted the meeting and

training. Supp. Ex. 70 (Smith Dep.) at 45, 48-51.



P17.   Background investigator training consisted solely of investigators being provided

   instructions regarding document completion, report format, Exhibit 14, a sample application



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   package and instructions and contact information regarding access to criminal and public

   records regarding the applicant. Supp. Ex. 70 (Smith Dep.) at 49-53. There was no written

   curriculum for the training, Supp. Ex. 70 (Smith Dep.) at 53, investigators were not told the

   reasons for the listed disqualifiers, nor given information regarding the attributes being

   investigated beyond the disqualifiers. Supp. Ex. 70 (Smith Dep.) at 60, 66. Although

   background investigator training was intended to last an 8-hour day, Supp. Ex. 70 (Smith

   Dep.) at 55, Lima, who actually underwent the training, testified that it lasted at most 2-3

   hours. Ex. 49 (Lima Dep.) at 49. There is no evidence that defendant tested for whether

   background investigator training was successful in accomplishing its purposes. Supp. Ex. 70

   (Smith Dep.) at 79.

RESPONSE: First and Second Sentences: Denied as unsupported by the record citations

provided. See also Supp. Ex. 70 (Smith Dep.) at 49-56, 60, 64, 67. Third Sentence: Admitted.

Fourth Sentence: Denied as unsupported by the record citation provided and, moreover,

Plaintiff’s attempt to take discovery on this subject was disallowed as irrelevant by the

Magistrate Judge. See [Doc. 84]; Response to P8.



P18.   No background investigators were trained in how to avoid subjectivity or racial bias.

   Supp. Ex. 70 (Smith Dep.) at 78-79.

RESPONSE: Denied. Ex. 70 (Smith Dep.) at 78-79 (testifying that all State Troopers are

trained on avoiding racial bias).



P19.   There is no evidence that MSP required background investigators to ask standard

   questions of personal or employment references, nor follow any particular protocol in



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   pursuing, questioning or reporting references. Supp. Ex. 71 (Flynn Dep.) 47-50; Supp. Ex.

   70 (Smith Dep.) at 65. There was no formal requirement to interview any particular number

   of references. Supp. Ex. 70 (Smith Dep.) at 64. There was no protocol for conducting

   neighborhood visits. Supp. Ex. 71 (Flynn Dep.) at 49. No standard list of questions was

   provided regarding any other topic addressed during the investigation. Supp. Ex. 70 (Smith

   Dep.) at 65. Background investigators were not required to keep a log of documents received

   during the investigation, to retain notes they made, to retain any backup data for any

   statements made in the background investigation report, or to make or retain a record of

   attempts to reach references. Supp. Ex. 70 (Smith Dep.) at 68-69. Defendant appears to

   have made no attempt to monitor the quality or proficiency of its background investigators,

   not even by monitoring whether certain investigators disproportionately reject their subjects.

   Supp. Ex. 70 (Smith Dep.) at 72-73.

RESPONSE: First Sentence: Denied as unsupported by the record citation provided. Second

Sentence: Admitted. Third and Fourth Sentences: Denied as unsupported by the record

citation provided. Fifth Sentence: Admitted. Sixth Sentence: Denied as unsupported by the

record citation provided and, moreover, Plaintiff’s attempt to take discovery on this subject was

disallowed as irrelevant by the Magistrate Judge. See [Doc. 84]; Response to P8.



P20.   The sole monitoring function of the Certification Unit that supervises background

   investigations is to ensure that the application package contains all of the information that is

   required when it is provided to the Review Board. Supp. Ex. 70 (Smith Dep.) at 70-71.

RESPONSE: Denied. Supp. Ex. 70 (Smith Dep.) at 51, 57, 60.




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P21.   All of the characteristics recited in ¶¶P8-P20, supra, are characteristics known to permit

   the operation of bias and “invite the expression of conscious and unconscious prejudices.”

   Supp. Ex. 75, at 8-12, 13-15.

RESPONSE: Denied. Plaintiff’s expert’s opinions are not “facts” and, moreover, should be

struck. See [Doc. 123]; [Doc. 124]. In addition, Plaintiff’s attempt to take discovery on this

subject was disallowed as irrelevant by the Magistrate Judge. See [Doc. 84]; Response to P8.



P22.   Statistics regarding the background investigations performed by the MSP for the 80th

   RTT show a statistically significant disparity between African-Americans and whites who

   failed their background investigations and were thus denied admission. Supp. Ex. 74, at 2-3.

   In the 80th RTT, eight African-American applicants passed their background investigations,

   or 57.1% of African-Americans for whom background investigations were completed. Id.;

   Supp. Ex. 75, at 36. In contrast, 286 whites passed their background investigations, or 84.9%

   of whites for whom background investigations were completed. Id. This difference is

   statistically significant and highly suggestive of discrimination. Supp. Ex. 75, at 12-14, 36.

RESPONSE: Denied. Plaintiff’s expert’s opinions are not “facts” and, moreover, should be

struck. See [Doc. 123]; [Doc. 124]. In addition, Plaintiff’s attempt to take discovery about the

experience of non-Lima applicants was disallowed by the Magistrate Judge, see [Doc. 54], with

that Order later affirmed by this Court, see [Doc. 112].



                            Orlando Riley’s Background Investigation




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P23.   When he completed his application for admission to the 80th RTT in spring 2011, Riley

   was an experienced New Bedford police officer of ten years’ standing, including the time he

   spent at the police academy. Ex. 47 (Riley Dep.) at 54.

RESPONSE: Admitted that Riley entered the NBPD academy in December 2001. The

remainder of the characterizations are Denied as unsupported by the record citation provided.



P24.   Per the MSP’s stated procedure, Riley sat for the MSP entrance exam Ex. 47 (Riley Dep.)

   at 111, and passed with a perfect score of 100. Exh. 31, at ¶2; Ex. 1, at ¶10; Ex. 15.

RESPONSE: Denied. The written entrance exam is administered by the Commonwealth’s

Human Resources Division (not MSP), and allows for scores up to 102. Ex. 45 at ¶¶ 3, 4, 6.



P25.   On April 4, 2011, Riley received a conditional offer of acceptance, Ex. 16. In the days

   following, up to and including May 3, 2011, Riley completed a written application using

   defendant’s electronic form. Ex. 47 (Riley Dep.) at 111-113. The application consisted of

   29 questions with multiple subparts to each question. Ex. 17. Riley submitted his completed

   application on May 3, 2011. Ex. 47 (Riley Dep.) at 113. Riley was not competing for

   appointment against other candidates. Multiple slots were available. Ex. 45, at ¶¶2-10.

RESPONSE: First, Second, and Third Sentences: Admitted except as to the date. See Ex. 17

(Riley’s original Application, dated May 2, 2011). Fourth Sentence: Denied as unsupported by

the record citation provided. See also Ex. 45 at ¶ 9.



P26.   Riley’s application revealed that after a two year period following his graduation from

   high school in 1996 when he pursued a secondary degree, Riley had been continuously



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   employed. Ex. 17, at MSP 78-79, 80. He had never been terminated from a job nor

   disciplined. Ex. 17, at MSP 84, 87. He had no criminal record, had never used illegal drugs,

   and never gambled. Ex. 17, at MSP 84-85. While employed as a New Bedford Police

   Officer, he had never been disciplined. Ex. 17, at MSP 87. He received a single bad review,

   but it was during the first four months of his employment in 2002 and the deputy chief of the

   department determined that it was without basis and improperly given. Ex. 17, at MSP 87.

   Riley had never been bankrupt, was not delinquent on any loans or taxes and had never had

   any negative interactions with any state agencies. Ex. 17, at MSP 88-90. His driver’s license

   had never been suspended, and with the exception of a minor accident at work, his driving

   record was spotless. He had received no traffic citations in the previous seven years and his

   firearms license had never been revoked. Ex. 17, at MSP 90-91.

RESPONSE: Admitted to the extent that the statement describes the information provided on

the face of Riley’s Application, but otherwise Denied as unsupported by the record citations

provided. Riley was disciplined while employed by NBPD (including a verbal warning subject

to progressive discipline in connection with the Soares investigation), had a known history of

poor credit, had received more than a “single” bad review at NBPD, had failed his RISP

background investigation, and had gambled at least once. Ex. 6 at RISP00005-08; Ex. 33 at

P00937; Ex. 29 at P0065; Ex. 86.



P27.   In Riley’s application, he listed nine individuals in response to its request for references.

   Ex. 17, at MSP 92-94. Of those nine individuals, four were colleagues or former colleagues

   at the New Bedford Police Department. One of those four was one of his current supervisors

   (Sgt. Samuel Ortega); two were former supervisors (Lt. Paul Demers and Sgt. Joseph



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   Garcia); and one was a co-worker (Ofc. Nathan Monteiro). Id.; Ex. 47 (Riley Dep.) at 403.

   He also identified his other current supervisor elsewhere in the application (Lt. Dennis

   Hebert). Ex. 17, at MSP 79.

RESPONSE: Admitted.



P28.   Following submission of his application, Riley completed and passed the required

   physical fitness, medical and mental health screenings. Ex. 47 (Riley Dep.) at 312-315. On

   July 13, 2011, Riley requested that the high school from which he had graduated, New

   Bedford High School, send Lima a copy of his high school transcript, which it did on July 14,

   2011. Supp. Ex. 76, Supp. Ex. 77; Supp. Ex. 100 (Rebelo Dep.) at 12-13, 17-20, 23, 30-32.

   The transcript contained a statement of Riley’s class rank upon graduation. Supp. Ex. 78.

RESPONSE: Admitted.



P29.   Prior to his interview with investigator Lima, Riley completed a 102-question

   questionnaire and submitted it to Lima. Ex. 24; Ex. 47 (Riley Dep.) at 321-23.

RESPONSE: Admitted.



P30.   On September 1, 2011, Riley attended an interview conducted by investigator Lima. Ex.

   47 (Riley Dep.) at 352. He brought with him a letter from the Headmaster of New Bedford

   High School confirming his graduation from that school in June 1996. Supp. Ex. 79. The

   document did not contain his class rank. Supp. Ex. 79. He brought this in lieu of his

   diploma, which Riley no longer had. Supp. Ex. 80, at 4.

RESPONSE: Admitted.



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P31.   Riley also brought to the interview a copy of a letter from his real estate lawyer verifying

   his response to Question 21B on the application, which inquired as to whether Riley was 180

   days delinquent on any financial obligation. Ex. 17, at MSP 88; Supp. Ex. 81; Ex. 47 (Riley

   Dep.) at134-39. Riley had explained in his application, and the letter confirmed, that he had

   resolved a dispute regarding a home loan in which he had been the victim of fraud and that

   his mortgage debt was no longer owed. Ex. 17, at MSP 88; Supp. Ex. 81; Ex. 47 (Riley

   Dep.) at 134-39.

RESPONSE: Admitted that Riley testified that he brought a copy of the letter to the interview.

Denied that the letter “verifi[ed] [Riley’s] response to Question 21B” or that the “letter

confirmed” Riley’s explanation. See Ex. 27 at 9-10 (Lima noting that the documentation

provided by Riley did not show that he had been “alleviated . . . from this financial burden”); Ex.

90 (Riley was not released from financial obligation until September 14, 2011).



P32.   Riley’s interview with Lima lasted approximately three hours. Ex. 47 (Riley Dep.) at

   353. During the course of the interview, Lima was unaccountably and needlessly suspicious,

   hostile and condescending. Ex. 47 (Riley Dep.) at 355, 424-28. He repeatedly bragged about

   how “squared away” his own application to the MSP had been, and spent excessive amounts

   of time repeating the same questions to Riley on the same subjects. Ex. 47 (Riley Dep.) at

   353-355, 424-28. He repeatedly challenged Riley’s response in the negative to Question 19,

   which inquired about whether Riley ever gambled, asking him the same question repeatedly

   for approximately 10 minutes. Ex. 47 (Riley Dep.) at 354-55, 424-28; Ex. 33. Lima

   repeatedly denigrated the racially diverse, Supp. Ex. 110 (Riley Aff.), at ¶5, neighborhood in



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   which Riley lived, including by stating that Riley did not live in an appropriate neighborhood

   for a state trooper. Supp. Ex. 82, Response to 6; Ex. 47 (Riley Dep.) at 408-409; Supp. Ex.

   80 at 5; Supp. Ex. 105, at 8. He insinuated that Riley could have forged the graduation

   verification he had brought from New Bedford High School. Supp. Ex. 80, at 4. He claimed

   that a union was a “professional trade organization” and demanded Riley change his answer

   to a question as to whether he was a member of such an organization from “no” to “yes,”

   which Riley did against his will. Ex. 47 (Riley Dep.) at 145; Ex. 17, at MSP 92 (Qn. 27).

   Lima also repeatedly insisted in an aggressive and hostile manner that Riley had been

   reprimanded as a result of an internal NBPD Internal Affairs investigation in which he was a

   subject over Riley’s repeated denials, and that Riley had failed to disclose this fact. He

   pointed to a document he claimed to have obtained from Riley’s New Bedford Police

   Department file that he claimed showed Riley to have been reprimanded. Ex. 47 (Riley

   Dep.) at 213-222, 427-28; Ex. 33.

RESPONSE: First Sentence: Admitted. Second and Third Sentences: Admitted that Riley

testified that Lima told him “how squared away” and “prepared” he had been for his own

application; that he perceived Lima as “talking down” to him about his mistakes and telling him

that “as a police officer” he should not have made so many mistakes; and that Lima “discuss[ed]

certain things over and over again” that Riley thought were “not really consequential.” Ex. 47

(Riley Dep.) at 353-355, 424-28 (emphasis added). The remainder of the characterizations are

Denied as not supported by the record citations provided. Fourth Sentence: Admitted that Lima

asked a number of questions about gambling, before Riley eventually admitted that he had

gambled at least once before. Ex. 33 at P00936-37. The remainder of the characterizations are

Denied as unsupported by the record citations provided. Fifth Sentence: Denied. See SMF ¶¶



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175-77. Riley’s statement in his affidavit that his former neighborhood was “racially diverse,”

Supp. Ex. 110, is irrelevant and inadmissible as improper and inadequately supported opinion; as

lacking any adequately-stated basis in personal knowledge; as conclusory; and as lacking any

tendency to suggest that this is what Lima was referring to. Lima’s references to the

appropriateness of Riley’s neighborhood related only to the fact that Riley lacked a garage or

driveway, which was required in order to bring an MSP cruiser home. Ex. 105 at P00713-14.

Sixth Sentence: Admitted that, according to Riley, Lima stated, “This paper you brought me . . .

should have been sent to me. How do I know you didn’t somehow have this letter doctored to

make it look like you graduted from high school. You’re going to have to send this to me.”

Supp. Ex. 80 at P00157. See Ex. 113, 114, 115. Seventh Sentence: Admitted that Riley

changed his answer to this question, but the remainder of the characterizations are Denied as

unsupported by the record citation provided. Eighth and Ninth Sentences: Admitted that Lima

showed Riley the June 18, 2010 Memorandum and questioned Riley at length about the

document. The remainder of the characterizations are Denied as unsupported by the record

citations provided.



P33.       Lima completed two investigation reports regarding Riley. His first was dated September

      5, 2011/September 7, 2011 (“First Report”). Ex. 27. 5 His second was dated September 28,

      2011 (“Second Report”). Ex. 30.

RESPONSE: Admitted that Riley’s Background Investigation Report was dated September

5/7, 2011, and his supplemental memo was dated September 28, 2011. Ex. 27; Ex. 30. The

characterization contained in the footnote is Denied. Ex. 27 at MSP0063, 71 (report was



5
    The background investigation report bears both dates. Lima was unable to explain why. Lima I:126.

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“updated” on September 7, 2011 to account for phone call of that day in which “Nancy Ward . . .

informed [Lima] that Orlando did attend [Bishop Stang] for a year but did not return the

following year based on academic performance.”).



P34.   At the conclusion of Lima’s First Report, he listed three “positive employment aspects”

   (one of which was qualified with a negative that Riley “appeared timid”) and six “negative

   employment aspects,” including but not limited to a claim that Riley had not been forthright

   on “disclosing disciplinary action (work and academic)” and was “untruthful about

   disciplinary action.” Ex. 27, at MSP 1900.

RESPONSE: Denied that Lima intended timidity to be a “negative,” which is unsupported by

the record citation provided. The remainder is Admitted.



P35.   Despite untruthfulness being an automatic disqualifier, Lima had not followed the MSP’s

   stated procedure of suspending the investigation upon the discovery of same and awaiting

   further instruction from the Review Board.

RESPONSE: Denied. Riley provides no record citation for this statement. See also Ex. 49

(Lima Dep.) at 211 (explaining that he did not reach the conclusion that Riley was untruthful

until “at the end” when he “completed the report and . . . sent it forward”).



                              “Untruthful About Disciplinary Action”

P36.   The basis for Lima’s conclusion in his First Report that Riley was “untruthful about

   disciplinary action” was Riley’s purported failure to disclose that he had been reprimanded.

   Ex. 49 (Lima Dep.) at 153. Lima states in the First Report that upon examining Riley’s



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   NBPD employee file, he “found” that Riley “had received a written reprimand.” Ex. 27, at 7.

   Lima also stated in his report that a “letter of reprimand” had been placed “into the file.” Ex.

   27, at 7. This was false, and Lima knew it to be false. He admitted at deposition that when he

   looked in Riley’s file, he did not find an actual reprimand in it. Ex. 49 (Lima Dep.) at 174-

   175. The sole source of information upon which Lima’s statement was based was a June 18,

   2011 intra-office memorandum that recommended that Riley be reprimanded. Ex. 49 (Lima

   Dep.) at 148-150; Ex. 13. He admitted that a recommendation for a reprimand is not the

   same as a reprimand, that Ex. 13 did not say that Riley had been reprimanded, and that at the

   time he wrote as a fact that Riley had been reprimanded, he did not actually know this to be

   the case. Ex. 49 (Lima Dep.) at 169-172.

RESPONSE: First Sentence: Denied. The basis for Lima’s conclusion that Riley was

“untruthful about disciplinary action” was not only the June 18, 2010 Memorandum, which Lima

took as evidence that Riley had been reprimanded, but also the fact that Riley had failed to

disclose that he was the subject of the Soares investigation more generally. Ex. 49 (Lima Dep.)

at 145-53, 170, 191, 246-49; Ex. 48 at 32-33, 35-37; Ex. 27 at 10. Second and Third Sentences:

Admitted. Fourth, Fifth, Sixth, and Seventh Sentences: Denied. The testimony cited related

to Lima’s later-coming supplemental investigation, during which Lima learned that the

recommended reprimand had never been acted upon. Ex. 49 (Lima Dep.) at 173-177. At the

time of his interview and of his initial report, Lima fully believed that Riley had been

reprimanded. Ex. 49 (Lima Dep.) at 145-53, 170, 191, 246-49; Ex. 48 at 32-37; Ex. 27 at 10.

Furthermore, “information” indicating Riley’s untruthfulness also came directly from the

Application, Ex. 25, the Questionnaire, Ex. 24, and from Riley’s own defensive and defiant tone




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at the interview itself, Ex. 49 (Lima Dep.) at 190-91; Ex. 48 at 35-37; Ex. 50 at ¶ 7; Ex. 52

(Butler Dep.) at 92-94.



P37.     Lima and the MSP continued to state that Riley had been reprimanded years after it had

   been established beyond all doubt that Riley had never been reprimanded. Supp. Ex. 83, at 5-

   6; Ex. 49 (Lima Dep.) at 176-177.

RESPONSE: Denied. Lima acknowledged learning that the recommendation had never been

acted on in his memorandum of September 28, 2011, Ex. 30 at MSP00075, and this fact was

known to the Review Board at the time of its reconsideration decision, Ex. 50 at ¶¶ 11-12; Ex. 52

(Butler Dep.) at Tr. 76-81, 130-32. The document relied upon by Riley is an inadmissible and

irrelevant lawyer-drafted pleading. See also Ex. 49 (Lima Dep.) at 177-83; [Doc. 114].



P38.     Lima asked Riley during his interview if Riley had ever been disciplined, to which Riley

   responded that he had not. Lima repeated the question and Riley repeated his answer. Lima

   then asked if there was anything else regarding internal affairs Riley wanted to discuss, to

   which Riley replied that there had been an incident in November 2009 which he had been

   called to discuss with internal affairs, and that when the investigation began, he had not

   believed he was one of the subjects, but was rather a witness. After speaking with internal

   affairs, he did not hear of the investigation again and assumed it was concluded. He told

   Lima that long afterwards, on May 24, 2011, he had been called into his Chief’s office and

   told that the Chief was sustaining the complaint against everyone involved, but there was no

   discipline rendered, and that nothing would be placed in his file. Ex. 33; Ex. 13; Ex. 46 at

   35.



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RESPONSE: Denied as unsupported by the record citations provided. This paragraph consists

entirely of unfounded characterizations of Riley’s own words set forth in Ex. 33 which—as

unhelpful as Riley may now find them—speak for themselves. See Ex. 33; Def. SMF ¶¶ 151-60.



P39.   In response to Lima’s claims at the interview that Riley had been reprimanded, Riley

   explained that he had not been reprimanded, and repeated that in fact he had only learned that

   he was a subject of a disciplinary investigation (the “IA Investigation”) on May 24, 2011, Ex.

   47 (Riley Dep.) at 207-208, or after he submitted his application. Ex. 47 (Riley Dep.) at 221,

   341, Supp. Ex. 84. Lima held a document up to Riley’s face, insisting it was a reprimand.

   Supp. Ex. 110, ¶8; Ex. 33. Riley explained that there should be no reprimand in his file,

   because he had not been disciplined. Ex. 49 (Lima Dep.) at 189 (“[Riley] told me that this

   letter should not be in his file because he had not been disciplined or something to that

   effect”); Supp. Ex. 84. Lima concluded, however, notwithstanding the plain meaning of the

   words Riley conveyed to him, that Riley uttering the phrase “this should not be in my file”

   was stated not because of the explanation Riley gave him, but because Riley had hoped Lima

   would not find out about it. Ex. 49 (Lima Dep.) at 191. Lima was unable to state any basis

   for that conclusion other than the fact that Riley uttered the phrase. Ex. 49 (Lima Dep.) at

   191. Riley did not view the document Lima used at his interview until document production

   during a case at the Massachusetts Commission Against Discrimination in 2012. Ex. 47

   (Riley Dep.) at 205-210.

RESPONSE: First Sentence: Denied as unsupported by the record citations provided. See also

Response to P38; Ex. 33 at P00937. Second Sentence: Admitted that Riley characterized Lima

as having held the June 18, 2010 Memorandum “up to [his] face.” Ex. 33 at P00937. Third



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Sentence: Denied. Riley responded, “that’s not supposed to be in my file.” Ex. 47 (Riley Dep.)

at 22. Fourth and Fifth Sentences: Admitted that Lima testified that he believed that Riley was

hoping that the Soares investigation would go undiscovered, and that he formed that belief based

in part upon Riley’s defensive response. Ex. 49 (Lima Dep.) at 191. The remainder of the

characterizations are Denied as unsupported by the record citations provided and contrary to

Lima’s testimony. Ex. 48 at 37-38; Ex. 49 (Lima Dep.) at 190-91, 248-49. Sixth Sentence:

Denied. Riley read the June 18, 2010 Memorandum during his interview with Lima, after Lima

showed it to him. Ex. 33 at P00937.



P40.    On September 2, 2011, Riley’s union representative, an 18-year veteran of the NBPD and

    a sergeant, Sgt. Ledo, called Lima and told him that Riley had not been reprimanded and had

    not even been told that he was a subject of a disciplinary investigation. Ex. 84. Lima failed

    to disclose this conversation in his report. Ex. 27.

RESPONSE: Denied. This characterization of Ledo’s call is not accurate. Def. SMF ¶¶ 171-

72; Ex. 84. Furthermore, Ledo’s call is expressly referenced in Lima’s report. Ex. 27 at 10 (“I

spoke with a supervisor who stated that the letter was never supposed to have been placed into

Orlando's file . . . .”).



P41.    Riley later provided additional substantiation for his statement that the letter was not

    supposed to be in his file because he had not been disciplined. On September 20, 2011,

    Riley’s union attorney sent Lima an email with attached correspondence confirming that

    Riley had not been disciplined. Ex. 86. On the same day, Riley sent Lima an email from that

    same attorney explaining that it was reasonable for Riley not to have been aware that he was



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   a subject of a disciplinary investigation and attaching correspondence to support that

   statement. Ex. 85.

RESPONSE: Admitted that the Riley sent to Lima, or had sent to Lima, the documents

appearing at Exhibit 85 and 86. Lima, however, received the same attorney correspondence

earlier than September 20, 2011, as this too was referenced in his initial report. Ex. 27 at 10

(“[T]he Union’s attorney would send me correspondence relating the same information. I

received and reviewed the letter sent to me, which is enclosed in this packet, regarding Orlando's

reprimand. Despite this follow up, the letter was the same as I had read in Orlando's employee

file and, in brief, basically acknowledged the reprimand, denounced it but at no time was there

any language stipulating that there had been an agreement to not have the written reprimand

officially removed or never officially placed into Orlando's file.”). The remainder of the

characterizations in the statement are Denied as unsupported by the record citations provided.

The documents confirm that Riley had been subject to a sustained finding of misconduct, which

NBPD considered subject to its progressive discipline policy. Ex. 85; Ex. 86.



P42.   Despite having the opportunity to do so in his Second Report, Lima did not mention the

   supplemental evidence that Riley had supplied to him supporting his contention that he had

   not been disciplined. Ex. 30. Instead, Lima claimed that he had learned for the first time that

   Riley had not been reprimanded from a conversation with Riley’s Chief Provencher on

   September 21, 2011, Ex. 30, the day after multiple similar communications from Riley and

   his union representative. Ex. 30, at MSP 75. The Second Report did not provide any

   indication that Chief Provencher had told Lima that Riley had been aware that he had been a

   target of the IA Investigation. Ex. 30.



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RESPONSE: First and Second Sentences: Admitted that Lima did not mention Exhibits 85 or

86 in his supplemental memorandum, but did describe his conversation with Chief Provencher.

Lima had already described the same so-called “supplemental evidence” in his first report. Ex.

27 at 10; Response to P41. The remainder of the characterizations are Denied as unsupported

by the record citations provided. Third Sentence: Denied. Ex. 30 at MSP00075 (“I gleaned

from [Provencher] that Mr. Riley was in fact a target of the 2009 internal investigation . . . “).



P43.   In his Second Report, Lima acknowledged that Riley had not been reprimanded, and

   shifted the emphasis of his report to a claim that Riley was untruthful about disclosing that he

   had been a subject of a disciplinary investigation. Ex. 30, at MSP 75. However, Riley had

   disclosed at his interview that he had learned, three weeks after he completed his application

   that he had been a subject of such an investigation. Ex. 47 (Riley Dep.) at 203, 208, 341-42;

   Ex. 13. Moreover, all of the information Riley and his union representatives submitted to

   Lima after September 1, 2011 corroborated Riley’s explanation, including Sgt. Ledo’s

   telephone conversation with Lima on September 2, 2011, Atty. Conti’s email to Lima on

   September 20, 2011 and Riley’s email to Lima on that day. See Supp. Exs. 84-86.

RESPONSE: First Sentence: Admitted that Lima acknowledged in his supplemental

memorandum that he had learned that the recommendation for reprimand had never been carried

out. The remainder of the characterizations are Denied as unsupported by the record citation

provided. See Response to P36. Second Sentence: Admitted that Riley, only after being

prompted by Lima, revealed at the interview that he had learned that he was a subject of the

Soares investigation. Ex. 33 at P0937; Def. SMF ¶¶ 151-55. Third Sentence: Denied. Def.

SMF ¶¶ 171-72; Supp. Ex. 85 (“[I]t doesn’t say you weren’t aware of the investigation.”); Supp.



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Ex. 86 (Riley could be subject to progressive discipline in future based on Soares investigation);

Ex. 27 at 10 (discussing why Lima discounted “, all of the information Riley and his union

representatives submitted”).



P44.   Lima did not report having received any of the corroborating information he received

   from Riley in his Second Report. Ex. 27.

RESPONSE: Admitted that Lima did not describe having received Exhibits 84, 85, or 86 in his

supplemental report; he already had in his first report. Ex. 27 at 10. The characterization of the

materials as “corroborating” is Denied. Def. SMF ¶¶ 171-72; Supp. Ex. 85 (“[I]t doesn’t say

you weren’t aware of the investigation.”); Supp. Ex. 86 (Riley could be subject to progressive

discipline in future based on Soares investigation);



P45.   None of NBPD’s prior communications to Riley regarding the IA Investigation state that

   Riley was its subject. Exs. 8, 9; Supp. Ex. 87; Ex. 47 (Riley Dep.) at 189. They are fully

   consistent with Riley’s statement in his application that, while he had never been a subject of

   an internal investigation, he was interviewed by his internal affairs unit as a witness. Ex. 17,

   at MSP 87.

RESPONSE: First Sentence: Admitted that these communications did not use the word

“subject.” Nevertheless, the meaning and import of the communications in that regard was clear.

Def. SMF ¶¶ 34-38. Second Sentence: Denied. Def. SMF ¶¶ 34-48. Chief Provencher, who

has since passed away, testified before the MCAD that Riley should have known from the start

that he was a subject of the Soares investigation. Def. SMF ¶¶ 38, 54.




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P46.   In 2006, Riley was present at an incident at 48 Nelson Street in New Bedford which

   triggered an internal investigation (the “Stallings Investigation”). Defendant contends that

   Riley’s purported failure to disclose his involvement in that investigation is “after acquired

   evidence” of Riley’s untruthfulness, but it is only such if, like defendant, the evaluator is

   biased. An unbiased evaluator would realize that Riley’s nondisclosure was the result of a

   lack of knowledge, just like the IA Investigation. Riley states that he was never informed

   that he was a subject of the Stallings investigation, only a witness, the contemporaneous

   documents he received from NBPD are consistent with that – none inform Riley that he was

   a subject of an internal investigation. Ex. 47 (Riley Dep.) at 235-238; Supp. Exs. 101-104.

   Riley received a notification on May 10, 2010 that he was cleared of a 2006 complaint

   against him regarding a “disturbance in the area of County Street and Nelson Street” with

   unidentified complainants. He assumed this was a mistake because he had never been told

   there had been a complaint against him, he had never responded to a disturbance “in the area

   of County and Nelson Street,” (as opposed to 48 Nelson St.), the underlying events had

   occurred four years previously, and the department had just switched email accounts and had

   been experiencing bugs. Ex. 47 (Riley Dep.) at 246.

RESPONSE: First Sentence: Admitted. Second, Third, Fourth, Fifth, and Sixth Sentences:

Denied as unsupported by the record citations provided, and as legal argument. See also Def.

SMF ¶¶ 55-58.



P47.   Defendant contends that Riley was untruthful on his questionnaire, because in response to

   a question in a section entitled “Criminal History,” he answered “no” to the question: “Is

   your name in a case report file with any police department or law enforcement agency that



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   you were aware of?” The term “case report file” is not defined in the questionnaire, Ex. 24,

   at MSP 126. As a police officer, Riley understood the term to mean a file regarding a

   criminal, not a work investigation. Ex. 47 (Riley Dep.) at 328-330. Neither Lima nor the

   Review Board found Riley’s answers on the questionnaire to be of any significance. They

   are not referenced in Lima’s First Report, Ex. 27, and they are not identified as the basis for

   his disqualification. Ex. 57, ln 59; Ex. 28.

RESPONSE: First and Second Sentences: Admitted. Third Sentence: Denied as

unsupported by the record citations provided. See also Ex. 47 (Riley Dep.) at 326-30; Ex. 52

(Butler Dep.) at 134-36. Fourth and Fifth Sentences: Denied. Ex. 50 at ¶¶ 7(a), 10, 12(a); Ex.

52 (Butler Dep.) at 39-41, 73-74, 133-35; Ex. 51 at 6-11.



                                             References

P48.   Lima stated in his First Report that he “did not find anyone willing to go on record” about

   Riley’s work performance and that the most anyone was willing to say was that he was a

   “good guy” and “alright worker.” Ex. 27, at MSP 1895. Lima acknowledged that no one

   said anything negative about Riley. Ex. 49, at MSP 68-69. However, when asked at his

   deposition, Lima claimed not to recall who, or whether, he spoke with anyone who wished to

   remain anonymous, or what they said (beyond parroting what he wrote in his report). Ex. 49

   (Lima Dep.) at 101-02. While he stated in defendant’s answer to plaintiff’s interrogatory No.

   16 that he actually spoke to co-workers, Supp. Ex. 88, at 18, in his deposition he stated that if

   he spoke to Riley’s co-workers and they gave statements regarding Riley, Lima would have

   made a note of it. Ex. 49 (Lima Dep.) at 111-112. Lima’s notes do not contain any reference

   to conversations with Riley’s co-workers. Supp. Ex. 89.



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RESPONSE: First Sentence: Denied as unsupported by the record citation provided. See Ex.

27 at MSP0068-69 (Lima interviewed NBPD Lieutenant Paul Demers, and State Troopers

familiar with Riley, who described him as a “good officer”; others were unwilling to go on

record). Second Sentence: Admitted. Third and Fourth Sentence: Denied. Ex. 49 (Lima

Dep.) at 101-02; Ex. 27 at MSP0068-69. Fifth Sentence: Denied. Ex. 27 at MSP0068-69

(noting that there were individuals who did not want to speak “on record about Orlando’s work

performance,” but that any information they provided was “not instrumental in providing any

information towards work ethic, personality, or character”).



P49.   Contrary to MSP policy, ¶P4, Lima failed to speak with four out of the five current or

   former NBPD colleagues whose names Riley had provided. He failed to contact Riley’s

   then-current supervisor, Capt. Dennis Hebert. Supp. Ex. 112; Ex. 49 (Lima Dep.) at 99-100.

   He failed to contact Riley’s former supervisor Sgt. Joseph Garcia. Supp. Ex. 111; Ex. 49

   (Lima Dep.) at 92-93; Ex. 47 (Riley Dep.) at 429-31. He failed to contact then-current co-

   worker Ofc. Monteiro and one of his then-current supervisors, Sgt. Ortega. Ex. 1, at ¶26; Ex.

   49 (Lima Dep.) at 91-92, 111-12; Supp. Ex. 89. The only NBPD colleague Lima contacted

   was a Lt. Demers, someone he already knew and had worked with on cases together. Ex. 47

   (Riley Dep.) at 435-436; Ex. 27, at 7; Ex. 49 (Lima Dep.) at 94, 200. Lima also spoke with

   two MSP troopers who Riley had identified in his application as troopers with whom he was

   acquainted, but they were not listed as references and Lima did not know how well Riley and

   the troopers knew each other. Ex. 49 (Lima Dep.) at 95-97.

RESPONSE: Admitted that Joseph Garcia claims that he was not contacted by the State Police,

Ex. 111, that Dennis Hebert “cannot recollect being contacted by the Massachusetts State



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Police,” Ex. 112, and that Lima did contact Lt. Demers and the two State Troopers. The

remainder is denied as unsupported by the record citations provided. See also Response to P4.



P50.   In his First Report, Lima understated the positivity of Riley’s references. He stated that

   Riley’s former employer called him a good, caring employee. Ex. 27, at 7; Ex. 49 (Lima

   Dep.) at 201. He reported that Lt. Demers described Riley as a good person and officer who

   was considerate and a decent worker. Ex. 27, at 7; Ex. 49 (Lima Dep.) at 111-12. He also

   reported that the state troopers with whom he spoke characterized Riley as a good officer and

   person, Ex. 27, at 8; Ex. 49 (Lima Dep.) at 95-96. However, when he summarized the

   purported results of his conversations with Riley’s NBPD colleagues, including that of

   Demers, he claimed that they had said that Riley was a “good guy” who was an “alright

   worker,” Ex. 27, at 7, as if Demers had not said that Riley was in fact a good police officer.

   At deposition, he similarly mischaracterized the state troopers’ statements to him, again

   omitting that they said he was a good police officer. Ex. 49 (Lima Dep.) at 97-98. He also

   omitted any reference to the positive statements he had received from the single NBPD

   colleague he had contacted, or from the state troopers, or from Riley’s former employer, in

   his summary of “Positive Employment Aspects” at the conclusion of Lima’s report, as if they

   had not been made. Ex. 27, at 12.

RESPONSE: Denied as unsupported by the record citations provided. In addition, this

paragraph consists almost entirely of characterizations and legal argument, all so convoluted as

to make any point-by-point response impossible. Lima’s background investigation report speaks

for itself. Certain of Riley’s references regarded him as caring and compassionate, which was

reflected in Lima’s “positive employment aspects.” Ex. 27 at 7, 8, 12. Lima did not directly



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mention references in his “positive employment aspects” for most candidates. Ex. 58; Ex. 61;

Ex. 64.



                           “Lack of Attention to Personal Credit Reporting”

P51.      Lima stated in his First Report that Riley “disclosed” at his interview that his credit report

   showed a delinquent mortgage, that the credit report showed that the relevant property may

   have gone into foreclosure, and that Riley could not provide any documentation to

   demonstrate that the matter had been resolved. Ex. 27, at 9-10. This was not true. First,

   Riley disclosed the matter in his application, (answer to question 21(B)), not at his interview.

   Second, he provided a letter from his attorney to support his claim that the matter had been

   resolved. See ¶P31; Supp. Ex. 81; Ex. 47 (Riley Dep.) at 134-39. He also provided Lima

   contact information for the creditor’s investigator. Riley I:139. Lima did not report any of

   this information in his First Report. Ex. 27. At deposition he testified that he did not

   remember if Riley had given him this information. Ex. 49 (Lima Dep.) at 193.

RESPONSE: First Sentence: Denied. The report does not say “’disclosed’ at his interview.”

Ex. 27 at 9-10. Second, Third, and Fourth Sentences: Admitted that Riley disclosed the matter

on his Application, but otherwise Denied. See Ex. 27 at 9-10. Fifth Sentence: Admitted. Sixth

Sentence: Denied. Ex. 27 at 9-10 (Lima noting that Riley needed to provide “additional

documentation” and “official documentation” to demonstrate what had happened with the

mortgage). Seventh Sentence: Admitted.



P52.      On September 15, 2011, Riley provided Lima with additional documentation

   substantiating his account regarding the mortgage fraud, this time from the bank’s mortgage



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   investigator, confirming that the matter had been resolved. Supp. Ex. 90. Despite having the

   opportunity to do so in his Second Report, Lima did not correct his statement from his First

   Report that Riley had not documented the mortgage fraud, and he made no mention of the

   supplemental documentation he had received. Ex. 30. At deposition, Lima tried to suggest

   that Supp. Ex. 90 had not been sent to his correct email address. Ex. 49 (Lima Dep.) at 195.

   However, when challenged, Lima confirmed that the email address on Supp. Ex. 90 was

   correct. Ex. 49 (Lima Dep.) at 205-207.

RESPONSE: First Sentence: Admitted that Riley provided the additional documentation at

Exhibit 90 on September 15, 2011. Riley’s characterization of the document is denied as

inconsistent with the document itself. Second Sentence: Admitted that Lima did not mention of

Exhibit 90 in his supplemental memorandum, which focused on issues of untruthfulness, which

had been the cause for Riley’s disqualification. Ex. 30. Third and Fourth Sentences: Denied as

unsupported by the record citations provided.



P53.   Lima also claimed the purported “lack of attention to personal credit reporting” was a

   reference to Riley’s omission of his $1,465 credit card balance on his single credit card in his

   response to question 21C on his application seeking information regarding “loans” whose

   outstanding balance exceeded $1000. Ex. 49 (Lima Dep.) at 238. However, Riley did not

   understand that his small credit card balance of $1,465 is what the question sought. Ex. 33,

   at P00938.

RESPONSE: First Sentence: Denied as unsupported by the record citation provided. See also

Ex. 27 (making no mention of Riley’s credit card balance). Second Sentence: Admitted.




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P54.   Successful white applicant “JH” omitted any reference to his $40,410 credit card debt on

   six credit cards, see Ex. 63, at MSP 3953; Supp. Ex. 91, at MSP 3872, 3874. However, Lima

   did not comment about JH’s purported lack of attention to personal credit reporting. Exh. 43,

   MSP 3660. In fact, Lima claimed to have found “nothing to report” regarding JH’s “negative

   employment aspects,” id. and he was accepted into the 80th RTT by the MSP. Exh. 43, MSP

   3668.

RESPONSE: First Sentence: Admitted that J.H. did not disclose credit card debt on his

Application. Second Sentence: Admitted that Lima did not discuss J.H.’s personal credit

reporting in his report, although he did discuss J.H.’s financial preparedness more generally. Ex.

64 at MSP03659. Third Sentence: Admitted.



           “Not Completely Forthright on Disclosing Disciplinary Action . . .Academic”

P55.   In the educational history section of his application, Riley listed the high school from

   which he had graduated in June 1996, Ex. 17, at MSP 78, and which he had attended for his

   junior and senior years, Ex. 43 at Response 26, Ex. 47 (Riley Dep.) at 15-16, 20-21, but

   mistakenly omitted other high schools he attended prior to his junior and senior year, because

   he misunderstood the question and thought he only needed to list the high school form which

   he had graduated. Ex. 47 (Riley Dep.) at 120-121.

RESPONSE: Admitted that Riley listed only his high school of graduation, which he had

attended for his junior and senior years. Denied that this was a “mistake[] or that he

“misunderstood the question.” Def. SMF ¶¶ 17, 23 .




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P56.   During their discussion of Riley’s educational history at his interview with Lima, Riley

   informed Lima that he had also attended Muskegon High School for his freshman year,

   Bishop Stang High School for his sophomore year, (1993-1994), but left Bishop Stang

   because his mother could not afford to pay the tuition. Ex. 47 (Riley Dep.) at 124; Ex. 49

   (Lima Dep.) at 134-135; Ex. 30, at MSP 75. Bishop Stang is a parochial school located in

   North Dartmouth, Massachusetts. Ex. 43 at Response 26; Ex. 47 (Riley Dep.) at 15-17.

   Lima instructed Riley to add Bishop Stang and Muskegon to his application, and to request

   transcripts, and he did. Ex. 25, at MSP 119; Ex. 33, at P00939; Ex. 47 (Riley Dep.) at 122-

   123. While Riley and Lima discussed that Riley had not performed well academically at

   Bishop Stang, Riley explained that this was not the reason for his departure. Ex. 47 (Riley

   Dep.) at 124.

RESPONSE: First Sentence: Admitted that Riley told Lima that his leaving Bishop Stang

High School “saved his mother from having to pay.” Ex. 30 at MSP00075. Second, Third, and

Fourth Sentences: Admitted. Fifth Sentence: Denied as unsupported by the record citation

provided. See also Def. SMF ¶¶ 164-68.



P57.   Riley also informed Lima that his mother enrolled him in Dartmouth High School, a

   public school, for the fall of 1994 using his aunt’s Dartmouth address as his residence, but

   that the high school discovered this and required that his mother remove him due to lack of

   residency after only a few weeks, at which point Riley completed his high school at New

   Bedford High School. Ex. 47 (Riley Dep.) at 18-21; Supp. Ex. 80, at P00157, 163. Lima

   instructed him that because of the brief period of time Riley was there, and because Riley




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   never had a transcript from the school, there was no need to add Dartmouth to his

   application. Ex. 47 (Riley Dep.) at 122-24.

RESPONSE: First Sentence: Denied as unsupported by the record citations provided. See also

Def. SMF ¶¶ 164-68. Second Sentence: Admitted that this was Riley’s testimony.



P58.   Lima stated as fact in his First Report that Riley told him that he left Bishop Stang due to

   a residency requirement, but that in fact Riley was forced to leave for academic reasons. Ex.

   27. This was not what Riley had told Lima. Lima acknowledged in his First Report that it

   makes no sense for someone to claim he left a private school because of residency, since it is

   common knowledge that such schools have no residency limits. Ex. 27; Ex. 49 (Lima Dep.)

   at 133-34. Lima also stated in his report that he had “discovered” that Riley left Bishop Stang

   because of “academic performance” from a telephone call from a Nancy Wood of Bishop

   Stang High School, who he claimed informed him that Riley had. Ex. 27, at MSP 1898; Ex.

   49 (Lima Dep.) at 212. However, Administrative Assistant Nancy Wood states in her

   affidavit that she has no memory of speaking with Lima about Riley and could not have told

   him the reasons for Riley’s departure because she was not employed at Bishop Stang when

   Riley attended in 1993-1994, she did not know Riley, she had no knowledge of the reasons

   for his departure, she was not authorized to offer opinions to prospective employers about the

   reasons students did not return to the school and she never did so in 2011 or any other year.

   Ex. 40, at P02519-20. Ms. Wood’s statement is consistent with school officials’ strict

   confidentiality obligations towards student records. Supp. Ex. 100 (Rebelo Dep.) at 11-12;

   Supp. Ex. 99 (Bettencourt Dep.) at 14, 18-20, 31.




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RESPONSE: Denied. See Ex. 27 at MSP0071; Def. SMF ¶¶ 167, 173, 174, 197 & n.2-3.

Furthermore, this paragraph consists almost entirely of characterizations and legal arguments,

and is so convoluted as to make any point-by-point response impossible. Lima’s initial report

and supplemental memorandum make clear what he believed (and why) regarding Riley’s

leaving Bishop Stang High School. Ex. 27; Ex. 30.



P59.   Lima stated in his Second Report that Riley told him he left Bishop Stang at least in part

   because of finances. This was a key fact he omitted from his First Report. Ex. 27; Ex. 30, at

   MSP 75.

RESPONSE: Denied. Lima did not state this in his supplemental memorandum. See Ex. 30

(supplemental memorandum, reporting that Riley had said that he left Bishop Stang to New

Bedford High School “due to the fact that he used his aunt’s Dartmouth address and to avoid a

residency conflict and therefore left Bishop Stang and saved his mother from having to pay for

his high school”).



P60.   Lima reported in his Second Report that he visited Bishop Stang, reviewed Riley’s

   transcript with Assistant Principal Kathleen Ruginis, and discussed Riley’s academic record

   with her. Ex. 30, at MSP 75. Ruginis confirmed Riley’s assertion that Riley did not leave

   for academic reasons. Ex. 30, at MSP 75 (“According to [Ms. Ruginis] Mr. Riley did make

   up two of his classes and could return”). Nothing in that reported conversation revealed the

   reason why Riley left, or supported Lima’s definitive statement that Riley left because of

   academics. Riley’s transcript says nothing on a subject. Ex. 2. Ruginis herself states that

   she had no knowledge of the reason for Riley’s departure. Ex. 41. Lima did not



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   acknowledge in his Second Report that Riley had not been untruthful about his reasons for

   leaving Bishop Stang. Ex. 30.

RESPONSE: First Sentence: Admitted. Second and Third Sentences: Denied. Ex. 30 at

MSP0075 (Ruginis stated that Riley “could not return and stay at the high school” unless he re-

enrolled in all failed courses not previously made up). Fourth Sentence: Denied. Ex. 2

(indicating multiple course failure that had not been made up). Fifth Sentence: Denied. See

Def. SMF ¶ 197 & n.3. Sixth Sentence: Denied. Riley was untruthful about the reasons he left

Bishop Stang. See Def. SMF ¶¶ 6, 168, 173-74, 197 & nn. 2-3; Ex. 27; Ex. 30; Ex. 47 (Riley

Dep.) at 44 (“Q. To the best of your knowledge, could you returned to Bishop Stang High School

for junior year without making up those classes? A. No -- yes, I could have. Q. What -- sorry,

can you please explain that? A. Because I could have repeated myself, my year there. Q. Sorry,

my question was could you have gone to your junior year at Bishop Stang without making up

those classes? A. No.”)



P61.   Riley was not required to leave Bishop Stang for academic reasons. Over the summer, he

   made up four of the seven classes he had failed his sophomore year over the summer. Ex. 47

   (Riley Dep.) at 146-47; Ex. 2. He could have made up the remaining courses while he was

   attending Bishop Stang during his junior or senior year. Ex. 47 (Riley Dep.) at 147-48.

RESPONSE: First Sentence: Denied. Ex. 47 (Riley Dep.) at 41-44, 124-25; Ex. 27 at 10; Ex.

30 at MSP00075; Def. SMF ¶¶ 6, 168, 173-74, 197 & nn. 2-3. Second Sentence: Admitted.

Third Sentence: Denied. Ex. 47 (Riley Dep.) at 44 (“Q. To the best of your knowledge, could

you returned to Bishop Stang High School for junior year without making up those classes? A.

No -- yes, I could have. Q. What -- sorry, can you please explain that? A. Because I could



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have repeated myself, my year there. Q. Sorry, my question was could you have gone to your

junior year at Bishop Stang without making up those classes? A. No.”); Ex. 27 at 10.



P62.     Lima also stated in his Second Report that he visited New Bedford High School and

   “discovered” that Riley had briefly attended Dartmouth High School, and that it was

   Dartmouth High School, not Bishop Stang, from which he had been required to withdraw on

   account of residency. Ex. 30, at MSP 75-76. Lima describes this purportedly newly

   discovered information as if it were evidence of Riley’s dishonesty, about residency, even

   though Riley had just turned 16 years old (d.o.b. Aug. 26, 1978, Ex. 17, at MSP 77) and was

   not responsible for enrolling himself in school. Ex. 30, MSP 76; Ex. 47 (Riley Dep.) at 18-

   19.

RESPONSE: First Sentence: Admitted. Second Sentence: Denied as characterizations

unsupported by the record citations provided. See also Def. SMF ¶¶ 17, 23.



P63.     Lima claimed in his Second Report that Riley had not provided Lima with his New

   Bedford High School transcript, Ex. 30, at MSP 75. This was not true. New Bedford High

   School’s records demonstrate that Riley’s transcript was sent to Lima in mid-July 2011, well

   in advance of Riley’s interview. Supp. Exs. 76-77; Supp. Ex. 100 (Rebelo Aff.) at 12-13, 17-

   20, 23, 30-32. Further, in his First Report, Lima noted that “no transcript” had been provided

   from Muskegon and Bishop Stang High Schools, but did not make the same note regarding

   New Bedford High School. Ex. 27, at MSP 1893. In the entry regarding New Bedford High

   School, Lima noted Riley’s class rank. The only document Lima received from New

   Bedford High School that contained Riley’s class rank was Riley’s transcript. Ex. 27, at



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   MSP 1893; Supp. Ex. 78; Supp. Ex. 79; Supp. Ex. 100 (Rebelo Dep.) at 39-41; Supp. Ex. 99

   (Bettencourt Dep.) at 24.

RESPONSE: First and Second Sentences: Admitted that Lima said this but, read in context, it

is obvious that Lima meant to refer here to Riley’s Bishop Stang transcript, which had not been

provided, SMF ¶ 121, and which was the only record that showed that Riley “was a student at

Dartmouth High School,” Ex. 30 at MSP0075-76. Compare Ex. 2 (Bishop Stang transcript) with

Ex. 78 (New Bedford High School transcript). Third, Fourth, Fifth, and Sixth Sentences:

Admitted.



P64.   The New Bedford School District keeps meticulous records, noting every request for

   transcripts and every occasion when an individual reviews a student transcript. Supp. Ex.

   100 (Rebelo Dep.) at 10-12. Those records show that Riley’s transcript was released to the

   MSP on July 14, 2011 at Riley’s request, and that graduation verification letters were

   released on July 13, 2011 and September 7, 2011. They show no record of a release of

   Riley’s transcript to Lima after Riley’s interview on September 1, 2011.

RESPONSE: Denied as unsupported by the record citations provided.



                                   “Lack of Attention to Detail”


P65.   The application form that Riley completed and submitted to the MSP does not include

   instructions. It does not contain definitions for terms or phrases that it employs. Nowhere is

   contact or any other information provided for an applicant to obtain clarification for the

   meaning of terms or phrases or questions. Ex. 17.




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RESPONSE: First and Second Sentences: Denied. Not only are instructions and explanations

provided throughout the Application itself, Ex. 17, but the Application was also accompanied by

a separate “Instructions Sheet,” Ex. 117. In particular, applicants were instructed that they must

understand each question asked of them on the Application. Ex. 17 at MSP00096. Third

Sentence: Denied. Ex. 47 (Riley Dep.) at Tr. 317 (“[Lima] said if I had any question about the

material to contact him.”); Ex. 49 (Lima Dep.) at Tr. 244.



P66.   Riley completed his application electronically, but the software used to create the form

   caused errors where information added in the correct location appeared at an incorrect location.

   Ex. 47 (Riley Dep.) at 118-120, 144; Ex. 49 (Lima Dep.) at 122-24. For example, information

   regarding his his sister’s and brother’s employment appeared in the section regarding his own

   employment history. Ex. 47 (Riley Dep.) at 118-120, 144; Ex. 49 (Lima Dep.) at 122-24; Ex.

   25, at MSP 103-104.

RESPONSE:       Admitted that Riley testified that a computer “glitch” caused the mistakes

referenced in this paragraph. Denied that there was any “software” involved; there was only a

fillable PDF. Ex. 117.



P67.   Riley misunderstood a question about his military history and checked “no” instead of

   “yes” in answer to a question as to whether he was registered for the selective service. Ex.

   25, at MSP 105; Ex. 47 (Riley Dep.) at 125-126. This was a common mistake. Ex. 62, at

   MSP 3338 (Cand. “AP”); Ex. 47 (Lima Dep.) at 240-41; Supp. Ex. 96, at MSP 4421 (Cand.

   “JW”).

RESPONSE: Admitted.



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P68.   Defendant claims Riley failed to list a motor vehicle accident in which he had been

   involved in response to Question 26F. However, he had already reported the accident in a

   previous section of the application, in Question 20E, that asked him if he had been involved

   in a work-related traffic accident. Ex. 25, at MSP 111. He assumed that if the form had

   already asked about work-related accidents, it would not make sense for the application to be

   asking him to provide identical information in two separate questions. Ex. 47 (Riley Dep.) at

   142-144.

RESPONSE: Admitted that Riley testified that he misunderstood the question.



P69.   Lima criticized Riley at his interview for failing to list his union as a “professional trade

   association” in which he had a membership. But Riley believed that a union is not a

   professional trade association. Ex. 47 (Riley Dep.) at 145.

RESPONSE: First Sentence: Denied as unsupported by the record citation provided. Second

Sentence: Admitted.



P70.   In his Second Report, Lima claims that he discovered that Riley had omitted an

   application to the Providence Police Department in his response to Question 20, which bears

   the title “Investigations Record.” Ex. 25, at MSP 110. Specifically, question 20A asks if

   Riley had undergone a background investigation previously, and then says “if yes,” list all of

   the departments Riley had applied to. Ex. 25, at MSP 110. Riley read this question to be

   asking for a list of all departments for which Riley had undergone a background

   investigation. Ex.47 (Riley Dep.) at 129-131. Numerous other questions are structured in



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   this format, specifically, they ask “if x,” then list all examples of “x.” type of question.

   These include Questions: 8a (“Have you ever been suspended or expelled for any high school

   . . . .? If ‘YES’, please explain”); 9a (“Have you had any extended work absences . . . ? If

   ‘YES’ please explain”); 12(A)(“Are you registered for Selective Service?” If ‘YES’,

   Selective Service Number”); 15 (“Does anyone reside with you . . . ? If ‘YES’, provide . . .

   Name of Person/Relationship”); 16 (“Employment Termination: Has any of the following

   [types of terminations] happened to you in the past ten . . . years? If ‘YES’, begin with the

   most recent occurrence . . . providing the date fired . . . .”); 17A (“Have you ever been

   convicted of a felony? . . . If you answered ‘YES’ to any of the above questions, explain

   your answer (s)”) et seq. For this reason, Question 20A was misleading, inconsistent with

   the structure of other questions, and imposed an obstacle to reliability of background

   investigations. Supp. Ex. 75, at 22; Supp. Ex. 110, ¶8; Exh. 33.

RESPONSE: First Sentence: Denied as a characterization unsupported by the record citation

provided. See also Ex. 30 (Lima writes that he learned from RISP about Riley’s Providence

Police Department application, which Riley had failed to disclose both in response to Question

20.A., and which Riley had also failed to disclose in response to Lima’s direct interview question

as to whether RISP and NBPD were the only police departments to which Riley had applied).

Second Sentence: Denied. This paraphrasing of Question 20.A. is not accurate. Ex. 25 at

MSP00110. Third Sentence: Admitted that Riley so testified. Denied that Riley believed this.

Def. SMF ¶¶ 22, 27. Fourth and Fifth Sentences: Denied as unsupported by the record citations

provided, and as contrary to Riley’s own acknowledgement that he misunderstood the question.

Ex. 29. Moreover, Plaintiff’s expert’s opinions are not “facts” and, in any event, should be

struck. See [Doc. 123]; [Doc. 124].



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                                    Different Standards Applied

P71.   The spreadsheet entitled “80th RTT Candidate Background Results” sets forth the

   conclusions of the Review Board regarding the reasons for each unsuccessful candidate’s

   rejection, including Riley’s. Ex. 51, at 10-11; Ex. 57 at ln. 59.

RESPONSE: Denied as unsupported by the record citations provided. The spreadsheet sets

forth “the most important reasons for a candidate’s failure.” Ex. 50 at ¶ 10. See Ex. 51 at 6-11

(spreadsheet reflects “some of the reasons that we disqualified him”); Ex. 52 (Butler Dep.) at 41,

73, 133-35.



P72.   Candidate AG was disqualified because a report from the Dartmouth State Police

   confirmed a motor vehicle stop where marijuana was destroyed; an extensive driving history

   dating to 2003, including multiple license suspensions; and marginal employment references.

   Sealed Ex. 57 at Row 58. Candidate AG had 21 incidents listed in his background report,

   including speeding, no inspection sticker and license suspensions. Ex. 58, at MSP 4636. AG

   also failed to fully disclose his drug use and medical issues until forced to do so by Lima

   during his interview with AG. Ex. 58, at MSP 4641. However, Lima did not label AG as

   “untruthful” in the Negative Employment Aspects of AG’s investigation report, and in his

   discussion of AG’s negative employment aspects, he said that AG “appeared repentant and

   appeared to disclose upon questioning.” Ex. 58, at MSP 4641.

RESPONSE: First Sentence: Admitted that these were some of the most important reasons for

A.G.’s failure. See Ex. 50 at ¶ 10; Ex. 57 at Row 58. Plaintiff omits the first listed reason: “Lied

on application regarding use of drugs.” Ex. 57 at Row 58. Second Sentence: Admitted. Third



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Sentence: Admitted. Fourth Sentence: Admitted that Lima did not use the word “untruthful” in

A.G.’s negative employment aspects, and noted that A.G. was “repentant.”



P73.   Candidate AP was disqualified because of performance warnings, reprimands and written

   warnings from former employer Poland Springs; poor reference interviews; failure to

   disclose a failed mental health test in an application to the Department of Correction; failure

   to disclose a termination from a former employer; and an incomplete and inaccurate

   application. Sealed Ex. 57 at Row 360. AP also had a criminal history, but this is neither

   mentioned in Lima’s summary of “negative employment aspects,” Ex. 61, at MSP 3367, nor

   is it mentioned in the Review Board’s summary of its reasons for rejecting his application.

   Ex. 62; Sealed Ex. 57 at Row 360.

RESPONSE: First Sentence: Admitted that these were the most important reasons for A.P.’s

failure. See Ex. 50 at ¶ 10. Second Sentence: Denied as unsupported by the record citation

provided, which demonstrates only that A.P. had appeared in criminal court, not that he had a

“criminal history.” Ex. 61 at MSP03359.



P74.   Candidate JW was disqualified for non-payment of taxes in 2010, an extensive driving

   history, and an OUI in 2007 for which he never completed the required safety program.

   Sealed Ex. 57 at Row 60. JW had 18 incidents on his driving record. Ex. 65, at MSP 4225.

   His record included speeding, no inspection sticker and multiple license suspensions. Ex. 65,

   at MSP 4225 (JW). Until his interview with Lima, JW failed to disclose one of his two

   terminations from prior employment, debts owed to the Department of Veterans Affairs, very

   substantial credit card debt, or the fact that he was delinquent on his 2009 and 2010 tax



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   returns, and that he owed unpaid taxes on his 2010 return. Supp. Ex. 96. Lima did not

   accuse JW of untruthfulness or cover-up, or remark upon his two terminations. Ex. 49 (Lima

   Dep.) at 242-43; Ex. 65, at MSP 4223-4232.

RESPONSE: First Sentence: Admitted that these were the most important reasons for J.W.’s

failure. See Ex. 50 at ¶ 10. Second and third sentences: Admitted. Fourth Sentence: Denied

as unsupported by the record citations provided. Lima and J.W. did discuss these issues prior to

the interview. Ex. 116. Fifth Sentence: Admitted.



P75.   Instead of being characterized as “untruthful,” JW’s highly incriminating omissions were

   instead characterized as “erroneous entries” that evidenced a “lack of attention to detail.” Ex.

   94, at MSP 4232. Neither JW’s omissions nor his two terminations were mentioned in the

   Review Board’s summary of its reasons for rejecting his application, Ex. 66, and they are not

   identified by defendant as reasons for his disqualification. Sealed Ex. 57 at Row 60.

RESPONSE: Denied as unsupported by the record citation provided. See also Response to

P74.



P76.   Candidate JW also had a criminal history. Ex. 49 (Lima) at 242-43. JW’s criminal

   history was not remarked upon in Lima’s investigation report, Ex. 65, at MSP 4801, 4223-

   4232, nor was it mentioned in the Review Board’s summary of its reasons for rejecting his

   application, Ex. 66, and it is not identified by defendant as a reason for his disqualification.

   Sealed Ex. 57 at Row 60.




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RESPONSE: First Sentence: Admitted. Second Sentence: Denied. J.W. was disqualified in

part because of an OUI, Ex. 66, and J.W.’s criminal history and drivers’ history were

summarized in Lima’s report, Ex. 65 at MSP04224-25.



P77.   Successful candidate JH’s file contained a negative employment review in April 2011,

   reflecting an overall rating of “2” on a scale of 1-5. Supp. Ex. 109. This was not noted by

   Lima in his investigation report. Instead, he claimed that he formed an “impression” that

   JH’s supervisor thought him to be an “exemplary employee” and identified JH’s “work in the

   civilian/business sector” and “supervisory experience” as “positive employment aspects.”

   (Ex. 64, at MSP 3656). When asked at his deposition, Lima could not identify the basis for

   his claim that JH was “exemplary.” Ex. 47 (Lima Dep.) at 235. JH failed to list any reference

   to his $40,410 credit card debt on six credit cards, see Ex. 63, at MSP 3953; Supp. Ex. 91, at

   MSP 3872, 3874. He also failed to list any high schools he had attended. Lima also reported

   that JH admitted to using illegal drugs, yet this was not identified as a negative, but instead

   used as a “positive employment aspect.” Ex. 64, at MSP 3660; Ex. 63, at MSP 3688, At the

   conclusion of his report regarding JH, Lima recited, among the 11 positive employment

   aspects he identified for JH, that JH was “honest”, “trustworthy” and had “good academic

   record” and that he could not identify any negative employment aspects Ex. 64, at MSP

   3660.

RESPONSE: First Sentence: Denied. There is no basis for the characterization of this

employment review as “negative.” Plaintiff has cherry-picked and de-contextualized just one of

the employment reviews that was before Lima, which were overwhelmingly positive. See Ex.

119 (full records). Second Sentence: Admitted that Lima did not mention this performance



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review. Third Sentence: Admitted. Fourth Sentence: Denied as unsupported by the record

citation provided. Lima simply could not recall. Ex. 47 (Lima Dep.) at 235. Fifth Sentence:

Admitted. Sixth Sentence: Admitted that J.H. initially left off any high school, before later

correcting. Ex. 63 at MSP03943. Seventh Sentence: Denied as a characterization unsupported

by the record citation provided. J.H. acknowledged trying marijuana experimentally twice, Ex.

63 at MSP03950, and Lima credited J.H.’s honesty in so acknowledging as a positive

employment aspect, Ex. 64 at MSP03660. Eighth Sentence: Admitted.



P78.   In his First Report, Lima said, in a purportedly positive employment aspect, that Riley

   “appeared timid.” Ex. 27, at MSP 1900. No other candidate Lima reviewed contained a

   negative comment in a summary of “positive” employment aspects. Compare Ex. 58, at

   MSP 4641 (AG), Ex. 64, at MSP 3660 (JH), Ex. 61, at MSP 3367 (AP), Ex. 65, at MSP 4232

   (JW). Lima does not state any factual basis for his evaluation of Riley as “timid.” Ex. 27.

   Lima did not ask any of the references he interviewed whether Riley was “timid.” Ex. 49

   (Lima Dep.) at 207. Such subjective evaluative statements are not appropriate for a

   background investigation report. Supp. Ex. 75, at 18-19.

RESPONSE: First Sentence: Admitted. Second Sentence: Denied. Ex. 58 at MSP04640-41

(noting in A.G.’s positive employment aspects that A.G. had made “teenage mistakes” regarding

poor academic performance, use of marijuana, and poor driving history); Ex. 65 at MSP04228,

4232 (indicating in J.W.’s positive employment aspects that “most” but not all of his former

employers thought he was a “good worker”); Ex. 64 at MSP03660 (noting experimentation with

marijuana in J.H.’s positive employment aspects). Third Sentence: Denied. Ex. 27 at 10-11

(noting concerns with Riley’s answers in response to questions about financial history). Fourth



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Sentence: Denied as unsupported by the record citation provided. Fifth Sentence: Denied.

Plaintiff’s expert’s opinions are not “facts” and, in any event, should be struck. See [Doc. 123];

[Doc. 124]. See also Supp. Ex. 71 (Flynn Dep.) at 53-54; Supp. Ex. 70 (Smith Dep.) at 76-77.



P79.   Lima did not label any other candidate he investigated, including those who, like Riley,

   made mistakes filling out their application such as successful candidate JH, as being

   “accepting of mediocrity.” Compare Ex. 58, at MSP 4641 (AG); Ex. 64, at MSP 3660 (JH);

   Ex. 61, at MSP 3367 (AP); Ex. 64, at MSP 4232 (JW). Lima claims that this comment is

   based on Riley saying “it is what it is” in response to errors on his application. Ex. 49 (Lima

   Dep.) at 203-05. Riley did not say this. Supp. Ex. 110 (Riley Aff.), at ¶4. Lima could not

   point to a single error to which Riley had this response nor recount how many times it was

   said, Ex. 49 (Lima Dep.) at 203-205, and no reference to this statement appears in his

   investigation report. Ex. 27.

RESPONSE: First Sentence: Denied. While Lima did not use this exact phrase with other

candidates, he did record that A.P. displayed “[l]ack of attention” on the Application, Ex. 61 at

MSP03367, and that J.W. also displayed “[l]ack of attention to detail (numerous errors/erroneous

entries on application),” Ex. 65 at MSP04232. Second Sentence: Denied as unsupported by the

record citation provided. The comment was based both on Riley’s errors and Riley commenting,

“it is what it is” in response to those errors. Ex. 49 (Lima Dep.) at 203-05; Ex. 27. Third

Sentence: Admitted that Riley has provided an affidavit in which he denies he made this precise

statement. Ex. 110. Riley did testify, however, that he contemporaneously agreed with almost

all of the changes he had to make to his Application. Ex. 47 (Riley Dep. at 118-26, 141-42, 152-

53. Riley also told Lima that his mistakes were due to a “computer glitch,” Ex. 49 (Lima Dep.)



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at 121-22, when in fact there was no software or application involved other than a fillable PDF,

Ex. 117. Fourth Sentence: Denied. Ex. 49 (Lima Dep.) at 203-205; Ex. 27 at 12 (recording

that Riley had “accept[ed] errors on application—per interview”).



P80.   In contrast to his failure to interview all but one of Riley’s references from his employer,

   Lima interviewed virtually all of the employer references from the other candidates he

   investigated. See Exs. 58, 61, 64-65.

RESPONSE: Denied as unsupported by the record citations provided. See also Ex. 17 at

MSP00092 (Application required that applicant provide at least ten unique, non-employer

references); Ex. 64 at MSP03656-57 (Lima recorded four reference interviews for J.H.); Ex. 58

at MSP04639-40 (Lima recorded two reference interviews for A.G.); Ex. 61 at MSP03363 (Lima

recorded five reference interviews for A.P.); Ex. 65 at MSP04228-29 (Lima recorded three

reference interviews for J.W.).



                                      Review Board Decisions

P81.   The Review Board reviewed Lima’s report on September 7, 2011 and made its decision

   to reject Riley immediately. Ex. 13.

RESPONSE: Admitted that the Review Board reviewed Riley’s background investigation and

rejected him on the same day. The characterization of an “immediate[]” decision is Denied as

unsupported by the record citation provided. See also Ex. 50.



P82.   Members of the Review Board disagreed on whether they reviewed any documents other

   than Lima’s report. See Supp. Ex. 107 (Christiansen Dep.) at 48, (only remembered



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   reviewing background investigation report); Ex. 52 (Butler Dep.) at 25, 35, 39-40 (Review

   Board reviewed Riley’s application, questionnaire, background investigation report, list of

   disqualifiers); Supp. Ex. 108 (McGinn Dep.) at 41 (no memory of what was reviewed).

RESPONSE: Denied. There was no disagreement; Christiansen and McGinn simply could not

recall their review of Riley. Ex. 107 (Christiansen Dep.) at 28-29, 48-49; Ex. 108 (McGinn

Dep.) at 41. See also Ex. 52 (Butler Dep.) at 39-40.



P83.   The Review Board did no independent investigation or fact checking of Lima’s assertions

   in his report. Supp Ex. 107 (Christiansen Dep.) at 49-50 (did not recall performing any

   independent investigation of facts or conclusions in BI reports or fact-checking of

   investigator’s conclusions); Ex. 52 (Butler Dep.) at 57-58; Supp. Ex. 108 (McGinn Dep.) at

   33-35 (no recollection regarding whether he reviewed any materials, and if so, what). The

   sole data source on which it relied was Lima. Supp. Ex. 107 (Christiansen Dep.) at 55-56;

   Ex. 52 (Butler Dep.) at 99-104, 110-112. It also found Lima’s list of positives and negatives

   useful. Ex. 52 (Butler Dep.) at 43.

RESPONSE: First Sentence: Denied. The Review Board closely scrutinized the primary

source documents, including Riley’s Application and Questionnaire. Ex. 50 at ¶¶ 6-12; Ex. 52

(Butler Dep.) at 35, 39-41, 73-74, 133-35. Second Sentence: Denied. Ex. 50 at ¶¶ 6-12; Ex. 52

(Butler Dep.) at 73-74; Ex. 57 at Line 59 & Ex. 27 (Review Board also considered Riley subject

to disqualification because he had failed his RISP background investigation, which was not

discussed in Lima’s report); Ex. 29 & Ex. 50 at ¶¶ 11-12 (Review Board considered Riley’s

letter of September 22, 2011 in its reconsideration decision). Third Sentence: Admitted.




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P84.   On September 15, 2011, the MSP informed Riley that his application had been rejected

   for two reasons: he was untruthful on his application and he was untruthful to the background

   investigator. Ex. 28. The MSP did not inform Riley that he had a right to request a hearing

   before the board. Ex. 28.

RESPONSE: First Sentence: Admitted. Second Sentence: Denied that Riley had “a right to

request a hearing.” See Def. Response to P7.



P85.   On September 18, 2011, stunned, Ex. 33, at P00941, at receiving the Review Board’s

   letter rejecting his application for “untruthfulness,” Riley called Lima about the investigation.

   Ex. 47 (Riley Dep.) at 357-58. Riley did not raise his voice or “berate” Lima during this

   conversation. Ex. 47 (Riley Dep.) at 358. Riley asked Lima the basis for Lima’s claim that

   Riley had been untruthful, and Lima responded that it was that Riley had not disclosed his

   “written reprimand,” that he had told Lima that he left Bishop Stang for financial reasons, but

   had in fact left because of academics, and that Riley did not disclose his application to the

   Providence Police Department on his MSP application. Ex. 47 (Riley Dep.) at 358-359.

   Riley accurately informed Lima that none of these claims were valid, and that Lima should

   correct his errors. Ex. 47 (Riley Dep.) at 359. Lima did not inform Riley that he had a right

   to be heard by the Review Board in appeal of his rejection, but was told he could “contact

   human resources” if he wished. Ex. 47 (Riley Dep.) at 360-61. Riley then contacted MSP’s

   human resources department and was told that he could “write a letter” about his objections.

   Again, he was not told of his right to request a hearing. Ex. 47 (Riley) at 362-363.

RESPONSE: First Sentence: Admitted that Riley called Lima on September 18, 2011, and

claims to have been “stunned” by his disqualification. Second Sentence: Denied. Ex. 47 (Riley



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Dep.) at 358-59 (acknowledging that he was mad on the phone call). Third Sentence: Admitted

that these were the subject matters discussed, by the characterization is denied as unsupported by

the record citation provided. Fourth Sentence: Denied as unsupported by the record citation

provided. See also Ex. 30; Ex. 29. Fifth Sentence: Denied that Riley had a “right” to a hearing.

See Def. Response to P7. Sixth Sentence: Admitted. Seventh Sentence: Denied that Riley had

a “right” to a hearing. See Def. Response to P7.



P86.   Distressed about his rejection, Supp. Ex. 110 (Riley Aff.) at ¶6, on September 22, 2011,

   Riley wrote a letter to the Chief Administrative Officer of the Certification Unit, John F.

   Flynn (received on Sept. 26, 2011), explaining his objections to the MSP’s decision. Exh.

   12. He explained, as he had to Lima, that he had not in fact been reprimanded and attached

   documents from his Chief of Police and union representatives substantiating his claim. Ex.

   29. He explained that he left Bishop Stang for financial, not academic, reasons. Finally, he

   explained that he had omitted the Providence Police Department application because he read

   the question on his application to only require information regarding those applications for

   which background investigations were conducted, and apologized for any misunderstanding.

   Ex. 29.

RESPONSE: First Sentence: Admitted that Riley has provided an affidavit in which he states

he was “distressed,” and that he wrote the September 22, 2011 Letter. Second, Third, and Fourth

Sentences: Denied as characterizations unsupported by the record citation provided. Riley’s

September 22, 2011 Letter speaks for itself. Ex. 29.




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P87.    On September 26, 2011, the Review Board, consisting of two of the same individuals

   who had rejected Riley’s application (Butler and Christiansen) together with a third (Capt.

   Francis Hart) (the “Appeal Board”) reviewed Riley’s appeal and sustained the Review

   Board’s original decision. Supp. Ex. 95. It was the MSP’s practice to constitute an appeal

   board identical to the original Review Board whenever practical. Ex. 52 (Butler Dep.) at

   123-124. However, such a feature is procedurally unfair, since it is well known among

   personnel selection specialists that the same body will tend to confirm its original decision

   even with new information. Supp. Ex. 75.

RESPONSE: First Sentence: Admitted. Second Sentence: Admitted that this was Butler’s

practice. Ex. 52 (Butler Dep.) at 123-124. Third Sentence: Denied. Riley’s expert’s opinions

are not “facts” and, in any event, should be struck. See [Doc. 123; Doc. 124].



P88.   The only information Butler could recall receiving from Lima prior to the meeting of the

   Appeal Board was that Riley had not been reprimanded and that Riley had been a “target” of

   the New Bedford IA Investigation. Ex. 52 (Butler Dep.) at 131-132. This was discussed

   when the Appeal Board met. Id.

RESPONSE: First Sentence: Admitted that Lima had relayed the information from his phone

call with the NBPD Chief, including that Riley had not received the recommended reprimand.

Ex. 52 (Butler Dep.) at 131-132. Second Sentence: Admitted.



P89.   There is no evidence that the entire Appeal Board considered Riley’s September 22, 2011

   letter or accompanying materials (Ex. 29). Butler says that it did. Ex. 52 (Butler Dep.) at

   115-116, 120-121. Christiansen says it did not, Supp. Ex. 107 (Christiansen Dep.) at 70.



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   Butler also claims to have reviewed a copy of a letter provided to Lima from Riley’s union

   representative, Sgt. Ledo, Supp. Ex. 84, explaining the reasons why Riley did not report that

   he had been a subject of a disciplinary investigation at NBPD. Ex. 52 (Butler Dep.) at 86-88.

   Neither document had any impact on the Review Board’s decision. Butler dismissed Ledo’s

   information, despite knowing him and having no basis to doubt his veracity. Ex. 52 (Butler

   Dep.) at 87-89. Butler dismissed Riley’s statement (corroborated by the Ledo statement) that

   he did not know about being a subject of the IA Investigation because of Riley’s “whole

   pattern of deception” for which his only source was Lima’s reports. Ex. 52 (Butler Dep.) at

   94-95. Based on the same “pattern of deception” as reported by Lima, he dismissed Riley’s

   claim that he misread the question about law enforcement applications as well as his apology

   for his misunderstanding. Ex. 52 (Butler Dep.) at 117-118.

RESPONSE: Denied. This paragraph consists almost entirely of argument and

characterizations unsupported by the record citations provided, and is so convoluted as to make

any point-by-point response impossible. The very purpose of the September 26, 2011 meeting

was to review the September 22, 2011 Letter and reconsider its decision in light of that letter.

SMF ¶ 200. Christianson gave no such testimony. Ex. 107 (Christiansen Dep.) at 70. Butler

explained in detail why he placed no weight on Exhibit 84, as it was an advocacy piece drafted

by Riley’s union representative, and because it was contrary to the other evidence of Riley’s

mendacity before the Review Board. Ex. 52 (Butler Dep.) at 87-92. The reasons for the Review

Board’s conclusions on September 26, 2011 are discussed in detail at Exhibit 50.



P90.   Butler stated that he had been “concerned” by Lima’s statement in his First Report that

   Riley had allegedly received a reprimand. Ex. 51, at MSP 451. When he later learned that



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   Riley had not received a reprimand, he claimed that it would not have impacted his decision.

   Ex. 52 (Butler Dep.) at 79, 81, 84. Butler testified that if he had seen Ex. 13, or 86, both of

   which clearly show that Riley had never been reprimanded, it would have had no impact on

   his decision. Ex. 52 (Butler Dep.) at 82, 84-85. He states that neither Supp. Ex. 84, nor an

   email from the union’s attorney to Riley, Supp. Ex. 86, explaining that Riley was reasonable

   in believing himself not to be a target would have made a difference either. Ex. 52 (Butler

   Dep.) at 85.

RESPONSE: First Sentence: Admitted. Second Sentence: Admitted that whether or not

Riley received the reprimand ultimately did not make a difference to the Review Board’s

decision, either initially or upon reconsideration. Ex. 50; Ex. 52 (Butler Dep.) at 79-84. Third

and Fourth Sentences: Denied that any of these documents “show that Riley had never been

reprimanded” or that “Riley was reasonable” in thinking he was not a subject of the Soares

investigation. Ex. 13; Ex. 86; Ex. 84; Ex. 86; Ex. 49 (Lima Dep.) at 146-54, 246-47; Def.

Response to P89; Def. SMF ¶¶ 34-41. Admitted that Butler testified that none of these

documents would have made a difference, for the reasons largely summarized in Exhibit 50.



P91.   Butler insisted at deposition that Riley had admitted that Lima’s claim in his First Report

   that Riley gave a false reason for leaving Bishop Stang High School (financial reasons) and

   that Riley was actually forced to leave for academic reasons based on a conversation with

   Nancy Wood. Ex. 27, at 10; Ex. 52 (Butler Dep.) at 99-104; Ex. 49 (Lima Dep.) at 212.

   Despite Lima admitting in his Second Report that Riley had not been required to leave

   Bishop Stang, and despite reviewing Riley’s September 22, 2011 letter that explained that he




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   was not expelled for academic reasons, Butler continued to insist that Riley was lying, again

   basing that opinion solely on Lima’s reports. Ex. 52 (Butler Dep.) at 125-27.

RESPONSE: Denied as characterizations unsupported by the record citations provided. Butler

testified that he recalled reading that Riley “eventually admitted that he had academic problems

and then tried to say that if had gone back to take makeup classes, he would have been invited

back.” Ex. 52 (Butler Dep.) at 101-03. This was an accurate recollection of Riley’s September

22, 2011 Letter, in which he acknowledged academic problems at Bishop Stang. Ex. 29. Lima’s

supplemental memorandum did not “admit[] . . . that Riley had not been required to leave Bishop

Stang”; Lima accurately reported further confirmation that Riley had failed his sophomore year

and could not return without making up classes. Ex. 30; Def. SMF ¶¶ 6, 168, 173-74, 197 & nn.

2-3.



P92.   Butler did not learn about any issue regarding Riley’s application to the Providence

   Police Department until he saw Lima’s Second Report. Ex. 52 (Butler Dep.) at 76-77. The

   Appeal Board made its decision on September 26, 2011. Ex. 52 (Butler Dep.) at 130; Supp.

   Ex. 95. The Second Report was provided on September 28, 2011. Ex. 30 (2d Investigative

   Report).

RESPONSE: First Sentence: Denied. Butler learned about the Providence Police Department

issue prior to the reconsideration decision through, at least, Riley’s own September 22, 2011

Letter. Ex. 29; Ex. 52 (Butler Dep.) at 115-16; Ex. 50 at ¶ 12(c). Second and Third Sentences:

Admitted.




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P93.   After Riley’s interview with Lima on September 1, 2011, Lima scheduled a time to

   conduct a home/neighborhood visit, but failed to show up on the promised date without

   explanation or notice. Ex. 33, at P00940. Instead, he surprised Riley’s fiancé at home,

   stayed long enough to comment that she and Riley “did not live in the greatest

   neighborhood,” and left. Ex. 56 (C. Riley Dep.) at 18-20.\

RESPONSE: First Sentence: Denied as unsupported by the record citation provided. Second

Sentence: Admitted that Riley’s fiancée testified that Lima said this, but the remainder of the

characterizations are Denied as unsupported by the record citations provide.




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                                            Respectfully submitted,

                                            MASSACHUSETTS STATE POLICE

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Dated: December 18, 2017




                               CERTIFICATE OF SERVICE

         I, Jesse M. Boodoo, Assistant Attorney General, hereby certify that I have this day,
December 18, 2017, served the foregoing document upon the attorney of record for all parties by
filing it through the ECF system.




                                            /s/ Jesse M. Boodoo
                                            Jesse M. Boodoo




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